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 8 Applicant as General Bankruptcy Counsel for
   Jinzheng Group (USA) LLC, Debtor and Debtor in
 9 Possession

10                                UNITED STATES BANKRUPTCY COURT

11                                 CENTRAL DISTRICT OF CALIFORNIA

12                                        LOS ANGELES DIVISION

13 In re                                                 Case No. 2:21-bk-16674-ER

14 JINZHENG GROUP (USA) LLC,                             Chapter 11

15                                                       FIRST INTERIM APPLICATION FOR
                       Debtors.                          COMPENSATION AND
16                                                       REIMBURSEMENT OF EXPENSES BY
                                                         DANNING, GILL, ISRAEL &
17                                                       KRASNOFF, LLP AS GENERAL
                                                         BANKRUPTCY COUNSEL TO CHAPTER
18                                                       11 DEBTOR AND DEBTOR IN
                                                         POSSESSION; DECLARATIONS OF ZEV
19                                                       SHECHTMAN AND ZHOU PU YANG IN
                                                         SUPPORT THEREOF
20
                                                         [Covering the period from May 31, 2022 to
21                                                       September 30, 2022]

22                                                       Date:   November 9, 2022
                                                         Time:   10:00 am
23                                                       Crtrm.: 1586
                                                                 255 E. Temple Street
24                                                               Los Angeles, California 90012

25

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 1            Danning, Gill, Israel & Krasnoff, LLP (“Applicant” or “Danning Gill”) hereby files its first

 2 interim application (“Application”) for compensation and reimbursement of expenses as general

 3 bankruptcy counsel for Jinzheng Group (USA) LLC (“Debtor” or “Jinzheng”), the debtor and

 4 debtor-in-possession in this Chapter 11 bankruptcy case (“Bankruptcy Case”), and respectfully

 5 represents as follows:

 6            1.       Identity of the Applicant

 7            Applicant is Danning, Gill, Israel & Krasnoff, LLP, a Limited Liability Partnership

 8 composed of professional corporations.

 9            2.       Nature of Representation

10            Applicant represents the Debtor in this Bankruptcy Case as its general bankruptcy counsel.

11            3.       The Employment of Applicant

12            The order authorizing Applicant’s employment was entered on July 7, 2022, effective

13 May 31, 2022 (docket no. 289) (the “Employment Order”). A copy of the Employment Order is

14 attached as Exhibit “8.”

15            4.       Period Covered by This Application

16            This Application is made pursuant to 11 U.S.C. §§ 330 and 331, and covers the period from

17 May 31, 2022, through September 30, 2022 (“Subject Period”). Applicant is seeking interim

18 approval of fees and costs, including fees previously paid out of a postpetition retainer approved by

19 the Employment Order. Applicant expects that any payment to Applicant beyond what it received

20 under its postpetition retainer will only be possible if and when the Debtor has obtained sufficient

21 free and clear proceeds from sales of its real properties.

22            5.       Procedural Status and History of Bankruptcy Case

23            On August 24, 2021 (“Petition Date”), the Debtor filed a voluntary chapter 11 petition for

24 relief under title 11 of the United States Code (“Code”). The Debtor is operating its business as a

25 debtor in possession, allowing it to exercise substantially all rights of a trustee in the Bankruptcy

26 Case. See 11 U.S.C. § 1107.

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 1          On January 25, 2022, the Office of the United States Trustee (the “United States Trustee”)

 2 filed its notice of appointment of the Official Committee of Unsecured Creditors (the

 3 “Committee”). The Committee retained Pachulski, Stang, Ziehl & Jones, LLP (“Pachulski Stang”),

 4 to represent it in this Bankruptcy Case.

 5          In this Bankruptcy Case, the Debtor was initially represented by Donna C. Bullock, Esq.

 6 On December 6, 2021, Debtor filed a substitution of attorney and a motion to employ new counsel

 7 naming Shioda, Langley & Chang, LLP (“Shioda Langley”) as its new counsel. On June 3, 2022,

 8 Applicant filed a substitution of attorney. On July 7, 2022, the Court entered an order authorizing

 9 Applicant’s employment, and a separate order authorizing the employment of Atkinson, Andelson,

10 Loya, Ruud & Romo, APLC (“Atkinson”) as the Debtor’s special litigation counsel.

11          The Debtor entered the Bankruptcy Case with the intent of reorganizing. On May 4, 2022,

12 Debtor through its previous counsel filed a Disclosure Statement and Combined Plan of

13 Reorganization (“the Disclosure Statement and Plan”). However, after experiencing various

14 economic and legal headwinds in the Bankruptcy Case, the Debtor switched gears to pursue a

15 liquidation strategy and sell all, or a substantial portion, of its assets. Shortly after Applicant

16 substituted in to the Bankruptcy Case, on June 16, 2022, the Debtor filed the Stipulation to

17 Withdraw the Disclosure Statement and Plan, and the Court approved the Stipulation the next day.

18          In pursuit of sales of its properties, Debtor sought to retain various real estate and

19 accounting professionals. After Applicant filed several employment applications, the Court entered

20 several orders authorizing the employment of the following professionals for the Debtor: Avenue 8

21 as real estate broker; Koo, Chow & Company, LLP (“Koo”) as accountants; Stephen Eng as

22 property manager; The CREM Group together with Marcus & Millichap as co-real estate brokers;

23 and Re/Max of Cerritos together with Coldwell Banker as co-real estate brokers.

24          6.      Available Funds On Hand

25          The Debtor’s current cash on hand as of October 10, 2022 was $207,942.28. 1 The Debtor

26

27
     1
     The Debtor is informed that the Debtor’s largest lienholder, Royalty Equity Lending LLC/ Bobs
28 LLC (“REL”), contends that some of the cash held by the Debtor is REL’s cash collateral. The
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 1 requires such funds for its operations. The Debtor does not intend to make payments on account of

 2 approved professional fees unless and until it obtains free and clear funds from the sales of

 3 properties.

 4            7.       Estimated Amount of Other Accrued Administrative Expenses

 5            The known accrued administrative expenses are Applicant’s fees and costs, the estimated

 6 fees of the Atkinson as Debtor’s special litigation counsel of $36,262.79 and $0 respectively; the

 7 estimated fees and costs of Koo as the Debtor’s accountant of $24,500 and $0, respectively; the

 8 estimated fees and costs of Debtor’s former bankruptcy counsel Shioda Langley of $292,017.40

 9 and $5,666.76 respectively; the estimated fees and costs of Pachulski Stang as the Committee’s

10 counsel of $370,641.15 and $4,042.16 respectively; the quarterly fees of the United States Trustee

11 (if any), and the Court’s costs (if any).

12            8.       Payments to Applicant

13            The Employment Application provided for a 10% discount on Danning Gill’s hourly billing

14 rates. Pursuant to the terms of Applicant’s employment application, Zhao Pu Yang, as legal

15 representative of Jianqing Yang, the managing member of the Debtor (collectively, the “Principal”)

16 provided Danning Gill with a retainer of $100,000 as an advance against fees and costs to be

17 incurred by Danning Gill (the “Retainer”). Pursuant to the Employment Order, the loan from the

18 Principal is an approved chapter 11 expense of administration subordinated to other allowed

19 chapter 11 expenses.

20            On or about July 22, 2022, Applicant filed and served its first Professional Fee Statement

21 for payment of fees and reimbursement of expenses incurred for the period from May 31, 2022 to

22 June 30, 2022 in the amount of $64,052.63 (“First Fee Statement”, docket no. 323). After the time

23 to object to the First Fee Statement expired, Applicant drew down on the $100,000 Retainer in the

24 amount $64,052.63, leaving Debtor with a remaining balance of $35,947.37. On or about August

25 19, 2022, Applicant filed and served its second Professional Fee Statement for payment of fees and

26

27 Debtor is working to segregate such purported cash collateral, which will reduce the amount of

28 available unencumbered cash.
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 1 reimbursement of expenses incurred for the period between July 1, 2022 to July 31, 2022 in the

 2 amount of $29,168.20 (“Second Fee Statement”, docket no. 353). After the requisite objection

 3 period expired, Applicant drew down on the Retainer in the amount of $29,168.20, leaving Debtor

 4 with a remaining balance of $6,779.17. On or about September 16, 2022, Applicant filed and

 5 served its third Professional Fee Statement for payment of fees and reimbursement of expenses

 6 incurred for the period between August 1, 2022 to August 31, 2022 in the amount of $28,443.30

 7 (“Third Fee Statement”, docket no. 384). ). After the requisite objection period expired, Applicant

 8 drew down on the Retainer balance of $6,779.17, leaving a remaining balance of $0.00.

 9             Beyond the Retainer, there is no provision or agreement for payment to Applicant in this

10 Bankruptcy Case except from this estate in such sums as the Court may allow.

11             9.     Summary of Compensation Requested

12             Applicant incurred fees of $176,709.50 and costs of $4,330.48 during the Subject Period.

13 Applicant requests that the Court allow it, for the Subject Period, on an interim basis, fees of

14 $159,038.55, i.e., 90% of the total fees incurred, and reimbursement of expenses of $4,330.48, i.e.,

15 100% of total costs incurred. Applicant has already been paid $100,000 from the retainer.

16 Applicant requests that it be paid its remaining outstanding and unpaid allowed fees and costs in

17 full to the extent funds are available from sales of the Debtor’s assets. Absent a sale, the Debtor

18 does not have sufficient cash to pay any professionals at this time. 2

19             10.    Summary of Services Rendered

20             Attached hereto are the following exhibits to support this Application:

21
         EXHIBIT         DESCRIPTION
22

23       “1”             Detailed billing records of the time spent by each professional for Applicant,
                         including a breakdown by activity code.
24
         “2”             Detailed records of out of pocket expenses advanced by Applicant.
25

26

27   2
     The Debtor may pay the Debtor’s accountants and property manager their monthly fees pursuant
28 to the orders authorizing those professionals’ employment.
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       EXHIBIT              DESCRIPTION
 1

 2     “3”                  Monthly summaries of the fees and costs incurred in the Subject Period.
 3
       “4”                  Aggregate summaries of the fees and costs incurred in the Subject Period.
 4

 5     “5”                  Detailed biographies of each of the professionals employed by Applicant
 6                          describing their professional qualifications.

 7     “6”                  A schedule of the hourly rates for the various professionals rendering services
                            during the Subject Period.
 8
       “7”                  A schedule of the rates for costs charged by Applicant.
 9

10     “8”                  A copy of the Employment Order entered on July 7, 2022, authorizing
                            Applicant's employment (docket no. 289).
11

12

13            11.      Narrative of Services

14            The detail of Applicant’s services in this Bankruptcy Case is set forth in Exhibit “1.”

15 Without limiting the detail provided in Exhibit “1,” Applicant provides the following narrative

16 summary:

17

18                     A.       Asset Analysis (“AA”):

19            Applicant began working on the case on May 31, 2022. At that time, the Debtor was faced

20 with a motion to appoint a chapter 11 trustee and a contested Disclosure Statement and Plan.

21 Applicant immediately commenced reviewing the case and helping the Debtor evaluate its strategy.

22 Applicant met with Committee’s counsel to discuss the Disclosure Statement and Plan and

23 conferred with Debtor’s prior counsel (Shioda Langley) regarding the case status.

24            Debtor’s assets consist of the following real properties that the Applicant needed to review

25 when analyzing the Debtor’s position:

26                     1.       150 East La Sierra Drive, Arcadia, CA (“Arcadia Property”), title to which

27                              was in the name of a third party, 150 La Sierra LLC (of which the Debtor

28                              was the managing member), as of the Petition Date;
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 1                     2.    2240 Lorain Road, San Marino, CA 91108 (“San Marino Property”)

 2                     3.    2929 Amethyst Street, Los Angeles, CA 90032; 2526-2528 Lincoln Park

 3                           Ave, Los Angeles, CA 90031; 2520-2522 Lincoln Park Ave., Los Angeles,

 4                           CA 90031; 2602 Lincoln Park Ave., Los Angeles, CA 90031; 2600 Sierra

 5                           Street, Los Angeles, CA 90031 and certain properties on adjacent Paradise

 6                           Drive (collectively, “Lincoln Heights Property”); and

 7                     4.    6840 De Celis Place #9, Van Nuys, CA 91406 (“Van Nuys Property”).

 8            Applicant communicated with several professionals regarding potentially employing them

 9 as property managers for the properties. On June 14, 2022, Applicant visited the Lincoln Heights

10 property with the Principal, the Principal’s counsel Jim Zhou (“Zhou”), and Lonnie McDermott of

11 Marcus & Millichap, who was later engaged as one of the co-brokers for the listing of that

12 property.

13            Applicant learned that a notice of default was recorded against the Arcadia Property on or

14 about July 15, 2022, and Applicant researched regarding the voidability of the prepetition transfer

15 of the Arcadia Property from the Debtor to 150 La Sierra LLC. Applicant conducted appraisals on

16 the Arcadia Property, analyzed the liens on the property, spoke to the Debtor’s property managers,

17 brokers and the lender about the property, and communicated with the foreclosure trustee on the

18 status of the property.

19            Recently, Applicant reviewed and revised public records requests and corresponded with

20 Debtor’s special litigation counsel on the same.

21            During the Subject Period, Applicant expended an aggregate of 25.10 hours in this

22 category, valued at $15,064.50.

23

24                     B.    Asset Disposition (“AD”):

25            Applicant engaged in extensive activities relating to the sale of the Debtor’s properties,

26 including: conferring with property managers and real estate brokers regarding the status and sale

27 of the properties; conferring with the client regarding expenses and property management issues;

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 1 reviewing purchase and sale documents; corresponding with lienholders and their counsel;

 2 conferring with real estate brokers regarding the marketing and sale of the properties; negotiating,

 3 reviewing and revising listing and purchase and sale agreements; strategizing on the sale of the

 4 properties; and discussing the same with the Debtor.

 5            Applicant learned that lienholder Sound Equity Inc. (“Sound Equity”) was seeking to

 6 foreclose on the Arcadia Property, which was owned by a non-debtor third party, which in turn was

 7 majority owned by the Debtor. The Debtor had previously transferred the Arcadia Property to the

 8 third party entity, 150 La Sierra LLC. Applicant strategized regarding the Arcadia Property and

 9 determined that the impending foreclosure by Sound Equity would eliminate any interest of the

10 Debtor in the Property. Based on Applicant’s broker’s opinion of value, there appeared to be

11 equity in the property. Thus, it was imperative to take action to protect the Arcadia Property for the

12 benefit of the estate. Applicant prepared and drafted a Motion for Order Approving Compromise

13 with 150 La Sierra LLC with regard to the Arcadia Property (“Arcadia 9019 Motion”), and on July

14 5, 2022, filed the same with the Court, on shortened time. The next day, Applicant filed an

15 amendment to the motion. The hearing was set for July 19, 2022. Shortly after, Sound Equity filed

16 an opposition to the motion accompanied by a declaration. On July 17, 2022, Applicant filed a

17 reply to the opposition. On the same day, Applicant filed evidentiary objections to the declaration

18 supporting Sound Equity’s opposition. On July 19, 2022, the hearing on the Arcadia 9019 Motion

19 was held. The opposition was overruled, and the next day, the court granted Applicant’s Arcadia

20 9019 Motion. Throughout this time, Applicant communicated with counsel for Sound Equity in

21 attempts to achieve consensual resolutions and to cooperate regarding the scheduling of the

22 briefing.

23            Applicant also strategized on the San Marino Property and its three lienholders.

24 Specifically, the Property appeared to be over-encumbered. Therefore, a sale by the Debtor

25 appeared to be most practicable if the third lienholder, DNQ LLC (“DNQ”), would agree to

26 subordinate its lien, at least in part, to allow a short sale through bankruptcy. Eventually, the two

27 senior lienholders filed motions for relief from stay (see “RF” below), making it essential that DNQ

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 1 agree to a carveout, lest DNQ’s lien be eliminated through foreclosure and the estate lose both any

 2 possibility of cash from the sale and incur substantially greater unsecured debt. Ultimately,

 3 Applicant was able to execute a carveout agreement with DNQ on or about August 6, 2022, two

 4 days before the Debtor’s deadline to oppose the motion for stay relief filed by claimant Corona

 5 Capital Group LLC (“Corona”). Without such a carveout agreement, Debtor likely lacked a strong

 6 basis to object to relief from stay.

 7            In furtherance of the DNQ carveout agreement, on or about August 3, 2022, Applicant

 8 began drafting Debtor's Motion for Order Approving Compromise with DNQ (“San Marino 9019

 9 Motion”). On August 15, 2022, Applicant filed the San Marino 9019 Motion. The motion sought

10 approval of the carveout agreement, whereby DNQ consented to the sale of the Property free and

11 clear of any lien, and that Debtor will receive 25% of the net sale proceeds. The hearing was set

12 for September 7, 2022. Applicant communicated with Debtor and brokers regarding the potential

13 outcome of the hearing. Applicant drafted the order on the motion and filed the same with the

14 Court. Subsequently, the Court entered the order granting the San Marino 9019 Motion (docket no.

15 382).

16            Starting on or about September 28, 2022, Applicant drafted the Van Nuys Sales Motion, as

17 well as the declarations for potential buyers in connection with the motion.

18            When evaluating the Debtor’s properties, Applicant researched the enforceability of default

19 interest rates on Debtor’s properties by various lienholders and prepared a memorandum on the

20 same. Applicant corresponded with brokers regarding obtaining property loan documents and

21 collected these documents for Debtor’s properties.

22             In August and September 2022, Applicant corresponded with brokers regarding the

23 marketing of the Debtor’s properties and conducted the following activities with respective to each

24 property:

25                1. With regard to the Lincoln Heights Property, Applicant reviewed the marketing

26                     materials of the property and corresponded with Committee’s counsel regarding the

27                     Debtor’s marketing efforts. Applicant is in regular communication with the brokers

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 1                     regarding communications with interested parties and activity on the Property, as

 2                     well as strategic decisions relating to the possible list price and procedures in

 3                     connection with an eventual sale/auction to maximize value.

 4                2. With regard to the Arcadia Property, Debtor received an offer on the property and

 5                     Applicant corresponded with brokers, reviewed the buyer’s additional terms, and

 6                     reviewed broker reports on the offer, among other things. Applicant corresponded

 7                     with the Committee regarding updates to the Arcadia marketing efforts and

 8                     communicated with brokers regarding the offer. Applicant reviewed and revised a

 9                     counter offer the Debtor received for the property and reviewed several deeds on the

10                     property.

11                3. With regard to the Van Nuys Property, Applicant reviewed correspondence from the

12                     broker regarding the marketing strategy. Applicant also conferred with the broker

13                     regarding the sale of the property, offers placed on it, as well as escrow instructions

14                     and its recommended purchase price. Applicant prepared and reviewed a counter

15                     offer for the property. Applicant also prepared and delivered documents for escrow

16                     on the property.

17                4. With regard to the San Marino Property, Applicant conferred with brokers regarding

18                     potential buyers’ additional sale terms. Applicant also reviewed correspondences

19                     from potential buyers of the property and strategized on the sale of the property.

20            In September, Applicant corresponded with brokers regarding the title company

21 requirements for close of sale of the Van Nuys property and with Koo regarding the analysis of the

22 sale of the property tax on the same. Applicant analyzed interest accumulation with regard to the

23 property. Applicant also began drafting and revising the Van Nuys Sale Motion and prepared the

24 overbid form for the property.

25            Applicant continued searching for and reviewing all lien documents on the Debtor’s

26 properties and corresponded with all lienholders, including Royal Equity Lending, regarding an

27 updated payoff demand for the Lincoln Heights Property. Applicant corresponded with potential

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 1 buyers of the San Marino Property regarding the negotiation of the sale. Applicant drafted the San

 2 Marino Sale Motion.

 3            Five days before the Court granted Debtor’s Arcadia 9019 Motion on July 20, 2022, a

 4 mechanic’s lien was recorded against the Arcadia Property. Applicant researched the potential

 5 voidability of the lien recorded on the Debtor’s property and began drafting the Arcadia Sale

 6 Motion.

 7            Applicant also analyzed certain default interest rates on several of Debtor’s real property

 8 loans. Applicant then reviewed loan documents and information for Debtor’s various properties in

 9 preparation of the drafting of the sale motions for the Debtor’s properties.

10            Applicant began preparing to litigate regarding the default interest rates of multiple

11 lienholders against the Debtor’s properties. Applicant reviewed, collected, and organized loan

12 documents in connection with its review of the default interest rates.

13            During the Subject Period, Applicant expended an aggregate of 145.40 hours in this

14 category, valued at $63,517.50.

15

16                     C.    Business Operations (“BO”):

17            Services in this category include, but are not limited to, the following: communications with

18 Debtor’s previous attorney, Shioda Langley; communications with Debtor’s banker regarding bank

19 access; communications with the Principal’s personal counsel, Jim Zhou, regarding coordinating

20 control of Debtor’s bank accounts; conferences with Mr. Zhou regarding property management

21 arrangements; drafting a letter of termination to Applicant’s prior property manager, LT

22 Management; and conferences with the new property manager (and broker) Stephen Eng regarding

23 property management issues.

24            Applicant also helped prepare each Monthly Operating Reports (“MOR”) from June 22,

25 2022 to August 19, 2022, and filed the same with the Court.

26            During the Subject Period, Applicant expended an aggregate of 2.70 hours in this category,

27 valued at $1,275.50.

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 1                     D.    Case Administration (“CA”):

 2            Services in this category consist of, inter alia, general services rendered on behalf of the

 3 Debtor including the following: communicating with the property managers (past and present) of

 4 the Debtor’s multiple properties; evaluating and interviewing potential brokers, real estate agents,

 5 and property managers (“real estate professionals”); and corresponding with real estate

 6 professionals regarding potential engagements. Applicant prepared non-disclosure agreements

 7 relating to documents concerning the Lincoln Heights Property so that interested parties could

 8 access the due diligence room. Applicant also prepared correspondence to terminate the Debtor’s

 9 prior property managers and brokers.

10            In August, Applicant continued coordinating activities while the case moved forward. On

11 July 20, 2022, claimant Corona filed the Motion for Relief from Automatic Stay (“Corona Relief

12 Motion”), discussed below at “RF”. Applicant conducted a strategy meeting with the Debtor and

13 Debtor’s special litigation counsel and conducted several Zoom and telephone conferences

14 regarding the status of the case and the sale of the Debtor’s properties. Applicant regularly

15 reviewed the status of the case and Debtor’s properties. Applicant also corresponded with Debtor’s

16 accountant regarding the calculation of monthly operating report figures.

17            In September, Applicant corresponded with the Principal as well as Debtor’s previous

18 counsel regarding the status of the case. Applicant also reviewed Debtor’s finances by reviewing

19 Debtor’s statement of financial affairs and corresponding with Debtor’s former accountants

20 regarding Debtor’s tax returns.

21            During the Subject Period, Applicant expended an aggregate of 40.70 hours in this

22 category, valued at $20,294.50.

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 1                     E.   Claims Objections (“CL”):

 2            On June 17, 2022, Michael F. Chekian (“Chekian”), counsel for claimant, The Phalanx

 3 Group, filed the Application for Compensation for Michael F. Chekian (“Chekian Application”).

 4 Applicant discussed with Chekian objections that the Debtor had regarding the Chekian

 5 Application. Ultimately, the Office of the United States Trustee objected to the Chekian

 6 Application (docket no. 275) and the Court denied the Chekian Application.

 7            In September, Applicant continued the research it began in August regarding the

 8 enforceability of default interest rates of Debtor’s properties and to implement such research for

 9 purposes of Applicant’s sale motions (see “AD” above).

10            During the Subject Period, Applicant expended an aggregate of 9.60 hours in this category,

11 valued at $4,377.50.

12

13                     F.   Fee/Employment Applications (“FA”):

14            Immediately upon its engagement, Applicant prepared Debtor’s Application to Employ

15 Danning, Gill, Israel & Krasnoff, LLP as its General Bankruptcy Counsel (“Employment

16 Application”), which Applicant filed on June 1, 2022. By the Employment Application, the Debtor

17 sought approval of Danning Gill’s employment as general bankruptcy counsel. It also addressed

18 the loan from the Principal to advance the retainer, and sought approval thereof as a form of debtor

19 in possession financing.

20            Applicant prepared notice of the hearing on the Motion for DIP Financing, which was

21 originally set for June 22, 2022. Applicant also prepared notice of the hearing on the Employment

22 Application. On June 8, 2022, Applicant filed an amended notice of hearing on the Employment

23 Application, which was set for July 6, 2022. On June 23, 2022, Applicant prepared and filed a

24 stipulation with the Committee to extend the deadlines to respond to the Employment Application

25 of Danning Gill as well as the Debtor’s application to employ special litigation counsel.

26            On June 22, 2022, Applicant filed and served its First Fee Statement and on August 19,

27 2022, Applicant filed and served its Second Fee Statement.

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 1            In September 2022, Applicant began reviewing the court docket and monthly billing entries

 2 for preparation of this Application. Applicant drafted revised the Application with respect to

 3 monthly entries. Applicant also prepared the Third Fee Statement and on September 16, 2022,

 4 filed the same with the Court.

 5            During the Subject Period, Applicant expended an aggregate of 59.10 hours of time in this

 6 category, valued at $22,530.50.

 7

 8                     G.    Fee Employment/Objections (“FO”):

 9            On June 15, 2022, Applicant filed the Debtor’s application to employ Atkinson Adelson as

10 Debtor’s special litigation counsel (“Atkinson Employment Application”).

11            On June 27, 2022, the Committee filed an opposition to the Danning Gill Employment

12 Application and to the Atkinson Employment Application. The Committee challenged the DIP

13 financing aspect of both applications, whereby the Principal was advancing funds for the

14 postpetition retainers to the two firms, and receiving, in return, a subordinated administrative

15 expense claim. Applicant prepared a reply to Committee’s opposition and discussed the matter

16 with Committee counsel. In light of such discussions, on June 30, 2022, the Committee withdrew

17 its opposition, so the Debtor ultimately did not need to file its reply. The Court entered orders

18 approving both applications in their entirety.

19            To effectuate Debtor’s shift to a liquidation strategy, Applicant began selecting and

20 retaining real estate and accounting professionals to help facilitate the sale of Debtor’s multiple

21 properties. Applicant was in regular communication with the Principal regarding the engagement

22 of several real estate professionals to sell Debtor’s properties. Applicant regularly corresponded

23 with each professional and discussed expectations under employment applications and listing

24 agreements.

25            On June 15, 2022, Applicant prepared and filed the Application to Employ Avenue 8 as

26 Real Estate Broker (“Avenue 8 Employment Application”). Applicant drafted and revised the

27 Order Approving Application to Employ Avenue 8 As Real Estate Broker (“Avenue 8 Order”).

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 1 Applicant filed a declaration that no party requested a hearing on the Avenue 8 Employment

 2 Application motion as required by Local Bankruptcy Rule 9013(1)(o)(3), and on August 8, 2022,

 3 the Court entered the Avenue 8 Order.

 4            On June 15, 2022, Applicant prepared and filed the Application to Employ Koo, Chow &

 5 Company, LLC as Accountants (“Koo Chow Employment Application”). Applicant drafted the

 6 Order Approving Application Of Debtor And Debtor-In-Possession To Employ Koo, Chow &

 7 Company, LLP, As Accountants (“Koo Order”). The hearing was held on August 30, 2022, and on

 8 September 6, 2022, the Court entered the Koo Order.

 9            On June 18, 2022, Applicant prepared and filed the Application to Stephen Eng as Property

10 Manager (“Stephen Eng Employment Application”). Applicant drafted the Order Granting

11 Application to Employ Stephen Eng (“Stephen Eng Order”). The hearing was held on August 30,

12 2022, and on September 6, 2022, the Court entered the Stephen Eng Order.

13            On June 23, 2022, Applicant prepared and filed the Application to Employ the CREM

14 Group and Marcus & Millichap as Real Estate Brokers (“CREM and Marcus Employment

15 Application”). Applicant drafted the Order Granting Application to Employ The CREM Group

16 (“CREM Group Order”). Applicant filed a declaration that no party requested a hearing on the

17 CREM and Marcus Employment Application motion as required by Local Bankruptcy Rule 9013-

18 1(o)(3), and on June 12, 2022, the Court entered the CREM Group Order.

19            On July 26, 2022, Applicant filed the amended Application to Employ Re/Max of Cerritos

20 and Coldwell Banker as Real Estate Brokers (“Re/Max and Coldwell Employment Application”).

21 Applicant reviewed PACER for any opposition to the Re/Max and Coldwell Employment

22 Application. Applicant drafted and revised the Order Approving Application to Employ RE/MAX

23 of Cerritos and Coldwell Bank Real Estate Brokers (“Coldwell Order”). Applicant filed a

24 declaration that no party requested a hearing on the Re/Max and Coldwell Employment

25 Application motion as required by Local Bankruptcy Rule 9013-1(o)(3), and on August 19, 2022,

26 the Court entered the Coldwell Order.

27

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 1            During the Subject Period, Applicant expended an aggregate of 63.80 hours in this

 2 category, valued at $26,420.50.

 3

 4                     H.    Litigation (“L1”):

 5            L-1:

 6            Prior to Applicant’s involvement in the case, adversary no. 2:22-ap-01090 was commenced

 7 when defendants Betula Lenta, Inc., David Park and Jonathan Pae filed a notice of removal of a

 8 state court action filed by Debtor against them. The Debtor also filed a claim objection to the proof

 9 of claim of Betula Lenta Inc. (“Betula”), resulting in contested matter litigation, including

10 discovery and an evidentiary hearing.

11            In April 2022, Testa Capital Group (“Testa”) filed a notice of removal of an action Debtor

12 had filed against it and other defendants in state court, thereby commencing adversary proceeding

13 number 2:22-ap-01088.

14            Applicant has caused stipulations to extend deadlines to be filed in the adversary

15 proceedings while special litigation counsel continues to analyze the claims of the Debtor in these

16 matters.

17            In August 2022, Applicant communicated with Debtor’s special litigation counsel and

18 calendared dates and deadlines regarding adversary proceedings and claims objections for counsel.

19 Applicant reviewed the proof of service of the summons to Betty Zheng and corresponded with

20 Debtor’s special litigation counsel on the same. Applicant also prepared multiple stipulations

21 regarding the contested matters within the adversary proceedings and corresponded with defense

22 counsels on the same. Applicant reviewed discovery documents drafted by Debtor’s special

23 litigation counsel, Atkinson, and coordinated with special counsel regarding bankruptcy

24 procedures.

25            Applicant has regularly corresponded with Atkinson regarding the case’s litigation strategy

26 and discovery moving forward.

27

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 1            During the Subject Period, Applicant expended an aggregate of 14.70 hours in this

 2 category, valued at $6,247.50.

 3

 4                     I.   Meeting of Creditors (“MC”):

 5            Applicant regularly conferred with the Committee regarding the marketing and sale of

 6 Debtor's properties. Applicant reviewed questions that the Committee had with regard to property

 7 listings. Applicant met with both the Committee and Debtor’s respective brokers regarding the

 8 Lincoln Heights listing and debriefed on the same.

 9            During the Subject Period, Applicant expended an aggregate of 8.00 hours in this category,

10 valued at $4,074.00.

11

12                     J.   Plan and Disclosure Statement (“PD”):

13            On June 16, 2022, Applicant filed a Stipulation to Withdraw the Disclosure Statement and

14 Plan, and the court approved the Stipulation the next day. The Debtor has not yet determined

15 whether it is necessary or appropriate to file a liquidating plan in this case or whether a structured

16 dismissal will be possible. That will depend on the outcomes of the sales and the litigation.

17            During the Subject Period, Applicant expended an aggregate of 2.20 hours in this category,

18 valued at $917.00.

19

20                     K.   Relief from Stay Proceedings (“RF”):

21            Three lienholders hold liens against Debtor’s San Marino Property: Royal Business Bank

22 “RBB”), Corona, and DNQ. Applicant conferred with each lienholder.

23            On July 20, 2022, Corona filed the Corona Relief Motion regarding the San Marino

24 Property. Applicant corresponded with Debtor regarding the Corona Relief Motion. Applicant

25 drafted the opposition to the motion, and on August 8, 2022, filed the same with the Court.

26            On August 10, 2022, RBB filed the RBB Relief Motion regarding the San Marino Property.

27 Applicant reviewed and corresponded with Debtor regarding the RBB Relief Motion and

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 1 researched potential defenses to the motion. Applicant drafted and revised the opposition to the

 2 motion. Applicant conferred with RBB’s counsel regarding the motion and later conferred with the

 3 brokers on the San Marino Property on the same. On August 23, 2022, Applicant filed the

 4 opposition to the motion with the Court. On August 25, 2022, Applicant reviewed the

 5 correspondence from RBB’s counsel regarding a potential stipulation to resolve the RBB Relief

 6 Motion. Applicant corresponded with the Debtor on the same. On August 31, 2022, Applicant

 7 drafted and finalized the Stipulation to Continue Hearing and Reply Deadlines regarding the

 8 Corona Relief Motion and the RBB Relief Motion, and on September 1, 2022, filed the same with

 9 the Court.

10            Applicant communicated with DNQ regarding the validity of its lien and strategized on

11 working with DNQ to facilitate a sale of the San Marino Property. On August 15, 2022, Applicant

12 prepared the San Marino 9019 Motion and filed the same with the Court, as discussed above in the

13 Asset Disposition (“AD”).

14            In September, the Applicant corresponded and conferred with counsel for Corona and RBB

15 regarding the Corona Relief Motion and the RBB Relief Motion, respectively. Applicant worked

16 with counsel for Corona and counsel for RBB on the Stipulation Resolving Motions For Relief

17 From The Automatic Stay (“RFS Stipulation”). Applicant edited the stipulation, reviewed

18 revisions to it, and corresponded with counsel for both claimants on the same. Claimants filed the

19 RFS Stipulation on September 13, 2022.

20            During the Subject Period, Applicant expended an aggregate of 28.00 hours in this

21 category, valued at $11,990.50.

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 1            12.    Summary of Services by Professionals:
                                                Normal Billing
 2
                                               Rate at Time of                            Extension
 3    Attorney                       Year              Service              Hours      (hours x rate)
                Partners
 4    Eric P. Israel                  2022             $750.00                 .30              $225.00
      John N. Tedford IV              2022             $695.00               10.10            $7,019.50
 5
      Zev Shechtman                  2022              $595.00              152.30           $90,618.50
 6             Associates
      Alphamorlai L. Kebeh           2022              $350.00              168.10           $58,835.00
 7    Danielle R. Gabai              2022              $335.00                6.00            $2,010.00
 8              Paralegal
      Shelly Panta                    2022             $275.00               21.80            $5,995.00
 9             Law Clerk
      Shantal Malmed                 2022              $295.00               40.70           $12,006.50
10
      TOTALS                                                                399.30          $176,709.50
11
              The rates provided are the normal hourly rates which Applicant charges to its regularly
12
     paying, non-bankruptcy clients for similar services. Applicant has agreed to a 10% discount on its
13
     fees as reflected above. The blended hourly rate for Applicant's attorneys who rendered services
14
     for the Debtor is $453.71; the blended hourly rate for all professionals is $425.81.
15
              13.      Expense Reimbursement
16
              Applicant has advanced costs incident to its legal services during the Subject Period, as
17
     itemized on Exhibit “2.” The aggregate summary is contained within Exhibit “3,” and the monthly
18
     summary is contained in Exhibit “4.” Applicant requests allowance and payment, on a final basis,
19
     of costs aggregating $4,330.48.
20
               14.     Factors Affecting the Award of Compensation
21
              Section 330(a) of the Code provides that, after notice of a hearing, the court may award a
22
     professional reasonable compensation for actual, necessary services rendered by the professional.
23
     In determining the amount of reasonable compensation, the court is to take into account all relevant
24
     factors, including the time spent on such services, the rates charged for such services, whether the
25
     services were necessary to the administration of, or beneficial at the time at which the services were
26
     rendered toward the completion of, the Bankruptcy Case, whether services were performed within a
27
     reasonable amount of time commensurate with the complexity, importance, and nature of the
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 1 problem, issue or task addressed, and whether the compensation is reasonable based on the

 2 customary compensation charged by comparably skilled practitioners in non-bankruptcy cases.

 3 11 U.S.C. § 330(a)(3).

 4            Based on all relevant factors, including the ones enumerated in § 330(a)(3), Applicant’s

 5 request for compensation is reasonable. The time spent by Applicant for services summarized

 6 above was reasonable, and Applicant’s rates are commensurate with rates charged by other

 7 bankruptcy professionals for services rendered to chapter 11 debtors. Applicant and each of its

 8 partners and associates specialize in the areas of bankruptcy, insolvency, commercial law and

 9 reorganization. Resumes for the professionals who rendered services for the Debtor in this

10 Bankruptcy Case are contained in Exhibit “5” hereto.

11            15.      No Sharing of Compensation

12            No agreement exists, directly or indirectly, and no understanding exists, for a division of

13 any compensation awarded herein between Applicant and any other persons contrary to the

14 provisions of the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure or applicable

15 provisions of state law.

16            16.      Compliance With Guidelines of the United States Trustee

17            Applicant's records for time and costs billed to the Debtor herein are maintained in the

18 format required by Guidelines of the Office of the United States Trustee, except that costs cannot

19 be attributed to separate activity codes under Applicant's present computerized billing system.

20 Attached is a declaration from the Debtor’s Principal attesting that he has no unresolved concerns

21 with this Application.

22 ///

23 ///

24 ///

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 1            17.      Prayer

 2            WHEREFORE, Applicant prays for the Court to enter an Order:

 3            Approving and allowing interim fees to Applicant in the amount of $159,038.55 and

 4 $4,330.48 for costs incurred during the Subject Period;

 5            Approving the payment of $100,000, which was already paid by the postpetition retainer,

 6 on an interim basis;

 7            Authorizing the Debtor to pay to Applicant the remaining allowed and unpaid sums, at this

 8 time, on an interim basis, to the extent free and clear funds are available from sales of properties;

 9 and

10            Granting such other and further relief as may be deemed just and proper.

11

12 DATED: October 18, 2022                      DANNING, GILL, ISRAEL & KRASNOFF, LLP

13

14                                              By:          /s/ Zev Shechtman
15                                                    ZEV SHECHTMAN
                                                      Applicant as General Bankruptcy Counsel for
16                                                    Jinzheng Group (USA) LLC, Debtor and Debtor in
                                                      Possession
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                                   DECLARATION OF ZEV SHECHTMAN
 1

 2            I, Zev Shechtman, declare as follows:
 3            1.       I am an attorney duly admitted to practice before this Court. I am the principal of a
 4 professional corporation that is a partner of Danning, Gill, Israel & Krasnoff, LLP, attorneys of

 5 record for Jinzheng Group (USA) LLC. I have personal knowledge of the facts set forth herein,

 6 and if called as a witness, I could and would competently testify thereto. I make this declaration in

 7 support of First Interim Application for Compensation and Reimbursement of Expenses by

 8 Danning, Gill, Israel & Krasnoff, LLP as General Bankruptcy Counsel to Chapter 11 Debtor and

 9 Debtor in Possession.

10            2.       I have personal knowledge of the facts in this declaration and, if called as a witness,
11 could testify competently to these facts.

12            3.       I have reviewed the within Application for Compensation and Reimbursement of
13 Expenses by Danning, Gill, Israel & Krasnoff, LLP as General Counsel to Chapter 11 Debtor and

14 Debtor in Possession (“Application”). The facts stated in the Application are true of my own

15 knowledge, except such matters as may be stated upon information or belief, which I believe to be

16 true.

17            4.       I believe that Danning Gill’s records for time billed comply with the format required
18 by the Guidelines of the Office of the United States Trustee, except as disclosed and justified in the

19 Application.

20            5.       I have reviewed the requirements of Local Bankruptcy Rule 2016-1 and believe that
21 the Application complies with that rule.

22            I declare under penalty of perjury under the laws of the State of California that the
23 foregoing is true and correct.

24            Executed on this 18th day of October , 2022, at Los Angeles, California.
25

26                                                         /s/ Zev Shechtman
27                                                         Zev Shechtman
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 1                                  DECLARATION OF ZHOU PU YANG
 2
               I, Zhou Pu Yang, declare as follows:
 3
               1.      I am the legal representative of Jianqing Yang, the managing member of the Debtor.
 4
     I have personal knowledge of the facts set forth herein, except as to those stated on information and
 5
     belief and, as to those, I am informed and believe them to be true. If called as a witness, I could
 6
     and would competently testify to the matters stated herein. I make this declaration in support of
 7
     First Interim Application for Compensation and Reimbursement of Expenses by Danning, Gill,
 8
     Israel & Krasnoff, LLP as General Bankruptcy Counsel to Chapter 11 Debtor and Debtor in
 9
     Possession.
10
               2.      I have received and reviewed the within Application for Compensation and
11
     Reimbursement of Expenses by Danning, Gill, Israel & Krasnoff, LLP as General Counsel to
12
     Chapter 11 Debtor and Debtor in Possession (“Application”).
13
               3.      I have no unresolved objections to the Application.
14
               I declare under penalty of perjury under the laws of the State of California that the
15
     foregoing is true and correct.
16
                                18th day of October, 2022, at _____________, __________.
               Executed on this ____
17

18

19
                                                            Zhoupu Yang
20

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JINZHENG GROUP (USA) LLP
ASSET ANALYSIS AND RECOVERY [AA]
05/31/22   TEL. CONF. WITH E.P. ISRAEL RE NEW MATTER                         0.00 NO CHARGE
           ATTORNEY: ZEV SHECHTMAN
05/31/22   EMAILS TO/FROM CLIENT RE NEW MATTER                               0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
05/31/22   EMAILS TO/FROM CLIENT RE NEW MATTER                               0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
05/31/22   TEL. CONF. WITH A. L. KEBEH RE NEW CASE                           0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
05/31/22   TEL. CONF. WITH J. N. TEDFORD RE NEXT STEPS IN NEW MATTER         0.40      238.00
           ATTORNEY: ZEV SHECHTMAN
05/31/22   TEL. CONF. WITH J. ZHOU RE NEXT STEPS IN NEW MATTER               0.40      238.00
           ATTORNEY: ZEV SHECHTMAN
05/31/22   DRAFT EMAIL TO B.D. KRASNOFF RE NEW MATTER                        0.00 NO CHARGE
           ATTORNEY: ZEV SHECHTMAN
05/31/22   COORDINATE OPENING OF NEW MATTER                                  0.00 NO CHARGE
           ATTORNEY: ZEV SHECHTMAN
05/31/22   DRAFT SUBSTITUTION OF ATTORNEY AND EMAIL TO CLIENT AND J.         0.40      238.00
           ZHOU RE SAME
           ATTORNEY: ZEV SHECHTMAN
05/31/22   EXCHANGE EMAILS WITH C. LANGLEY AND WITH CLIENT AND J.            0.20      119.00
           ZHOU RE SAME
           ATTORNEY: ZEV SHECHTMAN
05/31/22   EXCHANGE EMAILS WITH J. DULBERG AND WITH CLIENT AND J. ZHOU       0.20      119.00
           RE SAME
           ATTORNEY: ZEV SHECHTMAN
05/31/22   CALL WITH J. ZHOU RE REPORT ON ZOOM MEETING WITH COMMITTEE        0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
05/31/22   CALL WITH J. ZHOU RE REPORT ON ZOOM MEETING WITH COMMITTEE        0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
05/31/22   TEL. CONF. WITH C. LANGLEY RE CASE BACKGROUND AND                 1.00      595.00
           TRANSITION
           ATTORNEY: ZEV SHECHTMAN
05/31/22   FOLLOW UP CALL WITH J. ZHOU RE TEL. CONF. WITH C. LANGLEY RE      0.30      178.50
           CASE BACKGROUND AND TRANSITION
           ATTORNEY: ZEV SHECHTMAN
05/31/22   FURTHER TEL. CONF. WITH A. L. KEBEH RE NEW CASE AND               0.10         59.50
           EMPLOYMENT APPLICATION
           ATTORNEY: ZEV SHECHTMAN
05/31/22   TEL. CONF. WITH J. N. TEDFORD RE NEW CASE                         0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/02/22   REVIEW DOCUMENTS PROVIDED BY C. LANGLEY                           0.10         59.50

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                                                                 EXHIBIT 1
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           ATTORNEY: ZEV SHECHTMAN
06/07/22   REVIEW MEMO FROM Z. SHECHTMAN RE ALLEGED 3RD-PRIORITY            0.20      139.00
           LIEN AGAINST SAN MARINO PROPERTY, AND PREPARE REPLY RE
           SAME
           ATTORNEY: JOHN N. TEDFORD
06/07/22   REVIEW MEMOS FROM Z. SHECHTMAN RE ARCADIA PROPERTY,              1.40      973.00
           RESEARCH SAME AND PREPARE MEMO TO A. L. KEBEH RE FINDINGS
           ATTORNEY: JOHN N. TEDFORD
06/07/22   ANALYZE POTENTIAL VOIDABLE TRANSFER AS TO ARCADIA                0.40      238.00
           PROPERTY AND DRAFT EMAIL TO A. L. KEBEH RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/08/22   REVIEW MEMOS FROM Z. SHECHTMAN AND C. LANGLEY RE ARCADIA         0.20      139.00
           PROPERTY AND OTHER ITEMS, AND PREPARE REPLY RE SAME
           ATTORNEY: JOHN N. TEDFORD
06/08/22   EMAILS TO/FROM A. L. KEBEH AND J. N. TEDFORD RE ARCADIA          0.20      119.00
           PROPERTY
           ATTORNEY: ZEV SHECHTMAN
06/08/22   INTERVIEW WITH CREM GROUP FOR PROPERTY MANAGEMENT AND            1.00      595.00
           BROKERAGE
           ATTORNEY: ZEV SHECHTMAN
06/08/22   TEL. CONF. WITH D. HUBERT RE BROKERAGE SERVICES                  0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
06/09/22   REVIEW CORRESPONDENCE FROM COUNSEL RE POTENTIAL                  0.20         70.00
           EXTENSION OF DEADLINE TO REPLY; TEL. CONF. WITH COUNSEL RE
           SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/11/22   OLA: REVIEW MEMOS FROM DNQ AND Z. SHECHTMAN RE DEBTOR'S          0.20      139.00
           REQUEST FOR INFO RE VALIDITY OF LIEN, AND PREPARE REPLY RE
           SAME
           ATTORNEY: JOHN N. TEDFORD
06/11/22   OLA: REVIEW PROPERTY PROFILE AND TITLE DOCS RE SAN MARINO        1.60     1112.00
           PROPERTY, AND PREPARE MEMO TO E. MITNICK RE SAME
           ATTORNEY: JOHN N. TEDFORD
06/11/22   PREPARE MEMO TO BROKER AND ESCROW AGENT FOR SAN MARINO           0.50      347.50
           PROPERTY RE PAYOFF STATEMENT AND TITLE REPORT
           ATTORNEY: JOHN N. TEDFORD
06/12/22   REVIEW MEMO FROM J. ZHOU RE DNQ AND CORONA CAPITAL LIENS,        0.20      139.00
           AND PREPARE REPLY RE SAME
           ATTORNEY: JOHN N. TEDFORD
06/13/22   REVIEW MEMOS FROM E. MITNICK RE SAN MARINO PROPERTY, AND         0.10         69.50
           SUBORDINATION OF DNQ'S DEED OF TRUST, AND PREPARE REPLY RE
           SAME
           ATTORNEY: JOHN N. TEDFORD
06/13/22   REVIEW MEMOS FROM Z. SHECHTMAN AND P. KIM RE TRANSFER OF         0.00 NO CHARGE
           ARCADIA PROPERTY TO NEW LLC, LOAN ENCUMBERING PROPERTY,
           AND RELATED ITEMS
           ATTORNEY: JOHN N. TEDFORD
06/13/22   REVIEW EMAILS FROM J. N. TEDFORD AND J. ZHOU RE SAN MARINO       0.10         59.50
           LIENS

                                                                                    26
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           ATTORNEY: ZEV SHECHTMAN
06/13/22   REVIEW EMAIL FROM J. ZHOU RE ARCADIA PROPERTY AND                 0.30      178.50
           PROPERTY MANAGEMENT AND DRAFT EMAIL TO J. N. TEDFORD RE
           SAME
           ATTORNEY: ZEV SHECHTMAN
06/14/22   CORRESPONDENCE WITH Z. SHECHTMAN AND CREDITOR ATTORNEY            0.20         70.00
           RE SUMMARY OF 341(A) HEARING.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/14/22   VISIT PROPERTY IN LINCOLN HEIGHTS WITH AGENT, CLIENT AND J.       2.10     1249.50
           ZHOU (INCLUDES TRAVEL TIME)
           ATTORNEY: ZEV SHECHTMAN
06/14/22   REVIEW AND PREPARE REPLY TO EMAIL FROM P. KIM RE LA SIERRA        0.30      178.50
           PROPERTY ISSUES
           ATTORNEY: ZEV SHECHTMAN
06/14/22   TEL. CONF. WITH M. CIANCIULLI RE LISTING                          0.40      238.00
           ATTORNEY: ZEV SHECHTMAN
06/14/22   TEL. CONF. WITH R. SAUNDERS RE CASE STATUS                        0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/14/22   TEL. CONF. WITH D. MARTINEZ RE LITIGATION AND EMPLOYMENT OF       0.60      357.00
           SPECIAL COUNSEL
           ATTORNEY: ZEV SHECHTMAN
06/14/22   TEL. CONF. WITH PROPERTY MANAGER S. ENG RE PROPERTY               0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
06/14/22   DRAFT EMAIL TO PROPERTY MANAGER S. ENG RE SECURING                0.10         59.50
           PROPERTY
           ATTORNEY: ZEV SHECHTMAN
06/14/22   DRAFT EMAIL TO BROKER RE ARCADIA PROPERTY                         0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/14/22   TEL. CONF. WITH P. KIM RE PROPERTY ISSUES WITH ARCADIA,           0.80      476.00
           LINCOLN HEIGHTS, AND RE LITIGATION STATUS
           ATTORNEY: ZEV SHECHTMAN
06/15/22   ZOOM MEETING WITH Z. SHECHTMAN, CLIENT AND BROKERS                0.70      234.50
           ASSOCIATE: DANIELLE R. GABAI
06/15/22   REVIEW AND REPLY TO EMAILS FROM BROKERS RE LISTING                0.40      238.00
           ATTORNEY: ZEV SHECHTMAN
06/15/22   EMAILS TO/FROM C. LANGLEY RE APPRAISALS                           0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
06/15/22   REVIEW AND REPLY TO EMAIL FROM P. KIM AND DRAFT EMAIL TO J.       0.20      119.00
           ZHOU RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/15/22   TEL. CONF. WITH J. ZHOU RE ARCADIA PROPERTY                       0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
06/15/22   TEL. CONF. WITH P. KIM RE INFORMATION RE PROPERTIES               0.20      119.00
           ATTORNEY: ZEV SHECHTMAN


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06/16/22   REVIEW MEMOS FROM Z. SHECHTMAN AND ACCOUNTANTS RE MORS,          0.10         69.50
           AND PREPARE REPLY RE SAME
           ATTORNEY: JOHN N. TEDFORD
06/16/22   REVIEW MEMOS RE DEED OF TRUST ON ARCADIA PROPERTY, AND           0.10         69.50
           PREPARE REPLY RE SAME
           ATTORNEY: JOHN N. TEDFORD
06/16/22   EMAIL TO PROPERTY MANAGER RE SECURITY AT AMETHYST;               0.20      119.00
           REVIEW REPLY
           ATTORNEY: ZEV SHECHTMAN
06/16/22   FOLLOW UP WITH P. KIM RE BROKER COMMUNICATIONS                   0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/16/22   FOLLOW UP WITH P. KIM RE SOUND EQUITY INFORMATION                0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/16/22   EMAIL TO AND FROM PROPERTY MANAGER/BROKER RE ARCADIA             0.20      119.00
           PROPERTY AND EMAIL J. ZHOU RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/21/22   REVIEW MEMO FROM E. MITNIK RE PAYOFF FROM SENIOR                 0.10         69.50
           LIENHOLDER ON LORAIN, AND PREPARE REPLY RE SAME
           ATTORNEY: JOHN N. TEDFORD
06/22/22   TEL. CONF. WITH FORECLOSURE TRUSTEE RE STATUS OF                 0.30      178.50
           FORECLOSURE AND REQUEST FOR PAYOFF
           ATTORNEY: ZEV SHECHTMAN
06/22/22   REVIEW AND REPLY TO EMAILS FROM LENDER RE LA SIERRA              0.10         59.50
           PROPERTY
           ATTORNEY: ZEV SHECHTMAN
06/22/22   PREPARE AUTHORIZATION FOR INFORMATION REGARDING SEIRRA           0.30      178.50
           PROPERTY; EMAILS WITH CLIENT RE SAME; DRAFT EMAIL TO
           FORECLOSURE TRUSTEE AND LENDER RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/22/22   REVIEW CORRESPONDENCE AND DOCUMENTS RE STATUS OF LA              0.40      238.00
           SIERRA PROPERTY
           ATTORNEY: ZEV SHECHTMAN
06/22/22   ANALYZE TRANSACTIONAL AND TITLE DOCUMENTS RE                     2.20     1309.00
           INFORMATION WITH RESPECT TO EVALUATING TRANSACTIONS AND
           LIENS; EMAILS RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/22/22   ANALYZE BANKING DOCUMENTS AND EXCHANGE EMAILS WITH CPA           0.60      357.00
           RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/22/22   DRAFT EMAIL TO B. ZHENG RE INQUIRY RE PROPERTIES                 0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
06/22/22   EMAILS TO/FROM E. MITNICK RE SAN MARINO PROPERTY                 0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/22/22   DRAFT EMAIL TO ROYAL BUSINESS BANK RE REQUEST FOR                0.10         59.50
           INFORMATION
           ATTORNEY: ZEV SHECHTMAN
06/22/22   DRAFT EMAIL TO JASON WANG RE REQUEST FOR INFORMATION             0.10         59.50

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           ATTORNEY: ZEV SHECHTMAN
06/23/22   TEL. CONF. WITH Z. SHECHTMAN RE STRATEGY FOR ADMINISTERING         0.30      208.50
           PROPERTIES
           ATTORNEY: JOHN N. TEDFORD
06/23/22   REVIEW EMAIL FROM B. ZHENG RE DOCUMENTS AND INFORMATION            0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/23/22   TEL. CONF. WITH E. MITNICK RE STATUS RE SAN MARINO PROPERTY        0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
06/30/22   ANALYZE VAN NUYS PROPERTY LISTING, REVISE ADDENDUM, DRAFT          0.60      357.00
           EMAIL TO D. HUBERT AND CLIENT RE SAME
           ATTORNEY: ZEV SHECHTMAN
09/12/22   REVIEW AND REVISE PUBLIC RECORDS REQUEST LETTER; EMAILS            0.40      238.00
           TO/FROM SPECIAL COUNSEL RE SAME
           ATTORNEY: ZEV SHECHTMAN
09/28/22   CONFERENCE WITH Z. SHECHTMAN RE POTENTIAL VOIDABLE                 0.30         88.50
           TRANSFER.
           LAW CLERK: Shantal Malmed
SUBTOTAL FOR ASSET ANALYSIS AND RECOVERY [AA]                                25.10    15064.50


ASSET DISPOSITION [AD]
05/31/22   REVIEW MEMO FROM Z. SHECHTMAN RE POTENTIAL REAL ESTATE             0.10         69.50
           AGENTS, AND PREPARE REPLY RE SAME
           ATTORNEY: JOHN N. TEDFORD
06/01/22   TEL. CONF. WITH D. M HIGGINS RE REAL PROPERTY MANAGEMENT           0.00 NO CHARGE
           ATTORNEY: ZEV SHECHTMAN
06/01/22   TEL. CONF. WITH J. ZHOU RE REAL PROPERTY MANAGEMENT AND            0.40      238.00
           NEXT STEPS IN CASE
           ATTORNEY: ZEV SHECHTMAN
06/07/22   REVIEW CORRESPONDENCE BETWEEN Z. SHECHTMAN AND                     0.10         35.00
           PROPERTY MANAGER RE DEBTOR'S PROPERTIES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/07/22   REVIEW MEMO FROM E. MITNICK RE SAN MARINO PROPERTY, AND            0.20      139.00
           PREPARE REPLY RE SAME
           ATTORNEY: JOHN N. TEDFORD
06/07/22   REVIEW AND REPLY TO EMAILS FROM CLIENT REPRESENTATIVE RE           0.30      178.50
           VARIOUS EXPENSES AND PROPERTY MANAGEMENT ISSUES
           ATTORNEY: ZEV SHECHTMAN
06/08/22   REVIEW CORRESPONDENCE RE CASE STATUS AND DEBTOR'S                  0.40      140.00
           PROPERTIES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/08/22   MEETING WITH POTENTIAL PROPERTY MANAGER AND A. L. KEBEH            0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
06/08/22   FOLLOW UP MEETING WITH A. L. KEBEH RE MEETING WITH                 0.10         59.50
           POTENTIAL PROPERTY MANAGER AND A. L. KEBEH
           ATTORNEY: ZEV SHECHTMAN


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06/10/22   REVIEW SAN MARINO SALE DOCUMENTS AND DRAFT EMAIL TO               0.30      178.50
           CLIENT RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/11/22   REVIEW AND REPLY TO EMAIL FROM J. WANG RE DNQ LIEN AND            0.30      178.50
           CLAIM
           ATTORNEY: ZEV SHECHTMAN
06/14/22   PARTIAL CONFERENCE WITH Z. SHECHTMAN AND J. N. TEDFORD RE         0.40      140.00
           OVERVIEW OF LIENS AND PROPERTY STATUS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/14/22   PARTIAL CONFERENCE WITH Z. SHECHTMAN AND A. L. KEBEH RE           0.40      278.00
           OVERVIEW OF LIENS AND PROPERTY STATUS
           ATTORNEY: JOHN N. TEDFORD
06/14/22   CONFERENCE WITH A. L. KEBEH RE ANALYSIS OF ASSETS AND WITH J.     0.40      238.00
           N. TEDFORD PARTIAL
           ATTORNEY: ZEV SHECHTMAN
06/15/22   REVIEW CORRESPONDENCE FROM PROPERTY BROKERS RE                    0.20         70.00
           VALUATION OF LINCOLN HEIGHTS PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/15/22   CORRESPONDENCE WITH BROKER RE NDA.                                0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/15/22   ZOOM WITH CREM, M&M, S. ENG, J. ZHOU AND D. GABAI RE ISSUES ON    0.70      416.50
           PROPERTY
           ATTORNEY: ZEV SHECHTMAN
06/16/22   TEL. CONF. WITH M. CIANCIULLI RE PROPERTY STATUS                  0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/17/22   TEL. CONF. WITH J. ZHOU AND BROKERS RE ANALYSIS AND               0.90      535.50
           MARKETING STRATEGY RE LINCOLN HEIGHTS
           ATTORNEY: ZEV SHECHTMAN
06/17/22   REVIEW EMAIL FROM E. MITNICK RE STATUS AND THREAT TO SEEK         0.10         59.50
           RELIEF FROM STAY RE PROPERTY
           ATTORNEY: ZEV SHECHTMAN
06/17/22   TEL. CONF. WITH M. RESNIK RE STATUS RE PROPERTY                   0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
06/17/22   REVIEW AND REVISE LISTING AGREEMENT                               1.00      595.00
           ATTORNEY: ZEV SHECHTMAN
06/23/22   TEL. CONF. WITH J. N. TEDFORD RE STRATEGY RE PROPERTIES           0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
06/23/22   REVIEW AND REPLY TO EMAIL FROM J. WANG FROM LTG                   0.30      178.50
           MANAGEMENT RE LORAIN PROPERTY; EMAIL CLIENT RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/24/22   TEL. CONF. WITH M. CIANCIULLI RE LISTING                          0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/24/22   PREPARE SUMMARY OF STRATEGIES RE ADDITIONAL PROPERTIES            0.80      476.00
           ATTORNEY: ZEV SHECHTMAN
06/27/22   PREPARE EMAIL TO CPA RE TAX CONSEQUENCES OF REAL ESTATE           0.10         59.50
           SALES
                                                                                     30
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           ATTORNEY: ZEV SHECHTMAN
06/28/22   EMAILS TO/FROM T. TONG RE CAPITAL GAINS TAX ANALYSES             0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
06/28/22   TEL. CONF. WITH D. HUBERT RE LISTING VAN NUYS PROPERTY           0.50      297.50
           ATTORNEY: ZEV SHECHTMAN
06/29/22   TEL. CONF. WITH S. ENG RE SAN MARINO AND ARCADIA                 0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
06/29/22   REVIEW MEMO FROM Z. SHECHTMAN TO POTENTIAL BROKERS RE            0.10         27.50
           SALE OF PROPERTIES
           ASSISTANT: SHELLY PANTA
06/30/22   REVIEW AND REPLY TO EMAIL FROM T. KAPUR RE MULTIPLE              0.10         59.50
           PROPERTIES
           ATTORNEY: ZEV SHECHTMAN
07/01/22   CONFERENCE WITH Z. SHECHTMAN RE COMPROMISE MOTION RE LA          0.20         70.00
           SIERRA PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/01/22   CONFERENCE WITH Z. SHECHTMAN RE DEPTH OF SETTLEMENT              0.40      140.00
           MOTION (SIERRA); MULTIPLE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/01/22   REVIEW DISCLOSURE STATEMENT IN CONNECTION WITH 9019              0.30      105.00
           MOTION RE ARCADIA PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/01/22   PREPARE 9019 MOTION RE ARCADIA PROPERTY.                         3.00     1050.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/01/22   DRAFT APPLICATION TO SHORTEN NOTICE IN CONNECTION WITH           0.40      140.00
           ARCADIA 9019.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/01/22   DRAFT EMAILS TO LIENHOLDERS RE SAN MARINO PROPERTY AND           0.60      357.00
           REVIEW MULTIPLE REPLIES FORM E. MITNCIK AND REPLY THERETO
           ATTORNEY: ZEV SHECHTMAN
07/01/22   DRAFT EMAIL TO SOUND EQUITY RE 9019 PLAN                         0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/01/22   CONFERENCE WITH A. L. KEBEH RE 9019 MOTION                       0.40      238.00
           ATTORNEY: ZEV SHECHTMAN
07/01/22   CONFERENCE WITH A. L. KEBEH RE DEPTH OF SETTLEMENT MOTION        0.40      238.00
           (SIERRA); MULTIPLE.
           ATTORNEY: ZEV SHECHTMAN
07/02/22   REVIEW AND REVISE 9019 MOTION RE ARCADIA                         1.80     1071.00
           ATTORNEY: ZEV SHECHTMAN
07/05/22   TEL. CONF. WITH Z. SHECHTMAN RE FINALIZING 9019 EX PARTE         0.40      140.00
           MOTION; MULTIPLE
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/05/22   CORRESPONDENCE WITH CLIENT RE FINALIZING SETTLEMENT              0.20         70.00
           MOTION RE ARCADIA PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH

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07/05/22   REVIEW CORRESPONDENCE FORM J. N. TEDFORD RE REQUEST FOR          0.10         35.00
           INFORMATION RE SAN MARINO PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/05/22   TEL. CONF. WITH CLERK'S OFFICE RE SUBMITTING ON TENTATIVE        0.10         35.00
           RULING.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/05/22   REVIEW CORRESPONDENCE BETWEEN Z. SHECHTMAN AND                   0.20         70.00
           LIENHOLDERS RE POTENTIAL SALE OF PROPERTY (SAN MARINO)
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/05/22   REVIEW Z. SHECHTMAN EDITS TO ARCADIA 9019 MOTION; REVISE         0.60      210.00
           SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/05/22   REVIEW SETTLEMENT AGREEMENT RE ARCADIA 9019 MOTION.              0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/05/22   REVISE APPLICATION RE SHORTENED NOTICE RE ARCADIA 9019           0.30      105.00
           MOTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/05/22   DRAFT ORDERS RE APPLICATION SHORTENING NOTICE AND 9019           0.60      210.00
           COMPROMISE
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/05/22   REVIEW CORRESPONDENCE RE UPDATES TO SAN MARINO PROPERTY          0.20         70.00
           STATUS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/05/22   FINALIZE ARCADIA SETTLEMENT MOTION (FINAL REVIEW AND             1.80      630.00
           REVISION, CROSS REFERENCE FACTS IN MOTION AND
           DECLARATIONS, CORRESPONDENCE RE EXECUTION OF UNDERLYING
           AGREEMENTS, ETC).
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/05/22   TWO CALLS WITH M. KEBEH RE 9019 MOTION RE ARCADIA                0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
07/05/22   REVIEW 9019 MOTION AND RELATED DOCUMENTS RE ARCADIA              0.40      238.00
           ATTORNEY: ZEV SHECHTMAN
07/05/22   EMAILS TO/FROM A. L. KEBEH RE MOTION                             0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
07/05/22   TEL. CONF. WITH S. ENG AND W. FRIEDMAN RE LISTING OF SAN         0.50      297.50
           MARINO AND ARCADIA
           ATTORNEY: ZEV SHECHTMAN
07/06/22   FINALIZE AMENDMENT TO ARCADIA 9019 MOTION.                       0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/06/22   CONFERENCE WITH Z. SHECHTMAN RE SERVICE NOTICE OF ORDER RE       0.00 NO CHARGE
           MOTION TO COMPROMISE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/06/22   CORRESPONDENCE RE SERVICE OF NOTICE RE ORDER SHORTENING          0.00 NO CHARGE
           TIME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/06/22   DRAFT AMENDMENT TO ARCADIA 9019 MOTION.                          0.40      140.00


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           ATTORNEY: ALPHAMORLAI L. KEBEH
07/06/22   CONFERENCE WITH D. HUBERT RE LISTING                             0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/06/22   EMAILS TO/FROM CLIENT AND J. ZHOU RE LISTING OF VAN NUYS         0.50      297.50
           PROPERTY; AND EMAILS TO/ FROM D. HUBERT RE SAME
           ATTORNEY: ZEV SHECHTMAN
07/06/22   PREPARE EMAIL TO CLIENT RE DISCUSSIONS WITH COUNSEL FOR RBB      0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
07/06/22   REVIEW ORDER SHORTENING TIME AND PREPARE INSTRUCTIONS RE         0.40      238.00
           NOTICE OF HEARING ON SAME RE COMPROMISE
           ATTORNEY: ZEV SHECHTMAN
07/06/22   REVIEW EMAIL FROM BROKER RE LISTING OF ARCADIA                   0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/06/22   DRAFT EMAIL TO CLIENT AND BROKERS RE HEARING ON MOTION RE        0.10         59.50
           ARCADIA COMPROMISE
           ATTORNEY: ZEV SHECHTMAN
07/06/22   CONFERENCE WITH A. L. KEBEH RE SERVICE NOTICE OF ORDER RE        0.00 NO CHARGE
           MOTION TO COMPROMISE
           ATTORNEY: ZEV SHECHTMAN
07/06/22   REVIEW MEMOS RE SALE OF ARCADIA PROPERTY                         0.20         55.00
           ASSISTANT: SHELLY PANTA
07/07/22   DRAFT DECLARATION RE COMPLIANCE WITH ORDER RE SHORTENED          1.60      560.00
           NOTICE (ARCADIA 9019).
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/07/22   REVIEW AND REPLY TO EMAIL FROM J. ZHOU RE BROKER'S               0.50      297.50
           COMMISSION AND MARKETING PROCESS RE VAN NUYS PROPERTY
           ATTORNEY: ZEV SHECHTMAN
07/08/22   CORRESPONDENCE WITH Z. SHECHTMAN RE DECLARATION RE               0.10         35.00
           SERVICE OF NOTICE OF SHORTENED NOTICE ON ARCADIA 9019
           HEARING.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/08/22   REVIEW CORRESPONDENCE RE STATUS OF SAN MARINO PROPERTY.          0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/08/22   ZOOM STRATEGY MEETING WITH Z. SHECHTMAN RE DISPOSITION OF        0.80      280.00
           DEBTOR'S PROPERTIES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/08/22   EDIT DECLARATION RE COMPLIANCE WITH ORDER RE SHORTENED           0.60      210.00
           NOTICE (ARCADIA 9019).
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/08/22   REVIEW EMAIL FROM M. CIANCIULLI RE OFFERING MEMO; REPLY          0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/08/22   ANALYZE LIENS AND SALE STRATEGY RE LISTING OF SAN MARINO         0.70      416.50
           AND DRAFT EMAIL TO DEBTOR TEAM RE SAME
           ATTORNEY: ZEV SHECHTMAN
07/08/22   REVIEW AND REVISE DECLARATION RE SERVICE ON PARTIES              0.30      178.50


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           ATTORNEY: ZEV SHECHTMAN
07/08/22   TEL. CONF. WITH J. ZHOU, B. FRIEDMAN, S. ENG AND A. L. KEBEH RE   0.80      476.00
           LISTING STRATEGIES AND ISSUES RE ARCADIA AND SAN MARINO
           ATTORNEY: ZEV SHECHTMAN
07/08/22   REVIEW AND REPLY TO EMAIL FROM E. MITNICK RE NEXT STEPS RE        0.20      119.00
           SAN MARINO
           ATTORNEY: ZEV SHECHTMAN
07/08/22   DRAFT EMAIL TO J. WANG RE NEXT STEPS RE SAN MARINO                0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
07/08/22   DRAFT EMAIL TO LT MANAGEMENT GROUP RE TERMINATION OF              0.20      119.00
           LISTING AGREEMENT
           ATTORNEY: ZEV SHECHTMAN
07/11/22   TEL. CONF. WITH W. FRIEDMAN RE LISTING                            0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/12/22   REDLINE NDA FOR GENERIC PURCHASER OF PROPERTY.                    0.30      105.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/12/22   REVIEW AND REPLY TO EMAIL FROM A. SARVER RE PROPERTY              0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/12/22   REVIEW AND REPLY TO EMAILS FROM BROKERS RE LISTING OF             0.20      119.00
           LINCOLN HEIGHTS PROPERTY
           ATTORNEY: ZEV SHECHTMAN
07/12/22   EMAILS TO CLIENT RE VAN NUYS PROPERTY                             0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/12/22   PREPARE EMAIL TO J. WANG RE NEGOTIATION RE SHORT SALE             0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
07/12/22   REVIEW REPLY FROM J. WANG RE POSSIBLE SHORT SALE                  0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/12/22   DRAFT EMAIL TO CLIENT RE CONVERSATION WITH COMMITTEE              0.30      178.50
           COUNSEL AND STATUS OF LISTINGS
           ATTORNEY: ZEV SHECHTMAN
07/12/22   REVIEW AND REPLY TO EMAILS RE LISTING RE SAN MARINO; REVIEW       0.30      178.50
           LISTING AGREEMENT AND ADDENDUM
           ATTORNEY: ZEV SHECHTMAN
07/13/22   REVIEW CORRESPONDENCE RE SAN MARINO COMMISSION RATE.              0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/13/22   REVIEW LISTING OF ARCADIA PROPERTY ON MULTIPLE SITES.             0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/13/22   TEL. CONF. WITH J. ZHOU RE LISTINGS                               0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
07/13/22   EMAILS TO/FROM D. HUBERT RE VAN NUYS LISTING                      0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/14/22   REVIEW CORRESPONDENCE FROM Z. SHECHTMAN RE THIRD                  0.10         35.00
           LIENHOLDER FORECLOSURE ANALYSIS.


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           ATTORNEY: ALPHAMORLAI L. KEBEH
07/14/22   REVIEW CORRESPONDENCE RE OPPOSITION TO ARCADIA MOTION.            0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/14/22   CONFERENCE WITH Z. SHECHTMAN RE POTENTIAL RESOLUTION OF           0.20      139.00
           POTENTIAL OBJECTION TO SETTLEMENT MOTION
           ATTORNEY: JOHN N. TEDFORD
07/14/22   REVIEW AND REPLY TO EMAIL FROM J. WANG RE DISCUSSIONS RE          0.30      178.50
           CARVE OUT VERSUS TOTAL LOSS OF SAN MARINO PROPERTY
           ATTORNEY: ZEV SHECHTMAN
07/14/22   EMAIL TO/FROM P. LEEDS RE REQUEST FOR ADDITIONAL TIME TO          0.10         59.50
           FILE RESPONSE TO COMPROMISE MOTION
           ATTORNEY: ZEV SHECHTMAN
07/14/22   TEL. CONF. WITH B. FRIEDMAN RE ARCADIA AND SAN MARINO             0.10         59.50
           LISTINGS
           ATTORNEY: ZEV SHECHTMAN
07/14/22   REVIEW AND REPLY TO EMAIL FROM T. KAPUR RE INQUIRY RE             0.30      178.50
           LINCOLN HEIGHTS PROPERTIES
           ATTORNEY: ZEV SHECHTMAN
07/14/22   REVIEW AND REPLY TO EMAIL FROM P. LEEDS RE POTENTIAL              0.30      178.50
           RESOLUTION OF DISPUTE RE COMPROMISE MOTION
           ATTORNEY: ZEV SHECHTMAN
07/14/22   TEL. CONF. WITH P. LEEDS RE POTENTIAL RESOLUTION OF DISPUTE       0.40      238.00
           RE COMPROMISE MOTION
           ATTORNEY: ZEV SHECHTMAN
07/14/22   EMAILS TO/FROM CLIENT RE POTENTIAL RESOLUTION RE ARCADIA          0.10         59.50
           PROPERTY
           ATTORNEY: ZEV SHECHTMAN
07/14/22   CONFERENCE WITH J. N. TEDFORD RE POTENTIAL RESOLUTION RE          0.10         59.50
           ARCADIA PROPERTY
           ATTORNEY: ZEV SHECHTMAN
07/14/22   REVIEW EMPLOYMENT APPLICATION RE ARCADIA PROPERTY                 0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/14/22   TEL. CONF. WITH M. CIANCIULLI RE STATUS OF LISTING                0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/14/22   TEL. CONF. WITH W. FRIEDMAN RE STATUS OF LISTING                  0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/14/22   DRAFT EMAIL TO CLIENT RE DISCUSSIONS WITH P. LEEDS RE             0.20      119.00
           ARCADIA AND RECOMMENDATION RE SAME
           ATTORNEY: ZEV SHECHTMAN
07/14/22   FURTHER TEL. CONF. WITH P. LEEDS RE RESOLUTION RE PROPERTY        0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/14/22   REVIEW AND REPLY TO EMAIL FROM FORMER BROKER RE SAN               0.20      119.00
           MARINO
           ATTORNEY: ZEV SHECHTMAN
07/15/22   TEL. CONF. WITH T. KAPUR RE PROPERTY RELATED ISSUES               0.50      297.50
           ATTORNEY: ZEV SHECHTMAN
                                                                                     35
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07/16/22   DRAFT REPLY RE 9019 MOTION RE ARCADIA                           3.30     1963.50
           ATTORNEY: ZEV SHECHTMAN
07/17/22   DRAFT EVIDENTIARY OBJECTIONS RE COMPROMISE                      0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
07/17/22   FINALIZE REPLY RE COMPROMISE                                    0.80      476.00
           ATTORNEY: ZEV SHECHTMAN
07/17/22   HANDLE E-FILING RE REPLY RE COMPROMISE AND EVIDENTIARY          0.50      297.50
           OBJECTION (BNC)
           ATTORNEY: ZEV SHECHTMAN
07/18/22   REVIEW Z. SHECHTMAN EVIDENTIARY OBJECTION TO SOUND EQUITY       0.10         35.00
           OPPOSITION TO ARCADIA COMPROMISE MOTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/18/22   REVIEW Z. SHECHTMAN REPLY IN SUPPORT OF ARCADIA 9019            0.30      105.00
           MOTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/18/22   CONFERENCE WITH Z. SHECHTMAN RE TENTATIVE RULING RE             0.20         70.00
           ARCADIA 9019 MOTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/18/22   REVIEW TENTATIVE RULING RE ARCADIA 9019.                        0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/18/22   TEL. CONF. WITH COURT CLERK RE SUBMISSION ON TENTATIVE          0.10         35.00
           RULING RE ARCADIA 9019 MOTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/18/22   CONFERENCE WITH A. L. KEBEH RE APPROVAL OF COMPROMISE           0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
07/18/22   EMAILS RE APPROVAL OF COMPROMISE                                0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
07/18/22   REVIEW TENTATIVE RULING AND PREPARE ORDER RE COMPROMISE         0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
07/19/22   REVIEW ORDER RE TRANSFER OF ARCADIA PROPERTY.                   0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/19/22   PREPARE QUITCLAIM DEED RE TRANSFER OF ARCADIA PROPERTY.         0.60      210.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/19/22   CONFERENCE WITH Z. SHECHTMAN RE TRANSFERRING PROPERTY           0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/19/22   REVIEW AND REVISE ORDER RE COMPROMISE AND EMAILS WITH P.        0.20      119.00
           LEEDS RE SAME
           ATTORNEY: ZEV SHECHTMAN
07/19/22   CONFERENCE WITH A. L. KEBEH RE TRANSFERRING PROPERTY            0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/19/22   COORDINATE RECORDING PETITION (BNC)                             0.00 NO CHARGE
           ATTORNEY: ZEV SHECHTMAN



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07/20/22   CORRESPONDENCE WITH PROFESSIONALS RE LISTING AGREEMENT           0.10         35.00
           STATUS (ARCADIA).
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/21/22   REVIEW ORDER RE ARCADIA COMPROMISE.                              0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/22/22   TEL. CONF. WITH T. KAPUR RE STATUS RE PROPERTY                   0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
07/25/22   REVIEW CORRESPONDENCE BETWEEN PRINCIPAL AND BROKERS RE           0.10         35.00
           MARKETING VAN NUYS PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/25/22   REVIEW MEMOS RE KEYS, SHOWINGS FOR VAN NUYS CONDO                0.30         82.50
           ASSISTANT: SHELLY PANTA
07/26/22   CONFERENCE WITH A. L. KEBEH RE LEGAL ISSUES RE LOANS             0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
07/26/22   TEL. CONF. WITH D. MARTINEZ RE ANALYSIS RE LIENS AND OTHER       0.20      119.00
           ISSUES RELATING TO PROPERTIES
           ATTORNEY: ZEV SHECHTMAN
07/27/22   DRAFT CARVEOUT AGREEMENT WITH 3RD LIENHOLDER RE SALE OF          1.30      455.00
           SAN MARINO PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/27/22   REVIEW EMAIL FROM J. WANG RE CARVE OUT AND DRAFT EMAIL TO        0.10         59.50
           TEAM RE SAME
           ATTORNEY: ZEV SHECHTMAN
07/29/22   CORRESPONDENCE WITH Z. SHECHTMAN RE QUITCLAIM DEED               0.10         35.00
           (ARCADIA).
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/29/22   TEL. CONF. WITH Z. SHECHTMAN RE INTEREST RATE RESEARCH AND       0.20         70.00
           CARVEOUT AGREEMENT WITH DNQ.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/29/22   REVIEW Z. SHECHTMAN EDITS TO SAN MARINO CARVEOUT                 0.10         35.00
           AGREEMENT.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/29/22   PREPARE CARVEOUT AGREEMENT RE SALE OF SAN MARINO                 0.90      315.00
           PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/29/22   REVISE CARVEOUT AGREEMENT RE SAN MARINO PROPERTY.                0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/29/22   REVIEW AND REVISE CARVE OUT AGREEMENT RE SAN MARINO              0.70      416.50
           PROPERTY AND DRAFT EMAIL TO CLIENT RE SAME
           ATTORNEY: ZEV SHECHTMAN
07/30/22   REVIEW AND REVISE CARVE OUT AGREEMENT AND DRAFT EMAIL TO         0.30      178.50
           J. WANG RE SAME
           ATTORNEY: ZEV SHECHTMAN
08/01/22   PREPARE MEMO RE INTEREST RATE ENFORCABILITY RESEARCH.            0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/01/22   RESEARCH RE ENFORCEABILITY OF DEFAULT INTEREST RATES.            1.90      665.00
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           ATTORNEY: ALPHAMORLAI L. KEBEH
08/01/22   REVIEW/NOTATE CURRENT RESEARCH RE ENFORCEABILITY OF              0.80      280.00
           DEFAULT INTEREST RATES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/01/22   OUTLINE MEMO RE ENFORCEABILITY OF DEFAULT INTEREST RATES.        0.60      210.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/01/22   DRAFT EMAILS TO BROKERS RE STATUS RE LISTINGS; REVIEW REPLY      0.20      119.00
           FROM D. HUBERT AND RESPOND
           ATTORNEY: ZEV SHECHTMAN
08/01/22   REVIEW EMAIL FROM T. KAPUR RE STATUS OF LISTINGS AND DRAFT       0.20      119.00
           EMAIL TO A. L. KEBEH RE SAME
           ATTORNEY: ZEV SHECHTMAN
08/01/22   FURTHER EMAILS WITH BROKERS AND CLIENT RE LISTINGS               0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
08/02/22   REVIEW RESEARCH RE ENFORCEABILITY OF DEFAULT INTEREST            0.60      210.00
           RATES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/02/22   CONTINUE RESEARCH RE ENFORCEABILITY OF DEFAULT INTEREST          0.40      140.00
           RATES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/02/22   DRAFT MEMO RE ENFORCEABILITY OF DEFAULT INTEREST RATES.          3.80     1330.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/02/22   REVISE MEMO RE ENFORCEABILITY OF DEFAULT INTEREST RATES.         0.50      175.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/02/22   DRAFT EMAIL TO S. ENG AND B. FRIEDMAN RE STATUS OF               0.10         59.50
           PROPERTIES
           ATTORNEY: ZEV SHECHTMAN
08/02/22   DRAFT EMAIL TO D. HUBERT RE STATUS OF SALE                       0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
08/02/22   DRAFT EMAIL TO BROKERS RE LINCOLN HEIGHTS RE STATUS OF           0.10         59.50
           LISTING
           ATTORNEY: ZEV SHECHTMAN
08/02/22   DRAFT EMAIL TO D. MARTINEZ RE COMMITTEE INQUIRY                  0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
08/03/22   REVIEW CORRESPONDENCE WITH 3RD LIENHOLDER RE                     0.10         35.00
           NEGOTIATIONS FOR SALE OF SAN MARINO PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/03/22   ZOOM CONFERENCE WITH Z. SHECHTMAN RE REVISIONS TO DEFAULT        0.30      105.00
           INTEREST RATE MEMO.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/03/22   REVIEW Z. SHECHTMAN EDITS TO MEMO RE ENFORCEABILITY OF           0.20         70.00
           DEFAULT INTEREST.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/03/22   DRAFT MEMO RE STATUS OF DEBTOR'S PROPERTY LISTINGS.              1.10      385.00
           ATTORNEY: ALPHAMORLAI L. KEBEH

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08/03/22   REVIEW AND REVIEW AND REVISE CARVEOUT AGREEMENT                  0.50      297.50
           ATTORNEY: ZEV SHECHTMAN
08/03/22   REVIEW AND REVISE RESEARCH MEMO RE ENFORCEABILITY OF             0.50      297.50
           DEFAULT INTEREST
           ATTORNEY: ZEV SHECHTMAN
08/03/22   REVIEW AND REPLY TO EMAILS FROM J. WANG RE POTENTIAL             0.30      178.50
           CARVEOUT AGREEMENT
           ATTORNEY: ZEV SHECHTMAN
08/03/22   REVIEW AND REPLY TO EMAIL FROM A. SARVER RE INSURANCE ON         0.10         59.50
           VAN NUYS PROPERTY AND DRAFT EMAIL TO CLIENT RE SAME
           ATTORNEY: ZEV SHECHTMAN
08/03/22   ZOOM WITH A. L. KEBEH RE RESEARCH MEMO RE DEFAULT INTEREST       0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
08/03/22   REVIEW AND REPLY TO EMAIL FROM M. RESNICK RE STATUS OF           0.20      119.00
           LISTING AND DRAFT EMAIL TO BROKERS RE SAME
           ATTORNEY: ZEV SHECHTMAN
08/04/22   CORRESPONDENCE WITH LENDER RE STATUS OF LINCOLN HEIGHTS          0.40      140.00
           PROPERTIES RE STATUS OF LISTING; CORRESPONDENCE WITH
           BROKERS FOR PROPERTIES RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/04/22   REVIEW LISTING LINKS RE LINCOLN HEIGHTS PROPERTY;                0.20         70.00
           CORRESPONDENCE WITH LENDER RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/04/22   TEL. CONF. WITH LENDER'S COUNSEL RE STATUS OF LINCOLN            0.10         35.00
           HEIGHTS PROPERTY LISTING.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/04/22   CONTINUE DRAFT OF MEMO RE STATUS OF DEBTOR'S PROPERTY            0.70      245.00
           LISTINGS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/04/22   REIVEW BROKER'S STATUS REPORT RE LINCOLN HEIGHTS                 0.20         70.00
           PROPERTIES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/04/22   REVIEW MEMO RE ENFORCEABILITY OF DEFAULT INTEREST RATES.         0.30      105.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/04/22   RENEWED RESEARCH RE ENFORCEABILITY OF DEFAULT INTEREST           1.90      665.00
           RATES IN CONNECTION WITH EXPANSION OF MEMO.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/04/22   REVIEW AND REVISE CARVEOUT AGREEMENT RE DNQ; DRAFT               1.00      595.00
           EMAILS RE SAME TO DNQ, COMMITTEE AND CLIENT
           ATTORNEY: ZEV SHECHTMAN
08/04/22   TEL. CONF. WITH T. KAPUR RE CARVEOUT NEGOTIATIONS                0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
08/05/22   REVIEW CORRESPONDENCE RE UPDATES TO CARVEOUT AGREEMENT           0.10         35.00
           WITH SAN MARINO THIRD LIENHOLDER.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/05/22   REVISE AND EXPAND MEMO RE ENFORCEABILITY OF DEFAULT              0.80      280.00
           INTEREST.

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           ATTORNEY: ALPHAMORLAI L. KEBEH
08/05/22   CONITNUE RENEWED RESEARCH RE ENFORCEABILITY OF DEFAULT           0.80      280.00
           INTEREST RATES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/08/22   CORRESPONDENCE WITH LENDER RE STATUS OF PROPERTY LISTING.        0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/08/22   REVIEW BROKER STATUS REPORT RE DE CELIS PROPERTY.                0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/09/22   TEL. CONF. WITH TEDDY KAPUR RE COMMITTEE'S INTEREST IN           0.20         70.00
           UPDATES/PRESENTATION OF MARKETING EFFORTS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/09/22   REVIEW MARKETING MATERIALS RE LINCOLN HEIGHTS PROPERTY.          0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/09/22   CORRESPONDENCE WITH BROKERS RE PRESENTATION OF PROPERTY          0.20         70.00
           GRADING STRATEGY TO PROSPECTIVE BIDDERS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/09/22   CONFERENCE WITH J. N. TEDFORD RE DEBRIEF OF CALL WITH            0.10         35.00
           COUNSEL FOR UNSECURED CREDITORS COMMITTEE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/09/22   REVIEW CARVEOUT AGREEMENT WITH DNQ RE SALE OF SAN MARINO         0.30      105.00
           PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/09/22   REVIEW LOCAL BANKRUPTCY RULES RE COMPROMISE MOTIONS.             0.00 NO CHARGE
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/09/22   PREPARE 9019 MOTION RE DNQ CARVEOUT AGREEMENT.                   1.90      665.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/09/22   CORRESPONDENCE WITH BROKERS AND COMMITEE OF UNSECURED            0.40      140.00
           CREDITORS RE STATUS OF DEBTOR'S PROPERTY LISTINGS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/09/22   CONFERENCE WITH A. L. KEBEH RE DEBRIEF OF CALL WITH COUNSEL      0.10         69.50
           FOR UNSECURED CREDITORS COMMITTEE
           ATTORNEY: JOHN N. TEDFORD
08/10/22   REVIEW CORRESPONDENCE FROM BROKER RE MARKETING                   0.10         35.00
           STRATEGY (VAN NUYS).
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/10/22   CORRESPONDENCE WITH LINCOLN HEIGHTS BROKERS RE                   0.10         35.00
           SCHEDULING MEETING WITH COMMITTEE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/10/22   REVIEW APPLICATION TO EMPLOY LINCOLN HEIGHTS BROKERS IN          0.30      105.00
           CONNECTION WITH COORDINATING MEETING WITH COMMITTEE OF
           UNSECURED CREDITORS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/10/22   REVIEW DNQ PROOF OF CLAIM AND CORRESPONDENCE RE DEFAULT          0.40      140.00
           INTEREST RATE OF LOAN.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/10/22   REVISE CARVEOUT COMPROMISE MOTION WITH DNQ.                      0.70      245.00

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           ATTORNEY: ALPHAMORLAI L. KEBEH
08/10/22   CONTINUE PREPARING DNQ CARVEOUT AGREEMENT 9019 MOTION.            0.60      210.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/12/22   TEL. CONF. WITH Z. SHECHTMAN RE SALES OF PROPERTIES AND           0.40      140.00
           MOTIONS FOR RELIEF OF STAY; MULTIPLE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/12/22   CORRESPONDENCE WITH Z. SHECHTMAN RE COUNTER OFFER FOR             0.10         35.00
           SALE OF RESIDENTIAL REAL PROPERTY; RESPOND RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/12/22   CORRESPONDENCE WITH CLIENT RE PROOF OF INSURANCE ON               0.10         35.00
           PROPERTIES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/12/22   STRATEGY MEETING WITH BROKERS (LINCOLN HEIGHTS).                  0.50      175.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/12/22   ZOOM WITH A. L. KEBEH, L. MCDERMOTT AND M. CIANCIULLI RE          0.50      297.50
           SALE OF LINCOLN HEIGHTS PROPERTY
           ATTORNEY: ZEV SHECHTMAN
08/12/22   EMAILS TO/FROM S. ENG AND A. L. KEBEH RE INSURANCE FOR            0.20      119.00
           PROPERTIES
           ATTORNEY: ZEV SHECHTMAN
08/12/22   REVIEW AND REVISE COMPROMISE MOTION                               1.00      595.00
           ATTORNEY: ZEV SHECHTMAN
08/12/22   PREPARE COUNTER OFFER FOR VAN NUYS PROPERTY                       0.40      238.00
           ATTORNEY: ZEV SHECHTMAN
08/12/22   TEL. CONF. WITH D. HUBERT RE SALE OF VAN NUYS PROPERTY            0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
08/14/22   REVIEW AND REVISE 9019 MOTION WITH DNQ PER Z. SHECHTMAN           0.60      210.00
           COMMENTS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/15/22   REVIEW AND REVISE 9019 MOTION RE DNQ LIEN.                        0.30      105.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/15/22   REVIEW AND REVISE NOTICE RE 9019 MOTION RE DNQ LIEN.              0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/15/22   FINALIZE 9019 MOTION RE DNQ LIEN.                                 0.70      245.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/15/22   REVIEW UPDATED DRAFT OF MOTION RE COMPROMISE WITH DNQ             0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
08/15/22   REVIEW AND REVISE NOTICE OF HEARING ON 9019 MOTION RE DNQ         0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
08/15/22   REVIEW AND RESPOND TO EMAIL FROM S. ENG RE STATUS OF              0.10         59.50
           LISTINGS
           ATTORNEY: ZEV SHECHTMAN
08/17/22   REVIEW BROKER UPDATES RE DEBTOR'S PROPERTIES.                     0.50      175.00


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           ATTORNEY: ALPHAMORLAI L. KEBEH
08/17/22   REVIEW AND REPLY TO EMAIL FROM SECURED CREDITOR RE SALE          0.10         59.50
           STATUS
           ATTORNEY: ZEV SHECHTMAN
08/18/22   CORRESPONDENCE WITH Z. SHECHTMAN RE MEMO RE DEFAULT              0.10         35.00
           INTEREST RATE ENFORCEABILITY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/18/22   REVIEW AND REVISE RESEARCH MEMO RE DEFAULT INTEREST RATES        0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
08/18/22   TEL. CONF. WITH B. FRIEDMAN RE STATUS                            0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
08/19/22   REVIEW CORRESPONDENCE RE EMPLOYMENT OF SAN MARINO                0.10         35.00
           BROKERS; RESPOND RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/19/22   GATHER AND REVIEW LOAN DOCUMENTS FOR DEBTOR'S PROPERTIES         2.20      770.00
           RE DEFAULT INTEREST RATES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/19/22   TEL. CONF. WITH B. FRIEDMAN AND A. L. KEBEH RE SALE STATUS       0.40      238.00
           ATTORNEY: ZEV SHECHTMAN
08/22/22   CORRESPONDENCE WITH CREDITOR'S COUNSEL RE UPDATE ON              0.10         35.00
           ARCADIA MARKETING EFFORTS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/22/22   TEL. CONF. WITH BROKER RE COORDINATING CALL WITH DEBTOR'S        0.20         70.00
           ATTORNEY; CORRESPONDENCE WITH DEBTOR'S ATTORNEY RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/22/22   REVIEW STATUS UPDATE FROM ARCADIA PROPERTY BROKER.               0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/24/22   CORRESPONDENCE WITH BROKER RE VAN NUYS OFFER;                    0.10         35.00
           CORRESPONDENCE WITH Z. SHECHTMAN RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/24/22   REVIEW VAN NUYS COUNTER-OFFER.                                   0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/24/22   REVIEW OFFER RE ARCADIA PROPERTY.                                0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/24/22   TEL. CONF. WITH BROKER RE ARCADIA OFFER.                         0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/24/22   CORRESPONDENCE WITH J. N. TEDFORD RE REVIEW OF ARCADIA           0.20         70.00
           PROPERTY OFFER; CORRESPONDENCE WITH DEBTOR'S ATTORNEY RE
           SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/24/22                                                                    1.40      490.00
           REVIEW, COLLECT, AND ORGANIZE LOAN DOCUMENTS FOR DEBTOR'S
           VARIOUS PROPERTIES IN CONNECTION WITH INTEREST RATE MEMO.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/24/22   REVIEW DROPBOX FOR LOAN DOCS IN CONNECTION WITH DEFAULT          0.50      175.00
           INTEREST RATE MEMO.

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           ATTORNEY: ALPHAMORLAI L. KEBEH
08/24/22   REVIEW AND REPLY TO EMAILS RE PROPERTIES (OLA)                   0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
08/25/22   CORRESPONDENCE WITH BROKER RE OBTAINING PROPERTY LOAN            0.10         35.00
           DOCS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/25/22   REVIEW CORRESPONDENCE RE COUNTER-OFFER STRATEGY                  0.10         35.00
           (ARCADIA PROPERTY).
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/25/22   TEL. CONF. WITH BROKER RE PROCURING LOAN DOCUMENTS ON            0.20         70.00
           PROPERTIES AND CREATING COUNTER OFFER RE ARCADIA
           PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/25/22   REVIEW AND REPLY TO EMAILS RE PROPERTIES                         0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
08/28/22   TEL. CONF. WITH POTENTIAL BUYER RE DEBTOR'S PROPERTY             0.10         35.00
           LISTINGS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/29/22   CORRESPONDENCE WITH POTENTIAL BUYER RE DEBTOR'S PROPERTY         0.20         70.00
           LISTINGS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/29/22   NOTE TO JIM ZHOU RE COLLECTING LOAN DOCUMENTS FOR LENDERS        0.10         35.00
           OF DEBTOR'S PROPERTIES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/29/22   CORRESPONDENCE WITH BROKERS RE STATUS OF PROPERTIES FOR          0.20         70.00
           SALE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/29/22   CONTINUE COLLECTING AND REVIEWING LOAN DOCUMENTS FOR             0.70      245.00
           DEBTORS' VARIOUS PROPERTIES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/31/22   CONF. WITH A. L. KEBEH RE DEBTOR PROPERTY PROMISSORY NOTES       0.10         33.50
           ASSOCIATE: DANIELLE R. GABAI
08/31/22   REVIEW CLIENT DOCUMENTS RE PROPERTY PROMISSORY NOTES             0.20         67.00
           ASSOCIATE: DANIELLE R. GABAI
08/31/22   CONFERENCE WITH D. GABAI RE SEARCH FOR PROMISSORY NOTES          0.10         35.00
           AGAINST DEBTOR'S PROPERTIES IN CONNECTION WITH DEFAULT
           INTEREST RATE MEMO.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/31/22   TEL. CONF. WITH DEBTOR'S COUNSEL RE DEFAULT INTEREST RATE        0.10         35.00
           ISSUE/CHALLENGE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/31/22   REVIEW DROPBOX RE PRIOR COUNSEL'S DOCUMENTS.                     0.10         35.00

           ATTORNEY: ALPHAMORLAI L. KEBEH
08/31/22   TEL. CONF. WITH Z. SHECHTMAN AND B. FRIEDMAN RE STATUS OF        0.20         70.00
           SAN MARINO PROPERTY SALE.
           ATTORNEY: ALPHAMORLAI L. KEBEH

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08/31/22   TEL. CONF. WITH A. L. KEBEH AND W. FRIEDMAN RE STATUS OF SAN      0.20      119.00
           MARINO AND ARCADIA SALES
           ATTORNEY: ZEV SHECHTMAN
09/01/22   REVIEW CORRESPONDENCE BETWEEN BROKERS RE SALE PRICE               0.10         35.00
           ADJUSTMENTS AND PROGRESS RE SAN MARINO.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/02/22   REVIEW AND REPLY TO EMAILS FROM S. ENG RE STATUS OF               0.20      119.00
           PROPERTIES
           ATTORNEY: ZEV SHECHTMAN
09/02/22   REVIEW AND REVISE COUNTER OFFER RE ARCADIA; EMAILS RE SAME        0.50      297.50
           ATTORNEY: ZEV SHECHTMAN
09/02/22   REVIEW QUITCLAIM DEED RE ARCADIA PROPERTY AND DRAFT EMAIL         0.10         59.50
           TO A. L. KEBEH RE SAME
           ATTORNEY: ZEV SHECHTMAN
09/06/22   REVIEW DEED OF TRUST; CONFIRM APN ACCURACY;                       0.20         70.00
           CORRESPONDENCE WITH Z. SHECHTMAN RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/06/22   REVIEW AND REPLY TO EMAIL FROM J. ZHOU RE VAN NUYS                0.10         59.50
           PROPERTY
           ATTORNEY: ZEV SHECHTMAN
09/06/22   REVIEW AND REPLY TO EMAILS FROM D. HUBERT RE VAN NUYS             0.20      119.00
           PROPERTY
           ATTORNEY: ZEV SHECHTMAN
09/06/22   REVIEW AND REPLY TO EMAIL FROM S. ENG RE ARCADIA PROPERTY         0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
09/06/22   REVIEW AND REPLY TO EMAIL FROM A. L. KEBEH RE TRANSFER RE         0.10         59.50
           ARCADIA PROPERTY
           ATTORNEY: ZEV SHECHTMAN
09/06/22   REVIEW EMAIL FROM D. HUBERT RE RECOMMENDATION RE PRICE            0.20      119.00
           REDUCTION RE VAN NUYS; DRAFT EMAIL TO CLIENT; REVIEW REPLY
           FROM CLIENT; REPLY TO CLIENT
           ATTORNEY: ZEV SHECHTMAN
09/06/22   TEL. CONF. WITH M. CIANCIULLI RE STATUS OF PROPERTY               0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
09/07/22   REVIEW CORRESPONDENCE RE REDUCING LISTING PRICE FOR               0.10         35.00
           ARCADIA PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/07/22   TEL. CONF. WITH B. FRIEDMAN RE SALES OF SAN MARINO AND            0.30      178.50
           ARCADIA
           ATTORNEY: ZEV SHECHTMAN
09/08/22   TEL. CONF. WITH BROKERS AND Z. SHECHTMAN RE SAN MARINO AND        0.70      245.00
           ARCADIA SALE PROCESS UPDATES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/08/22   CONFERENCE WITH Z. SHECHTMAN RE DEBRIEF OF CALL WITH SAN          0.30      105.00
           MARINO AND ARCADIA BROKERS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/08/22   TEL. CONF. WITH B. FRIEDMAN, S. ENG, AND A. L. KEBEH RE STATUS    0.70      416.50
           OF ARCADIA AND SAN MARINO
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           ATTORNEY: ZEV SHECHTMAN
09/08/22   CONFERENCE WITH A. L. KEBEH RE TEL. CONF. WITH B. FRIEDMAN, S.    0.10         59.50
           ENG, AND A. L. KEBEH RE STATUS OF ARCADIA AND SAN MARINO
           ATTORNEY: ZEV SHECHTMAN
09/08/22   REVIEW AND REPLY TO EMAIL FROM S. ENG RE SAN MARINO OFFER         0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
09/09/22   REVIEW REPORT FROM BROKER RE ARCADIA PROPERTY AND OFFER.          0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/09/22   REVIEW REPORT FROM BROKER RE SAN MARINO PROPERTY                  0.10         35.00
           SALE/OFFER.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/09/22   CORRESPONDENCE WITH Z. SHECHTMAN RE PREPARATION OF SALE           0.10         35.00
           MOTION(S) RE SAN MARINO AND ARCADIA PROPERTIES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/09/22   TEL. CONF. WITH J. ZHOU RE STATUS RE DIFFERENT PROPERTIES         0.50      297.50
           ATTORNEY: ZEV SHECHTMAN
09/09/22   REVIEW AND REPLY TO EMAIL FROM D. HUBERT RE OFFER RE VAN          0.20      119.00
           NUYS
           ATTORNEY: ZEV SHECHTMAN
09/09/22   FURTHER EMAILS WITH BROKERS AND CLIENT RE SAN MARINO              0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
09/09/22   EMAILS WITH BROKER AND CLIENT RE VAN NUYS                         0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
09/12/22   CORRESPONDENCE WITH BROKER RE ESCROW INSTRUCTIONS.                0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/12/22   CONFERENCE WITH Z. SHECHTMAN RE DEBTOR'S CORPORATE DOCS           0.10         35.00
           IN CONNECTION WITH SALE OF VAN NUYS PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/12/22   TEL. CONF. WITH Z. SHECHTMAN, BROKERS, AND POTENTIAL BUYERS       0.50      175.00
           RE SAN MARINO SALE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/12/22   CONFERENCE WITH Z. SHECHTMAN RE DEBRIEF OF CALL WITH              0.20         70.00
           BROKERS RE SAN MARINO; STRATEGIZE RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/12/22   CORRESPONDENCE WITH VAN NUYS BROKER RE EXPECTED                   0.10         35.00
           CONTINGENCY WAIVER.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/12/22   REVIEW LOAN DOCUMENTS AND INFORMATION FOR DEBTOR'S                0.90      315.00
           VARIOUS PROPERTIES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/12/22   STRATEGIZE RE MEMO RE ENFORCEABILITY OF DEFAULT INTEREST          0.60      210.00
           RATES OF DEBTOR'S PROPERTIES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/12/22   TEL. CONF. WITH T. KAPUR RE STATUS RE PROPERTIES                  0.30      178.50
           ATTORNEY: ZEV SHECHTMAN

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09/12/22   TEL. CONF. WITH BROKERS AND BUYER AND A. L. KEBEH RE SALE OF     0.50      297.50
           SAN MARINO PROPERTY
           ATTORNEY: ZEV SHECHTMAN
09/12/22   CONFERENCE WITH A. L. KEBEH RE STRATEGY RE SALES                 0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
09/12/22   REVIEW AND REPLY TO EMAIL FROM T. KAPUR RE INQUIRY RE            0.10         59.50
           POSSIBLE SALE TO LENDER
           ATTORNEY: ZEV SHECHTMAN
09/12/22   CONFERENCE WITH A. L. KEBEH RE DEBRIEF OF CALL WITH BROKERS      0.20      119.00
           RE SAN MARINO; STRATEGIZE RE SAME
           ATTORNEY: ZEV SHECHTMAN
09/12/22   REVIEW MEMO FROM BROKER RE OPENING OF ESCROW                     0.10         27.50
           ASSISTANT: SHELLY PANTA
09/13/22   BEGIN DRAFT SALE MOTION RE SAN MARINO PROPERTY.                  0.80      280.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/13/22   REVIEW BROKER UPDATES RE SALE OF DE CELIS PROPERTY.              0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/13/22   EMAILS WITH BROKERS RE LISTING                                   0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
09/13/22   EMAILS TO/FROM T. KAPUR AND A. L. KEBEH RE RULING GRANTING       0.20      119.00
           MOTION RE DNQ
           ATTORNEY: ZEV SHECHTMAN
09/14/22   CORRESPONDENCE WITH SAN MARINO BROKER RE SSTATUS OF SALE.        0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/14/22   CONFERENCE WITH Z. SHECHTMAN AND B.D. KRASNOFF (PARTIAL) RE      0.30      105.00
           DEBRIEF OF CALL WITH BROKERS RE SAN MARINO BUYER'S
           ADDITIONAL SALE TERMS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/14/22   TEL. CONF. WITH BROKERS AND Z. SHECHTMAN RE SAN MARINO           0.40      140.00
           BUYER'S ADDITIONAL SALE TERMS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/14/22   TEL. CONF. WITH COURT CLERK TO SUBMIT ON TNETATIVE RE DNQ        0.10         35.00
           COMRPOMISE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/14/22   DRAFT ORDER RE DNQ COMPROMISE MOTION.                            0.50      175.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/14/22   CONTINUE SEARCH FOR AND REVIEW OF LIEN DOCUMENTS RE              0.80      280.00
           DEBTOR'S PROPERTIES FOR SALE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/14/22   INDENTIFY LIENHOLDERS OF DEBTOR'S PROPERTIES;                    1.20      420.00
           CORRESPONDENCE WITH ALL RE UPDATED PAYOFF DEMAND.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/14/22   REVIEW EMAIL FROM S. ENG RE OFFER TO PURCHASE ARCADIA            0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
09/14/22   REVIEW AND REVISE DNQ 9019 ORDER                                 0.50      297.50

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           ATTORNEY: ZEV SHECHTMAN
09/14/22   CONFERENCE WITH A. L. KEBEH AND B.D. KRASNOFF (PARTIAL) RE       0.30      178.50
           DEBRIEF OF CALL WITH BROKERS RE SAN MARINO BUYER'S
           ADDITIONAL SALE TERM
           ATTORNEY: ZEV SHECHTMAN
09/14/22   TEL. CONF. WITH BROKERS AND A. L. KEBEH RE SAN MARINO            0.40      238.00
           BUYER'S ADDITIONAL SALE TERMS
           ATTORNEY: ZEV SHECHTMAN
09/15/22   CORRESPONDENCE WITH ROYAL EQUITY LENDING RE UPDATED              0.10         35.00
           PAYOFF STATEMENT.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/15/22   REVIEW SALE DOCUMENTS RE VAN NUYS PROPERTY;                      0.30      105.00
           CORRESPONDENCE WITH DORFFS' COUNSEL RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/15/22   TEL. CONF. WITH MATT RESNIK RE STATUS OF LINCOLN HEIGHTS         0.10         35.00
           SALE PROCESS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/15/22   CORRESPONDENCE WITH BROKERS RE STATUS OF LINCOLN HEIGHTS         0.10         35.00
           PROPERTY SALE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/15/22   REVIEW Z. SHECHTMAN EDITS RE DNQ COMPROMISE ORDER;               0.30      105.00
           FINALIZE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/15/22   CORRESPONDENCE WITH IMC RE UPDATED PAYOFF DEMAND (VAN            0.10         35.00
           NUYS PROPERTY).
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/15/22   CORRESPONDENCE WITH J. N. TEDFORD RE POINTS AND AUTHORITIES      0.10         35.00
           FOR DEBTOR'S SALE OF REAL PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/15/22   CONFERENCE WITH Z. SHECHTMAN RE OVERBID PROCEDURES RE            0.10         35.00
           SALE MOTION (SAN MARINO).
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/15/22   REVIEW UPDATED PAYOFF DEMAND FROM LINCOLN HEIGHTS                0.10         35.00
           LENDER.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/15/22   CONTINUE PREPARING SALE MOTION RE SALE OF SAN MARINO             2.80      980.00
           PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/15/22   REVIEW TEMPLATES RE DEBTOR'S SALE OF REAL PROPERTY IN            0.00 NO CHARGE
           CONNECTION WITH DRAFT OF SALE MOTION (SAN MARINO).
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/15/22   REVIEW EMAIL FROM B. FRIEDMAN RE NEW OFFER RE ARCADIA            0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
09/15/22   REVIEW AND REPLY TO EMAIL FROM BROKERS RE LINCOLN HEIGHTS        0.20      119.00
           PROPERTY
           ATTORNEY: ZEV SHECHTMAN
09/15/22   CONFERENCE WITH A. L. KEBEH RE SALE MOTION                       0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
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09/19/22   TEL. CONF. WITH B. FRIEDMAN AND S. ENG RE ARCADIA AND SAN        0.30      178.50
           MARINO PROPERTIES
           ATTORNEY: ZEV SHECHTMAN
09/19/22   TEL. CONF. WITH B. FRIEDMAN RE REVISIONS TO COUNTEROFFER RE      0.20      119.00
           ARCADIA
           ATTORNEY: ZEV SHECHTMAN
09/19/22   EMAIL RE REVISIONS TO COUNTEROFFER RE ARCADIA                    0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
09/20/22   REVIEW BROKER UPDATE RE STATUS OF VAN NUYS PROPERTY SALE.        0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/20/22   REVIEW CORRESPONDENCE FROM POTENTIAL BUYER RE STATUS OF          0.10         35.00
           SALE (SAN MARINO).
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/20/22   CORRESPONDENCE TO DNQ LIENHOLDER RE UPDATED PAYOFF               0.10         35.00
           STATEMENT FOLLOW UP.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/20/22   CORRESPONDENCE WITH BROKER RE EXPECTED COSTS OF SALE (SAN        0.10         35.00
           MARINO).
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/20/22   TEL. CONF. WITH BROKER RE OBTAINING PAYOFF DEMANDS.              0.30      105.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/20/22   CORRESPONDENCE WITH BROKER AND ESCROW RE UPDATED                 0.20         70.00
           PAYOFF STATEMENT REQUESTS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/20/22   CONTINUE DRAFT OF SAN MARINO SALE MOTION.                        0.40      140.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/20/22   OUTLINE/STRATEGIES RE SAN MARINO PROPERTY SALE MOTION.           0.60      210.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/20/22   PREPARE AND DELIVER DOCUMENTS FOR ESCROW RE VAN NUYS             0.20         70.00
           PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/20/22   COMPLETE DRAFT OF SAN MARINO SALE MOTION; DRAFT                  1.00      350.00
           DECLARATION OF ZHAO PU YANG AND REQUEST FOR JUDICIAL
           NOTICE RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/21/22   TEL. CONF. WITH Z. SHECHTMAN AND BROKERS RE STATUS OF SAN        0.30      105.00
           MARINO PROPERTY SALE NEGOTIATIONS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/21/22   DRAFT LETTER TO POTENTIAL BUYERS OF SAN MARINO PROPERTY          1.00      350.00
           RE NEGOTIATIONS OF SALE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/21/22   CONTINUE FINALIZING EXHIBITS RE SAN MARINO SALE MOTION.          0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/21/22   REVISE SAN MARINO SALE MOTION.                                   0.30      105.00
           ATTORNEY: ALPHAMORLAI L. KEBEH


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09/21/22   CORRESPONDENCE WITH ESCROW RE REQUIRED DOCUMENTS RE SAN           0.20         70.00
           MARINO PROPERTY SALE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/21/22   TEL. CONF. WITH A. L. KEBEH, B. FRIEDMAN AND S. ENG RE STATUS     0.30      178.50
           RE SALE OF SAN MARINO PROPERTY
           ATTORNEY: ZEV SHECHTMAN
09/21/22   REVIEW AND REVISE LETTER TO SAN MARINO BUYERS                     0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
09/21/22   TEL. CONF. WITH T. KAPUR RE STATUS OF PROPERTIES                  0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
09/22/22   REVIEW Z. SHECHTMAN LETTER TO POTENTIAL SAN MARINO BUYERS         0.30      105.00
           RE NEGOTIATIONS; CORRESPONDENCE WITH BROKERS RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/22/22   FINALIZE LETTER TO POTENTIAL SAN MARINO BUYERS RE                 0.20         70.00
           NEGOTIATION TACTICS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/22/22   REVIEW CORRESPONDENCE FROM BROKER RE VAN NUYS PROPERTY            0.10         35.00
           INSPECTIONS AND NEGOTIATION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/22/22   REVIEW IMC UPDATED PAYOFF DEMAND; CORRESPONDENCE WITH             0.20         70.00
           COUNSEL RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/22/22   REVIEW MEMOS RE REPAIR REQUEST FOR CONDO AND REVIEW Z.            0.20         55.00
           SHECHTMAN RESPONSE
           ASSISTANT: SHELLY PANTA
09/25/22   CORRESPONDENCE WITH Z. SHECHTMAN RE UPDATED PAYOFF                0.40      140.00
           DEMANDS FROM LIENHOLDERS; REVIEW SAME
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/25/22   REVIEW AND REPLY TO EMAILS FROM D. HUBERT RE SALE OF VAN          0.20      119.00
           NUYS PROPERTY
           ATTORNEY: ZEV SHECHTMAN
09/25/22   REVIEW AND REPLY TO EMAILS AND REVIEW DOCUMENTS RE SALE           0.40      238.00
           OF VAN NUYS PROPERTY
           ATTORNEY: ZEV SHECHTMAN
09/25/22   TEL. CONF. WITH D. HUBERT RE SALE OF VAN NUYS PROPERTY            0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
09/25/22   EMAILS TO A. L. KEBEH RE STRATEGY RE SALE MOTION RE VAN NUYS      0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
09/26/22   TEL. CONF. WITH COURT CLERK RE SCHEDULING HEARING FOR SALE        0.30      105.00
           MOTION RE VAN NUYS PROPERTY; CORRESPONDENCE WITH Z.
           SHECHTMAN AND J. N. TEDFORD RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/26/22   REVIEW CORRESPONDENCE FROM IMC COUNSEL RE DEFAULT                 0.10         35.00
           INTEREST RATE ON LOAN.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/26/22   CORRESPONDENCE WITH BROKER AND CLIENT RE SALE MOTION              0.10         35.00
           HEARING DATE (VAN NUYS).

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           ATTORNEY: ALPHAMORLAI L. KEBEH
09/26/22   CONTINUE PREPARING VAN NUYS SALE MOTION.                          1.40      490.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/27/22   REVIEW PAYOFF DEMAND (SOUND EQUITY); CORRESPONDENCE WITH          0.20         70.00
           Z. SHECHTMAN RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/27/22   CORRESPONDENCE WITH COUNSEL FOR LIENHOLDER RE STATUS OF           0.10         35.00
           SALE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/27/22   REVIEW LIEN AND TITLE REPORT (ARCADIA).                           0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/28/22   CONFERENCE WITH Z. SHECHTMAN RE STATUS OF SALE MOTION             0.10         35.00
           (VAN NUYS).
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/28/22   CORRESPONDENCE WITH BROKER RE DOCUMENTS REQUIRED FOR              0.10         35.00
           SALE MOTION (VAN NUYS).
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/28/22   CONFERENCE WITH J. N. TEDFORD RE SALE MOTION DETAILS              0.10         35.00
           (WITHHOLDING OF DEFAULT INTEREST, VAN NUYS).
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/28/22   CONFERENCE WITH Z. SHECHTMAN RE SALE MOTION BRIEFING              0.20         70.00
           DETAILS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/28/22   MEMO TO Z. SHECHTMAN AND J. N. TEDFORD RE VAN NUYS SALE           0.20         70.00
           MOTION AND BRIEF ANALYSIS OF DEFAULT INTEREST ISSUE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/28/22   REVIEW LIEN DOCUMENTS IN CONNECTION WITH VAN NUYS SALE            0.60      210.00
           MOTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/28/22   CONTINUE DRAFTING SALE MOTION RE VAN NUYS PROPERTY;               2.90     1015.00
           OUTLINE ADDITIONAL ARGUMENTS RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/28/22   REVISE VAN NUYS SALE MOTION.                                      0.80      280.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/28/22   DRAFT 363(M) DECLARATIONS FOR BUYERS IN CONNECTION WITH           0.40      140.00
           VAN NUYS SALE MOTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/28/22   RESEARCH RE VOIDABILITY OF ARCADIA LIEN.                          2.90      855.50
           LAW CLERK: Shantal Malmed
09/28/22   CONFERENCE WITH A. L. KEBEH RE SALE MOTION DETAILS                0.10         69.50
           (WITHHOLDING OF DEFAULT INTEREST, VAN NUYS)
           ATTORNEY: JOHN N. TEDFORD
09/28/22   CONFERENCES WITH A. L. KEBEH RE SALE MOTION                       0.40      238.00
           ATTORNEY: ZEV SHECHTMAN




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09/28/22   EMAIL TO A. L. KEBEH, S. MALMED, J. N. TEDFORD AND BROKERS RE     0.20      119.00
           RESEARCH ISSUES RE VOIDABILITY OF TRANSFERS RE MECHANIC'S
           LIEN
           ATTORNEY: ZEV SHECHTMAN
09/28/22   CONFERENCE WITH S. MALMED RE RESEARCH ISSUES RE                   0.30      178.50
           VOIDABILITY OF TRANSFERS RE MECHANIC'S LIEN
           ATTORNEY: ZEV SHECHTMAN
09/29/22   REVIEW QUITCLAIM DEED RE ARCADIA PROPERTY;                        0.20         70.00
           CORRESPONDENCE WITH MR. YANG'S ATTORNEY RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/29/22   REVIEW ORDER RE TRANSFER OF ARCADIA PROPERTY IN                   0.20         70.00
           CONNECTION WITH ARCADIA SALE MOTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/29/22   CORRESPONDENCE WITH DEBTOR'S ACCOUNTANT RE BREAKDOWN              0.20         70.00
           OF SALE COSTS RE VAN NUYS PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/29/22   CORRESPONDENCE WITH Z. SHECHTMAN RE TAX ANALYSIS AND              0.10         35.00
           DEFAULT INTEREST RATE ISSUE IN CONNECTION WITH VAN NUYS
           SALE MOTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/29/22   TEL. CONF. WITH BROKER RE STATUS OF ARCADIA PROPERTY SALE.        0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/29/22   CORRESPONDENCE WITH Z. SHECHTMAN RE REMAINING GARBAGE             0.10         35.00
           AT VAN NUYS PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/29/22   CORRESPONDENCE WITH ACCOUNTANT AND BROKER RE SALE OF              0.20         70.00
           VAN NUYS PROPERTY TAX ANALYSIS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/29/22   CORRESPONDENCE WITH BROKERS, Z. SHECHTMAN, AND J. N.              0.30      105.00
           TEDFORD RE TITLE COMPANY REQUIREMENTS FOR CLOSE OF SALE
           OF VAN NUYS PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/29/22   TEL. CONF. WITH ESCROW RE REQUIREMENTS FOR SALE OF DEBTOR'S       0.30      105.00
           PROPERTIES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/29/22   CORRESPONDENCE WITH BROKER RE ORDER TRANSFERRING                  0.10         35.00
           ARCADIA PROPERTY TO DEBTOR.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/29/22   TEL. CONF. WITH Z. SHECHTMAN RE REQUIREMENTS FROM ESCROW          0.20         70.00
           RE SALE OF VAN NUYS PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/29/22   CORRESPONDENCE WITH ESCROW AND Z. SHECHTMAN RE DEMAND             0.10         35.00
           FOR PAYOFF NOT INCLUDING DEFAULT INTEREST FROM VAN NUYS
           LENDERS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/29/22   PREPARE OVERBID FORM RE VAN NUYS PROPERTY.                        0.70      245.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/29/22   BEGIN DRAFTING ARCADIA SALE MOTION.                               0.20         70.00


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           ATTORNEY: ALPHAMORLAI L. KEBEH
09/29/22   REVIEW AND REVISE SALE MOTION RE VAN NUYS                          1.70     1011.50
           ATTORNEY: ZEV SHECHTMAN
09/29/22   TEL. CONF. WITH A. L. KEBEH RE TITLE ISSUES                        0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
09/30/22   CONFERENCE WITH Z. SHECHTMAN RE REVISIONS TO SALE MOTION           0.30      105.00
           (VAN NUYS); MULTIPLE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/30/22   CORRESPONDENCE WITH VAN NUYS BROKER RE EXPECTED COSTS IN           0.10         35.00
           SALE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/30/22   CONFERENCE WITH Z. SHECHTMAN RE CHALLENGING ATTORNEY               0.10         35.00
           FEES UNDER SECURED CREDITOR LOAN.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/30/22   CORRESPONDENCE WITH MR. YANG'S ATTORNEY RE REQUIRED                0.30      105.00
           DOCUMENTATION FOR SALE OF ARCADIA PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/30/22   CALCULATE AND CATEGORIZE INTEREST ACCUMULATION WITH                0.80      280.00
           RESPECT TO VAN NUYS PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/30/22   REVISE VAN NUYS SALE MOTION.                                       2.20      770.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/30/22   CONFERENCE WITH Z. SHECHTMAN RE: RESEARCH ON VOIDABILITY           0.20         59.00
           OF ARCADIA LIEN.
           LAW CLERK: Shantal Malmed
09/30/22   RESEARCH RE VOIDABILITY OF ARCADIA LIEN                            3.20      944.00
           LAW CLERK: Shantal Malmed
09/30/22   REVIEW AND REVISE SALE MOTION                                      1.20      714.00
           ATTORNEY: ZEV SHECHTMAN
09/30/22   CONFERENCE WITH A. L. KEBEH RE SALE MOTION                         0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
09/30/22   CONFERENCE WITH S. MALMED RE RESEARCH RE MECHANIC'S LIEN           0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
SUBTOTAL FOR ASSET DISPOSITION [AD]                                         145.40    63517.50


BUSINESS OPERATIONS [BO]
06/03/22   EMAILS TO C. LANGLEY AND REVIEW REPLY AND DRAFT EMAIL TO           0.20      119.00
           BANKER RE BANK ACCESS
           ATTORNEY: ZEV SHECHTMAN
06/07/22   TEL. CONF. WITH Z. SHECHTMAN RE DEBTOR BANKING SETUP.              0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/07/22   CORRESPONDENCE WITH DEBTOR'S COUNSEL RE BANKING SETUP.             0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH


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06/07/22   REVIEW CORRESPONDENCE RE CONTROL OF DEBTOR'S BANK               0.10         35.00
           ACCOUNTS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/07/22   COORDINATING CONTROL OF DEBTOR'S BANK ACCOUNTS.                 0.30      105.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/07/22   REVIEW EMAIL FROM J. ZHOU RE MANAGEMENT FEE                     0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/13/22   REVIEW CORRESPONDENCE RE BANK ACCOUNT SETUP; RESPOND RE         0.20         70.00
           SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/14/22   DRAFT LETTER TO LT MANAGEMENT RE TERMINATION OF SERVICES        0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
06/15/22   REVIEW MEMO FROM M. FOUCHE RE MISSING MORS, AND PREPARE         0.10         69.50
           REPLY RE SAME
           ATTORNEY: JOHN N. TEDFORD
06/16/22   EMAILS TO/FROM J. ZHOU AND BANKERS RE BANKING NEEDS             0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/16/22   FURTHER EMAILS TO/FROM J. ZHOU RE BANKING                       0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/16/22   TEL. CONF. WITH BANKER RE ACCESS TO BANKING                     0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
06/21/22   REVIEW AND RESPOND TO EMAILS RE MONTHLY OPERATING REPORT        0.30         82.50
           ASSISTANT: SHELLY PANTA
06/22/22   TEL. CONF. WITH S. ENG RE PROPERTY MANAGEMENT ISSUES            0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
06/28/22   REVIEW CORRESPONDENCE RE BANKING ACCOUNT CONTROL                0.10         35.00
           UPDATES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/26/22   CORRESPONDENCE WITH Z. SHECHTMAN RE MONTHLY OPERATING           0.10         35.00
           REPORT CALCULATIONS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
SUBTOTAL FOR BUSINESS OPERATIONS [BO]                                      2.70     1275.50


CASE ADMINISTRATION [CA]
05/31/22   TEL. CONF. WITH Z. SHECHTMAN RE TERMS OF RETENTION              0.00 NO CHARGE
           ATTORNEY: JOHN N. TEDFORD
05/31/22   TEL. CONF. WITH Z. SHECHTMAN RE OUTCOME OF CONFERENCE WITH      0.30      208.50
           COMMITTEE COUNSEL
           ATTORNEY: JOHN N. TEDFORD
05/31/22   ZOOM CONFERENCE WITH COMMITTEE COUNSEL, Z. SHECHTMAN            0.70      486.50
           AND A. L. KEBEH RE STATUS OF CASE AND PENDING MATTERS,
           POTENTIAL STEPS FOR PROCEEDING IN CONSENSUAL MANNER
           ATTORNEY: JOHN N. TEDFORD
06/01/22   REVIEW DOCKET.                                                  0.10         35.00

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           ATTORNEY: ALPHAMORLAI L. KEBEH
06/01/22   REVIEW SUBSTITUTION OF ATTORNEY SIGNED BY CLIENT AND             0.10         59.50
           DRAFT EMAIL TO C. LANGLEY RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/02/22   CONTACTING PROPERTY MANAGER RE POTENTIAL ENGAGEMENT.             0.40      140.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/03/22   TEL. CONF. WITH J. ZHOU AND L. XU RE SPECIAL COUNSEL, BANKING,   0.80      476.00
           ACCOUNTING, MANAGEMENT, AND OTHER ADMINISTRATIVE
           MATTERS
           ATTORNEY: ZEV SHECHTMAN
06/03/22   DRAFT EMAIL TO C. LANGLEY RE DIP BANKING                         0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/03/22   DRAFT EMAILS TO CLIENT RE DOCUMENTS FILED IN CASE                0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/03/22   REVIEW MULTIPLE DOCUMENTS                                        0.80      476.00
           ATTORNEY: ZEV SHECHTMAN
06/06/22   CORRESPONDENCE WITH PROPERTY MANAGER RE POTENTIAL                0.10         35.00
           ENGAGEMENT.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/07/22   CREATE LIST OF KEY DATES IN CASE.                                0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/07/22   CONFERENCE WITH Z. SHECHTMAN RE INQUIRY FROM E. MITNICK,         0.20      139.00
           AND STATUS OF RETENTION OF BROKERS
           ATTORNEY: JOHN N. TEDFORD
06/07/22   TEL. CONF. WITH CLIENT RE VARIOUS MATTERS ON PUNCH LIST          0.50      297.50
           ATTORNEY: ZEV SHECHTMAN
06/08/22   CORRESPONDENCE WITH BANK AND DEBTOR'S COUNSEL RE                 0.10         35.00
           BANKING INFORMATION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/08/22   TEL. CONF. WITH Z. SHECHTMAN RE EVALUATION OF POTENTIAL          0.20         70.00
           PROPERTY MANAGERS ANDBROKERS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/08/22   CONFERENCE WITH Z. SHECHTMAN RE POTENTIAL BROKERS;               0.40      140.00
           CORRESPONDENCE WITH BROKERS AND DEBTOR'S ATTORNEY RE
           SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/08/22   ZOOM CONFERENCE WITH Z. SHECHTMAN AND REAL ESTATE                0.00 NO CHARGE
           BROKERS/PROPERTY MANAGERS RE ENGAGEMENT IN DEBTOR'S
           CASE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/08/22   TEL. CONF. WITH J. ZHOU RE DISCUSSIONS WITH BROKERS AND          0.80      476.00
           COMMITTEE COUNSEL AND RE PROPERTY ISSUES
           ATTORNEY: ZEV SHECHTMAN
06/08/22   CALL WITH J. ZHOU AND A. L. KEBEH RE INTERVIEWS WITH             0.90      535.50
           PROFESSIONALS AND MEETING WITH COMMITTEE
           ATTORNEY: ZEV SHECHTMAN


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06/09/22   CORRESPONDENCE WITH PROFESSIONALS RE MANDARIN                    0.10         35.00
           COMPETENCY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/09/22   REVIEW CORRESPONDENCE FROM DEBTOR'S ATTORNEY RE                  0.10         35.00
           PROFESSIONAL HIRING PROCESS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/09/22   CONFERENCE WITH Z. SHECHTMAN RE UPDATES IN CASE; NEXT            0.10         35.00
           STEPS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/09/22   CONF WITH A. L. KEBEH RE CASE STATUS AND NEXT STEPS              0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/09/22   CONF WITH CREM, J. ZHOU, AND A. L. KEBEH RE CASE STATUS AND      0.80      476.00
           NEXT STEPS
           ATTORNEY: ZEV SHECHTMAN
06/10/22   REVIEW CORRESPONDENCE FROM BROKER RE VARIOUS PROPERTY            0.10         35.00
           VALUATIONS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/10/22   REVIEW BROKER'S CENTRALIZED DATABASE RE DEBTOR'S                 0.10         35.00
           PROPERTIES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/10/22   CONFERENCE WITH Z. SHECHTMAN RE CASE UPDATES.                    0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/10/22   UPDATE CALENDAR RE RELEVANT DATES.                               0.00 NO CHARGE
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/10/22   CONFERENCE WITH A. L. KEBEH RE CASE STATUS                       0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/10/22   PREPARE DETAILED EMAIL TO TEAM RE CASE UPDATES                   0.80      476.00
           ATTORNEY: ZEV SHECHTMAN
06/10/22   PREPARE DETAILED EMAIL TO TEAM RE CASE UPDATES                   0.80      476.00
           ATTORNEY: ZEV SHECHTMAN
06/10/22   ZOOM WITH T. TONG RE CPA SERVICES                                0.70      416.50
           ATTORNEY: ZEV SHECHTMAN
06/13/22   CONF. WITH A. L. KEBEH RE CASE BACKGROUND                        0.20         67.00
           ASSOCIATE: DANIELLE R. GABAI
06/13/22   CORRESPONDENCE WITH APPRAISER RE VALUE AND FOOTAGE OF            0.30      105.00
           VARIOUS CLIENT PROPERTIES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/13/22   REVIEW CORRESPONDENCE WITH Z. SHECHTMAN TO CLIENT RE             0.10         35.00
           UPDATE RE PROPERTY APPRAISAL/CONDITION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/13/22   ZOOM CONFERENCE WITH CLIENT ATTORNEY AND BROKERS RE              0.00 NO CHARGE
           INSPECTION OF PROPERTY; REVIEW OF CURRENT PROPERTY
           INFORMATION.
           ATTORNEY: ALPHAMORLAI L. KEBEH



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06/13/22   CONFERENCE WITH D. GABAI RE CASE STATUS; SCOPE OF                0.20         70.00
           INVOLVEMENT.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/13/22   REVIEW STIPULATION TO WITHDRAW DISCLOSURE STATEMENT AND          0.30      178.50
           TRUSTEE MOTION AND DRAFT EMAIL TO J. N. TEDFORD RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/13/22   TWO TEL. CONF. WITH J. ZHOU RE PROPERTIES AND BROKERS            0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
06/13/22   TEL. CONF. WITH CREM AND M&M AGENTS RE LINCOLN HEIGHTS           0.40      238.00
           PROPERTY
           ATTORNEY: ZEV SHECHTMAN
06/14/22   DRAFT NDA FOR REAL ESTATE PROFESSIONALS.                         0.30      105.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/14/22   REVIEW DOCKET RE STATUS OF DISCLOSURE STATEMENT HEARING.         0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/14/22   FINALIZE CALENDAR RE KEY DATES.                                  0.40      140.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/14/22   CONFERENCE WITH Z. SHECHTMAN RE VARIOUS ISSUES IN                0.40      140.00
           BANKRUPTCY CASE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/15/22   REVIEW CORRESPONDENCE FROM Z. SHECHTMAN RE STATUS OF             0.10         35.00
           STIPULATION TO WITHDRAW MOTION TO APPOINT TRUSTEE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/15/22   REVIEW NOTICE OF TERMINATION OF DEBTOR'S PRIOR PROPERTY          0.20         70.00
           MANAGER; REVIEW CORRESPONDENCE RE ENGAGEMENT OF NEW
           PROPERTY MANAGER (ARCADIA).
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/15/22   EMAILS TO/FROM COMMITTEE COUNSEL, ATTEMPT CALL AND SEND          0.20      119.00
           EMAIL TO A. SARVER, REVISE STIPULATION TO WITHDRAW PLAN AND
           TRUSTEE MOTION AND SEND SAME TO COUNSEL
           ATTORNEY: ZEV SHECHTMAN
06/16/22   CONF. WITH Z. SHECHTMAN RE PROPERTY DETAILS AND                  0.20         67.00
           BACKGROUND
           ASSOCIATE: DANIELLE R. GABAI
06/16/22   CORRESPONDENCE WITH SPECIAL COUNSEL RE APPLICATION FOR           0.10         35.00
           EMPLOYMENT.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/16/22   REVIEW CORRESPONDENCE RE ACCESS TO BANK ACCOUNTS.                0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/16/22   COORDINATE CONFERENCE WITH Z. SHECHTMAN, DEBTOR'S                0.10         35.00
           ATTORNEY, AND SPECIAL COUNSEL RE PROECEDURAL STATUS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/16/22   REVIEW CORRESPONDENCE RE VALUE OF ARCADIA PROPERTY.              0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/16/22   REVIEW CORRESPONDENCE WITH CLIENT RE LIKELIHOOD OF               0.10         35.00
           GRANTING OF EMPLOYMENT APPS.


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           ATTORNEY: ALPHAMORLAI L. KEBEH
06/16/22   ZOOM CONFERENCE WITH Z. SHECHTMAN, SPECIAL COUNSEL, AND           0.90      315.00
           DEBTOR'S ATTORNEY RE LITIGATION RELATING TO BANKRUPTCY
           CASE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/16/22   REVIEW DOCKETS FOR DEADLINES RE LITIGATION MATTERS.               0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/16/22   CALENDARING KEY DATES AND DEADLINES RE CONTESTED                  0.70      245.00
           MATTERS; CORRESPONDENCE WITH Z. SHECHTMAN RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/16/22   REVIEW EMAIL FROM A. SARVER RE APPROVAL OF STIPULATION;           0.10         59.50
           EMAIL A. L. KEBEH RE SAME; PREPARE TO FILE SAME
           ATTORNEY: ZEV SHECHTMAN
06/16/22   FINALIZE STIPULATION AND ORDER RE PLAN AND CHAPTER 11             0.20      119.00
           TRUSTEE MOTION
           ATTORNEY: ZEV SHECHTMAN
06/16/22   ZOOM MEETING WITH D. MARTINEZ, J. ZHOU AND A. L. KEBEH RE         0.80      476.00
           LITIGATION STRATEGY AND PROCEDURES
           ATTORNEY: ZEV SHECHTMAN
06/17/22   REVIEW BANKING PARTNER UPDATE RE CONTROL OF BANK                  0.10         35.00
           ACCOUNTS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/17/22   REVIEW CORRESPONDENCE RE CONTINUANCE OF LITIGATION                0.10         35.00
           DEADLINES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/17/22   REVIEW EMAIL FROM M. YANG RE PROPERTY MANAGEMENT ISSUES;          0.30      178.50
           REVIEW EMAILS FROM CLIENT; DRAFT EMAILS TO J. ZHOU; REPLY TO
           M. YANG
           ATTORNEY: ZEV SHECHTMAN
06/17/22   TEL. CONF. WITH J. ZHOU RE PUNCHLIST OF ISSUES                    0.50      297.50
           ATTORNEY: ZEV SHECHTMAN
06/17/22   FOLLOW UP WITH J. ZHOU RE PROPERTY ISSUES                         0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
06/17/22   TEL. CONF. WITH J. DULBERG RE OVERVIEW OF CASE IN CONTEXT OF      0.70      416.50
           POSSIBLE OBJECTION TO EMPLOYMENT APPLICATION
           ATTORNEY: ZEV SHECHTMAN
06/20/22   PREPARE DETAILED CHAPTER 11 PUNCH LIST OF THINGS TO DO IN         1.00      595.00
           CASE
           ATTORNEY: ZEV SHECHTMAN
06/21/22   REVIEW CORRESPONDENCE BETWEEN Z. SHECHTMAN AND                    0.20         70.00
           CREDITORS COMMITTEE RE EMPLOYMENT APPS AND STATUS OF
           DEBTOR'S PROPERTIES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/21/22   REVIEW CORRESPONDENCE RE TESTA LITIGATION CONTINUANCE.            0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/21/22   CORRESPONDENCE WITH BROKER RE VALUATION OF DEBTOR'S               0.10         35.00
           PROPERTY.

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           ATTORNEY: ALPHAMORLAI L. KEBEH
06/21/22   ZOOM CONFERENCE WITH DEBTOR'S ATTORNEY, Z. SHECHTMAN,            0.00 NO CHARGE
           AND SPECIAL LITIGATION COUNSEL.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/21/22   REVIEW CORRESPONDENCE FROM ARCADIA PROPERTY LENDER.              0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/21/22   REVIEW Z. SHECHTMAN EDITS TO STIPULATIONS AND ORDERS RE          0.10         35.00
           LITIGATION DEADLINES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/21/22   REVIEW CORRESPONDENCE RE FINALIZING BANKING SETUP.               0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/21/22   PREPARE STIPULATION RE TESTA ADVERSARY PROCEEDING.               0.70      245.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/21/22   PREPARE STIPULATION RE CONTINUANCE OF DEADLINES IN BETULA        0.30      105.00
           LENTA ADVERSARY PROCEEDING.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/21/22   REVISE STIPULATIONS RE DATES AND DEADLINES PER Z.                0.20         70.00
           SHECHTMAN COMMENTS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/21/22   DRAFT ORDERS RE CONTINUANCE OF DATES AND DEADLINES IN            0.40      140.00
           BETULA LENTA AND TESTA ADVERSARY PROCEEDINGS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/21/22   REVIEW MULTIPLE EMAILS RE PROPERTIES, STRATEGY (BNC)             0.00 NO CHARGE
           ATTORNEY: JOHN N. TEDFORD
06/21/22   PREPARE PUNCHLIST AND EMAILS WITH CLIENT RE PENDING ISSUES       0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
06/21/22   ZOOM MEETING WITH A. L. KEBEH, J. ZHOU AND D. MARTINEZ RE        2.20     1309.00
           CASE STATUS, LITIGATION AND PENDING ISSUES
           ATTORNEY: ZEV SHECHTMAN
06/22/22   FOLLOW UP WITH OPPOSING COUNSEL RE STIPULATION TO                0.10         35.00
           CONTINUE DEADLINES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/22/22   REVIEW CORRESPONDENCE RE ARCADIA PROPERTY UPDATES.               0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/22/22   REVIEW Z. SHECHTMAN REVISIONS TO STIPULATION TO CONTINUE         0.10         35.00
           RESPONSE DEADLINES RE SPECIAL COUNSEL EMPLOYMENT
           APPLICATION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/22/22   REVISE STIPULATION RE CONTINUANCE OF BETULA LENTA                0.20         70.00
           ADVERSARY PROCEEDING DATES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/22/22   REVIEW MEMOS RE REQUIRED BANK STATEMENTS                         0.20         55.00
           ASSISTANT: SHELLY PANTA
06/23/22   CONFERENCE WITH Z. SHECHTMAN RE ASSUMPTION/REJECTION OF          0.10         35.00
           EXECUTORY CONTRACTS.


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           ATTORNEY: ALPHAMORLAI L. KEBEH
06/23/22   REVIEW DOCKET AND RESEARCH RE CHAPTER 11 DEADLINES IN THIS       1.70      595.00
           CASE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/23/22   REVIEW CORRESPONDENCE RE UPDATES RE DEBTOR'S BANKING             0.10         35.00
           SETUP
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/23/22   CONFERENCE WITH A. L. KEBEH RE APPLICABLE DEADLINES IN CASE      0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/23/22   TEL. CONF. WITH D. MARTINEZ RE LITIGATION ISSUES RE PROPERTIES   0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
06/24/22   REVIEW CORRESPONDENCE RE CURRENT STATUS AND STRATEGY RE          0.20         70.00
           DEBTOR'S PROPERTIES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/24/22   TEL. CONF. WITH J. ZHOU RE STRATEGIES RE THREE PROPERTIES        1.00      595.00
           ATTORNEY: ZEV SHECHTMAN
06/28/22   TEL. CONF. WITH J. ZHOU RE CASE UPDATE                           0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
06/29/22   REVIEW CORRESPONDENCE RE STATUS OF DEBTOR'S PROPERTIES.          0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/29/22   TEL. CONF. WITH J. ZHOU RE NEXT STEPS RE ARCADIA, SAN MARINO     0.50      297.50
           AND PROFESSIONAL EMPLOYMENT
           ATTORNEY: ZEV SHECHTMAN
06/29/22   TEL. CONF. WITH M. CHEKIAN RE EMPLOYMENT APPLICATION AND         0.60      357.00
           CHEKIAN FEE MOTION
           ATTORNEY: ZEV SHECHTMAN
06/29/22   TEL. CONF. WITH W. FRIEDMAN RE CO-LISTING WITH S. ENG            0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
06/29/22   TEL. CONF. WITH M. CHEKIAN RE EMPLOYMENT APPLICATION AND         0.60      357.00
           CHEKIAN FEE MOTION
           ATTORNEY: ZEV SHECHTMAN
06/29/22   CONFERENCE WITH A. L. KEBEH RE REPLY RE FEE APPLICATION AND      0.20      119.00
           RE OPPOSITION RE CHEKIAN MOTION
           ATTORNEY: ZEV SHECHTMAN
07/01/22   DRAFT MULTI. EMAILS TO J. ZHOU RE PROPERTIES AND EMPLOYMENT      0.40      238.00
           AND RELATED ISSUES
           ATTORNEY: ZEV SHECHTMAN
07/05/22   TEL. CONF. WITH J. ZHOU RE STATUS OF MULTI. PROPERTIES AND       0.30      178.50
           EMPLOYMENT APPS
           ATTORNEY: ZEV SHECHTMAN
07/06/22   TEL. CONF. WITH J. ZHOU RE STATUS OF VARIOUS PROPERTIES AND      0.40      238.00
           EMPLOYMENT OF COUNSEL
           ATTORNEY: ZEV SHECHTMAN
07/21/22   REVIEW FORMER COUNSEL'S DOCUMENTS RE EVIDENCE OF                 1.30      455.00
           CORPORATE OWNERSHIP
           ATTORNEY: ALPHAMORLAI L. KEBEH
                                                                                    59
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07/26/22   STRATEGY MEETING WITH Z. SHECHTMAN, LITIGATION COUNSEL,           0.50      175.00
           AND DEBTOR'S ATTORNEY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/26/22   ZOOM WITH J. ZHOU, D. MARTINEZ AND A. L. KEBEH RE CASE STATUS     0.50      297.50
           AND ISSUES WITH PROPERTIES
           ATTORNEY: ZEV SHECHTMAN
08/03/22   STRATEGY MEETING WITH CLIENT, LITIGATION COUNSEL, AND Z.          0.60      210.00
           SHECHTMAN.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/03/22   ZOOM WITH A. L. KEBEH, D. MARTINEZ AND J. ZHOU RE CASE STATUS     0.60      357.00
           ATTORNEY: ZEV SHECHTMAN
08/12/22   TWO TEL. CONFS. WITH A. L. KEBEH RE SALES OF PROPERTIES AND       0.40      238.00
           MOTIONS FOR RELIEF FROM STAY
           ATTORNEY: ZEV SHECHTMAN
08/25/22   CORRESPONDENCE WITH DEBTOR'S ACCOUNTANT RE CALCULATION            0.10         35.00
           OF MONTHLY OPERATING REPORT FIGURES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/31/22   CONFERENCE WITH Z. SHECHTMAN RE STATUS OF PROPERTIES AND          0.40      140.00
           RELIEF FROM STAY MOTIONS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/31/22   PREPARE FOR MEETING WITH Z. SHECHTMAN RE CASE STATUS AND          0.40      140.00
           UPDATES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/31/22   CONFERENCE WITH A. L. KEBEH RE CASE STATUS                        0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
08/31/22   CONFERENCE WITH A. L. KEBEH RE STATUS OF PROPERTIES AND           0.40      238.00
           RELIEF FROM STAY
           ATTORNEY: ZEV SHECHTMAN
09/01/22   TEL. CONF. WITH C. LANGLEY RE CASE STATUS                         0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
09/02/22   CALL WITH S. PANTA RE: FEE APPLICATION.                           0.10         29.50
           LAW CLERK: Shantal Malmed
09/02/22   PREPARE CALENDAR CARD FOR HEARING ON FEE APPLICATION              0.00 NO CHARGE
           LAW CLERK: Shantal Malmed
09/02/22   PREPARE CALENDAR CARD ON THE DEADLINE TO FILE THE FEE             0.00 NO CHARGE
           APPLICATION
           LAW CLERK: Shantal Malmed
09/02/22   TEL. CONF. WITH J. ZHOU RE CASE STATUS                            0.40      238.00
           ATTORNEY: ZEV SHECHTMAN
09/02/22   EMAILS TO/FROM A. SARVER AND S. ENG RE VAN NUYS INSURANCE         0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
09/12/22   REVIEW AND REVISE MONTHLY FEE STATEMENT PER OFFICE OF THE         0.20      119.00
           UNITED STATES TRUSTEE GUIDELINES
           ATTORNEY: ZEV SHECHTMAN
09/26/22   REVIEW CORRESPONDENCE FROM FORMER ACCOUNTANTS RE TAX              0.10         35.00
           RETURNS; CORRESPONDENCE WITH MR. YANG'S ATTORNEY RE SAME.
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           ATTORNEY: ALPHAMORLAI L. KEBEH
09/27/22   CORRESPONDENCE WITH Z. SHECHTMAN RE RESPONSE TO                    0.00 NO CHARGE
           ACCOUNTANT SOLICITATION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/27/22   REVIEW DEBTOR'S STATEMENT OF FINANCIAL AFFAIRS RE PRE-             0.00 NO CHARGE
           BANKRUPTCY ACCOUNTANT ASSOCIATION; CORRESPONDENCE WITH
           SOLICITOR RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/27/22   CORRESPONDENCE WITH MR. YANG'S ATTORNEY RE PERSONAL                0.00 NO CHARGE
           ACCOUNTING SERVICES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/28/22   TEL. CONFERENCE WITH Z. SHECHTMAN RE VOIDABILITY OF                0.40      118.00
           TRANSFER AND RE STATUS OF FEE APPLICATION.
           LAW CLERK: Shantal Malmed
09/28/22   TEL. CONFERENCE WITH S. MALMED RE VOIDABILITY OF TRANSFER          0.40      238.00
           AND RE STATUS OF FEE APPLICATION
           ATTORNEY: ZEV SHECHTMAN
SUBTOTAL FOR CASE ADMINISTRATION [CA]                                        40.70    20294.50


CLAIMS ADMINISTRATION AND OBJECTIONS [CL]
06/09/22   REVIEW CORRESPONDENCE RE CREDITOR'S CLAIMS.                        0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/13/22   REVIEW CORRESPONDENCE BETWEEN Z. SHECHTMAN AND DNQ RE              0.50      175.00
           VALIDITY OF LINE; ANALYZE PROMISSORY NOTE RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/16/22   TEL. CONF. WITH A. SARVER RE LIEN                                  0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
06/16/22   DRAFT EMAIL TO CLIENT RE TEL. CONF. WITH A. SARVER RE LIEN RE      0.10         59.50
           VAN NUYS
           ATTORNEY: ZEV SHECHTMAN
06/21/22   PREPARE STIPULATION RE CONTINUANCE OF VARIOUS LITIGATION           0.80      280.00
           DATES AND DEADLINES RE BETULA LENTA CLAIM OBJECTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/21/22   DRAFT ORDER RE CONTINUANCE OF DATES AND DEADLINES RE               0.30      105.00
           BETULA LENTA CLAIM OBJECTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/28/22   TEL. CONF. WITH M. CHEKIAN RE SUBSTANTIAL CONTRIBUTION             0.50      297.50
           CLAIM AND RE CASE OVERVIEW
           ATTORNEY: ZEV SHECHTMAN
06/29/22   REVIEW AND REVISE STIPULATION RE CHEKIAN APPLICATION               0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/05/22   TEL. CONF. WITH A. SARVER RE INTEREST ON CLAIM                     0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
07/06/22   TEL. CONF. WITH B. HARVEY RE SAN MARINO PROPERTY LIEN OF RBB       0.50      297.50
           ATTORNEY: ZEV SHECHTMAN


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08/15/22   TEL. CONF. WITH ANTHONY AND LTG MANAGEMENT RE ADMIN              0.20      119.00
           CLAIMS
           ATTORNEY: ZEV SHECHTMAN
09/26/22   CONFERENCE WITH J. N. TEDFORD RE POTENTIAL CHALLENGE TO          0.20         70.00
           DEFAULT INTEREST RATES ON REAL PROPERTY LOANS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/26/22   REVIEW RESEARCH RE DEFAULT INTEREST RATES IN CONNECTION          1.00      350.00
           WITH POTENTIAL OBJECTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/26/22   PREP FOR CONFERENCE WITH J. N. TEDFORD RE DEFAULT INTEREST       0.50      175.00
           RATES CHALLENGE ANALYSIS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/26/22   CONFERENCE WITH A. L. KEBEH RE ALLOWABILITY OF DEFAULT           0.20      139.00
           INTEREST
           ATTORNEY: JOHN N. TEDFORD
09/26/22   RESEARCH RE ALLOWABILITY OF DEFAULT INTEREST, AND PREPARE        1.30      903.50
           MEMO TO A. L. KEBEH RE SAME
           ATTORNEY: JOHN N. TEDFORD
09/27/22   CONFERENCE WITH J. N. TEDFORD RE RESEARCH RE DEFAULT             0.10         35.00
           INTEREST RATE ENFORCEABILITY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/27/22   CORRESPONDENCE WITH J. N. TEDFORD RE ANALYSIS OF J. N.           0.10         35.00
           TEDFORD RESEARCH RE ENFORCEABILITY OF DEFAULT INTEREST
           RATES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/27/22   REVIEW J. N. TEDFORD RESEARCH AND ANALYSIS RE CHALLENGING        1.00      350.00
           DEFAULT INTEREST RATES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/27/22   CONFERENCE WITH A. L. KEBEH RE RESEARCH RE DEFAULT INTEREST      0.10         69.50
           RATE ENFORCEABILITY
           ATTORNEY: JOHN N. TEDFORD
09/29/22   DRAFT MEMO TO SPECIAL LITIGATION COUNSEL AND CLIENT RE           0.50      175.00
           ANALYSIS OF DEFAULT INTEREST ISSUE AND POTENTIAL OBJECTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/30/22   STRATEGIZE RE POTENTIAL OBJECTION TO OVERSECURED                 0.60      210.00
           CREDITORS' ATTORNEYS' FEES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/30/22   REVIEW VAN NUYS LIENHOLDER LOAN AGREEMENTS IN                    0.30      105.00
           CONNECTION WITH POTENTIAL OBJECTION TO ATTORNEYS' FEES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
SUBTOTAL FOR CLAIMS ADMINISTRATION AND OBJECTIONS [CL]                      9.60     4377.50


FEE/EMPLOYMENT APPLICATION [FA]
05/31/22   MULTIPLE TEL. CONF. WITH Z. SHECHTMAN RE JINZHENG GROUP          0.20         70.00
           EMPLOYMENT APPLICATION
           ATTORNEY: ALPHAMORLAI L. KEBEH
05/31/22   ZOOM CONFERENCE WITH Z. SHECHTMAN, J. N. TEDFORD, AND            0.70      245.00
           PACHULSKI ATTORNEYS RE JINZHENG CASE OVERVIEW

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           ATTORNEY: ALPHAMORLAI L. KEBEH
05/31/22   CONFERENCE WITH J. N. TEDFORD RE EMPLOYMENT                       0.10         35.00
           APPLICATION/FINANCING MOTION (JINZHENG).
           ATTORNEY: ALPHAMORLAI L. KEBEH
05/31/22   REVIEW CORRESPONDENCE RE ENGAGEMENT OF DANNING GILL.              0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
05/31/22   REVIEW BK RULES RE FINANCING PROCEDURES IN CONNECTION             0.60      210.00
           WITH APPLICATION TO EMPLOY DANNING, GILL, ISRAEL &
           KRASNOFF, LLP
           ATTORNEY: ALPHAMORLAI L. KEBEH
05/31/22   DRAFT STATEMENT OF DISINTERESTEDNESS FOR EMPLOYMENT               0.30      105.00
           APPLICATION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
05/31/22   DRAFT EMPLOYMENT/FINANCING MOTION HYBRID.                         3.60     1260.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
05/31/22   CONFERENCE WITH A. L. KEBEH RE EMPLOYMENT                         0.10         69.50
           APPLICATION/FINANCING MOTION
           ATTORNEY: JOHN N. TEDFORD
05/31/22   DRAFT EMPLOYMENT TERMS RE NEW MATTER AND EMAIL TO CLIENT          0.70      416.50
           RE SAME; EMAILS TO/FROM J. N. TEDFORD RE SAME
           ATTORNEY: ZEV SHECHTMAN
05/31/22   ZOOM WITH J. N. TEDFORD, A. L. KEBEH, J. DULBERG AND R.           0.70      416.50
           SAUNDERS RE ENGAGEMENT IN CASE
           ATTORNEY: ZEV SHECHTMAN
05/31/22   EMAILS TO/FROM A. L. KEBEH RE EMPLOYMENT APPLICATION              0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
06/01/22   FINALIZE JNZHENG EMPLOYMENT APPLICATION.                          2.00      700.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/01/22   REVISE EMPLOYMENT APPLICATION PER Z. SHECHTMAN COMMENTS.          0.40      140.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/01/22   REVIEW AND REVISE DANNING, GILL, ISRAEL & KRASNOFF, LLP           2.50     1487.50
           EMPLOYMENT APPLICATION
           ATTORNEY: ZEV SHECHTMAN
06/06/22   REVIEW Z. SHECHTMAN CORRESPONDENCE RE NOTICE ISSUE IN             0.20         70.00
           EMPLOYMENT APPLICATION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/06/22   REVIEW MEMO FROM J. DULBERG RE HEARING ON EMPLOYMENT              0.30      208.50
           APPLICATION, AND WHETHER DIP LOAN SHOULD BE USED TO PAY
           ALL PROFESSIONALS
           ATTORNEY: JOHN N. TEDFORD
06/06/22   TEL. CONF. WITH Z. SHECHTMAN RE COMMITTEE'S INQUIRY RE FEE        0.10         69.50
           APPLICATION / DIP LOAN MOTION
           ATTORNEY: JOHN N. TEDFORD
06/06/22   REVIEW EMAIL FROM J. DULBERG RE ISSUE WITH DIP LOAN IN            0.50      297.50
           EMPLOYMENT APPLICATION; DRAFT EMAIL TO J. N. TEDFORD AND A.
           L. KEBEH RE SAME; REVIEW EMAIL FROM J. N. TEDFORD TO J.
           DULBERG RE SAME; DRAFT EMAIL TO CLIENT RE SAME

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           ATTORNEY: ZEV SHECHTMAN
06/06/22   TEL. CONF. WITH J. N. TEDFORD RE ADDRESSING COMMITTEE'S          0.10         59.50
           COMMENTS
           ATTORNEY: ZEV SHECHTMAN
06/06/22   DRAFT EMAIL TO A. L. KEBEH RE AMENDING NOTICE OF HEARING         0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/06/22   REVIEW AND REPLY TO EMAIL FROM J. ZHOU RE RETAINER               0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/07/22   REVIEW AMENDED NOTICE RE DANNING, GILL, ISRAEL & KRASNOFF,       0.00 NO CHARGE
           LLP EMPLOYMENT APPLICATION AND FINANCING MOTION; FINALIZE
           SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/07/22   PREPARE AMENDED NOTICE OF HEARING RE EMPLOYMENT                  0.00 NO CHARGE
           APPLICATION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/07/22   REVIEW AND REVISE AMENDED NOTICE OF HEARING ON                   0.20      119.00
           EMPLOYMENT APPLICATION AND DRAFT EMAIL TO A. L. KEBEH AND
           J. N. TEDFORD RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/09/22   TEL. CONF. WITH Z. SHECHTMAN RE POTENTIAL PROFESSIONALS TO       0.10         69.50
           BE RETAINED
           ATTORNEY: JOHN N. TEDFORD
06/09/22   TEL. CONF. WITH J. N. TEDFORD RE POTENTIAL PROFESSIONALS TO BE   0.10         59.50
           RETAINED
           ATTORNEY: ZEV SHECHTMAN
06/17/22   TEL. CONF. WITH Z. SHECHTMAN RE POST-PETITION RETAINER,          0.30      225.00
           NEGOTIATIONS WITH COMMITTEE
           ATTORNEY: ERIC P. ISRAEL
06/17/22   TEL. CONF. WITH E.P. ISRAEL RE ALLEGED EARMARKING ISSUE          0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
06/21/22   REVIEW Z. SHECHTMAN DRAFT CORRESPONDENCE WITH CREDITORS          0.20         70.00
           COMMITTEE RE EMPLOYMENT APPLICATIONS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/22/22   CORRESPONDENCE WITH S. PANTA RE APPLICATIONS FOR                 0.10         35.00
           EMPLOYMENT OF DANNING, GILL, ISRAEL & KRASNOFF, LLP AND
           ATKINSON.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/24/22   CONFERENCE WITH A. L. KEBEH RE OPPOSITION TO DANNING, GILL,      0.40      238.00
           ISRAEL & KRASNOFF, LLP EMPLOYMENT APPLICATION
           ATTORNEY: ZEV SHECHTMAN
06/29/22   TEL. CONF. WITH P. KIM RE OBJECTION TO EMPLOYMENT                0.90      535.50
           APPLICATION OF DANNING, GILL, ISRAEL & KRASNOFF, LLP AND
           ATKINSON
           ATTORNEY: ZEV SHECHTMAN
06/30/22   REVIEW AND REVISE REPLY RE EMPLOYMENT APPLICATION                3.60     2142.00
           ATTORNEY: ZEV SHECHTMAN
06/30/22   MULTI CALLS WITH COMMITTEE COUNSEL RE EMPLOYMENT APP             0.50      297.50

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           ATTORNEY: ZEV SHECHTMAN
06/30/22   REVIEW WITHDRAWAL OF OPPOSITION TO EMPLOYMENT                       0.10         59.50
           APPLICATION AND DRAFT EMAIL TO CLIENT RE SAME
           ATTORNEY: ZEV SHECHTMAN
07/01/22   TEL. CONF. WITH LAW CLERK RE OPPOSITION TO EMPLOYMENT               0.10         59.50
           APPLICATION AND DRAFT EMAIL TO LAW CLERK RE SAME
           ATTORNEY: ZEV SHECHTMAN
07/18/22   PREPARE PROFESSIONAL FEE STATEMENT 1                                0.10         27.50
           ASSISTANT: SHELLY PANTA
07/18/22   REVIEW AND REVISE PROFESSIONAL FEE STATEMENT                        0.30         82.50
           ASSISTANT: SHELLY PANTA
08/19/22   REVIEW AND REPLY TO EMAIL FROM S. PANTA RE FEE STATEMENT            0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
08/19/22   PREPARE PFS #2 FOR DG                                               0.40      110.00
           ASSISTANT: SHELLY PANTA
08/29/22   REVIEW TENTATIVE RULINGS RE MOTION TO EMPLOY ACCOUNTANTS            0.30      105.00
           AND MOTION TO EMPLOY BROKERS; CORRESPONDENCE WITH COURT
           CLERK RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/31/22   PHONE CALL WITH Z. SHECHTMAN ABOUT THE FACTS OF THE CASE,           0.10         29.50
           ASSET DISPOSITION, AND THE DRAFTING PROCESS FOR THE FEE
           APPLICATION.
           LAW CLERK: Shantal Malmed
08/31/22   REVIEW FILE TO BECOME FAMILIARIZED WITH THE TIMELINE AND            0.00 NO CHARGE
           MOST SALIENT FACTS IN THE CASE.
           LAW CLERK: Shantal Malmed
08/31/22   PHONE CALL WITH S. MALMED ABOUT THE FACTS OF THE CASE               0.10         59.50
           ASSET DISPOSITION THE DRAFTING PROCESS FOR THE FEE
           APPLICATION.
           ATTORNEY: ZEV SHECHTMAN
09/07/22   REVIEWING VOLUMINOUS TIME ENTRIES IN PREPARATION FOR THE            4.30     1268.50
           DRAFTING INTERIM FEE APPLICATION.
           LAW CLERK: Shantal Malmed
09/07/22   REVIEW CASE DOCKET AND BEGIN DRAFTING THE FEE APPLICATION.          1.40      413.00
           LAW CLERK: Shantal Malmed
09/09/22   REVIEW CASE DOCKET AND DRAFT THE PROCEDURAL HISTORY                 2.40      708.00
           SECTION OF THE FEE APPLICATION.
           LAW CLERK: Shantal Malmed
09/11/22   REVIEW DOCKET AND TIME ENTRIES TO PREPARE NARRATIVE OF FEE          2.80      826.00
           APPLICATION.
           LAW CLERK: Shantal Malmed
09/11/22   REVIEW AND REVISE THE FEE APPLICATION.                              6.90     2035.50
           LAW CLERK: Shantal Malmed
09/12/22   DRAFTING AND EDITING THE FEE APPLICATION.                           6.50     1917.50
           LAW CLERK: Shantal Malmed


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09/14/22   EDIT GRAMMATICAL AND FORMATTING ERRORS ON THE FEE                   0.00 NO CHARGE
           APPLICATION.
           LAW CLERK: Shantal Malmed
09/14/22   FINALIZE FEE APPLICATION FOR Z. SHECHTMAN'S REVIEW.                 3.00      885.00
           LAW CLERK: Shantal Malmed
09/14/22   PREPARE PFS #3                                                      0.40      110.00
           ASSISTANT: SHELLY PANTA
09/23/22   EDIT FEE APPLICATION                                                0.80      476.00
           ATTORNEY: ZEV SHECHTMAN
09/25/22   REVIEW AND REVISE FIRST INTERIM FEE APPLICATION AND DRAFT           2.00     1190.00
           EMAIL TO S. MALMED RE SAME
           ATTORNEY: ZEV SHECHTMAN
09/28/22   REVISE AND EDIT FEE APPLICATION.                                    4.80     1416.00
           LAW CLERK: Shantal Malmed
09/29/22   TEL. CONFERENCE WITH S. PANTA RE: AUGUST AND SEPTEMBER              0.30         88.50
           BILLING ENTRIES FOR THE FEE APPLICATION.
           LAW CLERK: Shantal Malmed
09/29/22   TEL. CONF. WITH S. MALMED RE FEE APPLICATION                        0.30         82.50
           ASSISTANT: SHELLY PANTA
09/30/22   CONFERENCE WITH S. MALMED RE DISCREPANCY IN JINZHENG FEE            0.00 NO CHARGE
           APPLICATION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/30/22   CONFERENCE WITH Z. SHECHTMAN RE: FEE APPLICATION.                   0.10         29.50
           LAW CLERK: Shantal Malmed
09/30/22   CONFERENCE WITH A. L. KEBEH RE ERRONEOUS TIME ENTRY.                0.00 NO CHARGE
           LAW CLERK: Shantal Malmed
09/30/22   REVISE FEE APPLICATION AND DRAFT DECLARATIONS.                      1.00      295.00
           LAW CLERK: Shantal Malmed
09/30/22   CONFERENCE WITH S. MALMED RE FEE APPLICATION                        0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
SUBTOTAL FOR FEE/EMPLOYMENT APPLICATION [FA]                                  59.10    22530.50


FEE/EMPLOYMENT OBJECTIONS [FO]
06/01/22   EMAILS TO/FROM J. ZHOU RE MANAGEMENT/FA FIRMS AND                   0.40      238.00
           BROKERAGE FIRMS; EMAILS TO K. SINGER AND OTHER RECEIVER RE
           SAME
           ATTORNEY: ZEV SHECHTMAN
06/01/22   CORRESPOND WITH CLIENT RE POSSIBLE PROPERTY MANAGERS                0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
06/02/22   ZOOM CONFERENCE WITH Z. SHECHTMAN AND PROPERTY MANAGER              0.00 NO CHARGE
           RE POTENTIAL ENGAGEMENT.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/02/22   EMAILS WITH S. DONNEL AND J. ZHOU RE PROPERTY MANAGEMENT            0.10         59.50


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           ATTORNEY: ZEV SHECHTMAN
06/02/22   ZOOM WITH J. ZHOU, S. DONELL, AND A. L. KEBEH RE PROPERTY         1.00      595.00
           MANAGEMENT; FOLLOWUP WITH J. ZHOU AND A. L. KEBEH AND
           FOLLOW UP WITH A. L. KEBEH
           ATTORNEY: ZEV SHECHTMAN
06/03/22   DRAFT EMAILS TO CLIENT RE ACCOUNTING FIRMS                        0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/06/22   REVIEW AND REPLY TO EMAILS FROM A. L. KEBEH RE PROPERTY           0.10         59.50
           MANAGEMENT COMPANY
           ATTORNEY: ZEV SHECHTMAN
06/07/22   CONFERENCE WITH Z. SHECHTMAN RE PROPERTY MANAGER                  0.20         70.00
           INTERVIEWING; CORRESPONDENCE WITH PROPERTY MANAGER RE
           SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/07/22   ATTEMPT CALL WITH BROKER/PROPERTY MANAGER AND WITH                0.20      119.00
           ACCOUNTANT; EMAILS RE SAME; TEL. CONF. WITH A. L. KEBEH RE
           SAME
           ATTORNEY: ZEV SHECHTMAN
06/07/22   CONFERENCE WITH J. N. TEDFORD RE LISTING OF PROPERTIES AND        0.20      119.00
           EMPLOYMENT OF PROFESSIONALS
           ATTORNEY: ZEV SHECHTMAN
06/07/22   EXCHANGE EMAILS WITH POTENTIAL BROKERS AND PROPERTY               0.20      119.00
           MANAGERS
           ATTORNEY: ZEV SHECHTMAN
06/08/22   TEL. CONF. WITH Z. SHECHTMAN AND DEBTOR'S ATTORNEY RE             0.00 NO CHARGE
           BROKER OPTIONS
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/08/22   ZOOM CONFERENCE WITH Z. SHECHTMAN AND PROPERTY                    0.00 NO CHARGE
           MANAGERS RE POTENTIAL ENGAGEMENT.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/08/22   CONFERENCE WITH Z. SHECHTMAN RE DEBRIEF OF POTENTIAL              0.10         35.00
           PROPERTY MANAGERS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/09/22   ZOOM CONFERENCE WITH Z. SHECHTMAN, CLIENT ATTORNEY, AND           0.00 NO CHARGE
           BROKERS RE POTENTIAL ENGAGEMENT.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/09/22   REVIEW PROPOSED AGREEMENT WITH POTENTIAL CPA, AND                 0.10         69.50
           PREPARE MEMO TO Z. SHECHTMAN AND A. L. KEBEH RE SAME
           ATTORNEY: JOHN N. TEDFORD
06/09/22   EMAILS TO/FROM CREM GROUP AND J. ZHOU RE PROPERTY                 0.10         59.50
           BROKERAGE
           ATTORNEY: ZEV SHECHTMAN
06/10/22   TEL. CONF. WITH J. ZHOU RE ACCOUNTANTS AND OTHER                  0.70      416.50
           PROFESSIONALS
           ATTORNEY: ZEV SHECHTMAN
06/10/22   TEL. CONF. WITH M. CIANCIULLI RE 30 ACRES                         0.20      119.00
           ATTORNEY: ZEV SHECHTMAN



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06/11/22   REVIEW AND REPLY TO EMAIL FROM T. TONG RE MORS AND TAX           0.30      178.50
           RETURNS
           ATTORNEY: ZEV SHECHTMAN
06/11/22   DRAFT EMAIL TO CLIENT RE EMPLOYMENT OF BROKER FOR OTHER          0.20      119.00
           PROPERTIES
           ATTORNEY: ZEV SHECHTMAN
06/13/22   TEL. CONF. WITH CREM GROUP AND M&M RE BROKERAGE SERVICES         0.90      535.50
           ATTORNEY: ZEV SHECHTMAN
06/13/22   FOLLOW UP WITH J. ZHOU RE TEL. CONF. WITH CREM GROUP AND         0.10         59.50
           M&M RE BROKERAGE SERVICES
           ATTORNEY: ZEV SHECHTMAN
06/14/22   CONFERENCE WITH Z. SHECHTMAN RE PREPARING EMPLOYMENT             0.10         35.00
           APPLICATION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/14/22   PREPARE EMPLOYMENT APPLICATION RE SPECIAL COUNSEL.               1.30      455.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/14/22   TEL. CONF. WITH A. L. KEBEH RE EMPLOYMENT OF SPECIAL COUNSEL     0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/15/22   CONF. WITH Z. SHECHTMAN RE BROKER EMPLOYMENT APPLICATION         0.10         33.50
           ASSOCIATE: DANIELLE R. GABAI
06/15/22   PREPARE BROKER EMPLOYMENT APPLICATION                            0.70      234.50
           ASSOCIATE: DANIELLE R. GABAI
06/15/22   CONFERENCE WITH Z. SHECHTMAN RE ATKINSON EMPLOYMENT              0.10         35.00
           APPLICATION/FINANCING MOTION DETAILS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/15/22   CONTINUE PREPARING APPLICATION TO EMPLOY SPECIAL COUNSEL.        1.90      665.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/15/22   REVISE SPECIAL COUNSEL EMPLOYMENT APPLICATION.                   0.60      210.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/15/22   FINALIZE APPLICATION RE SPECIAL COUNSEL EMPLOYMENT.              0.60      210.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/15/22   REVIEW MEMO FROM Z. SHECHTMAN RE INFORMATION NEEDED FOR          0.10         69.50
           ACCOUNTANT EMPLOYMENT APPLICATION, AND PREPARE REPLY RE
           SAME
           ATTORNEY: JOHN N. TEDFORD
06/15/22   CONFERENCE WITH D. GABAI RE BROKER EMPLOYMENT                    0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/15/22   EMAIL A. L. KEBEH RE APPLICATION TO EMPLOY SPECIAL COUNSEL       0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/15/22   EMAIL TO D. MARTINEZ RE APPLICATION TO EMPLOY SPECIAL            0.10         59.50
           COUNSEL
           ATTORNEY: ZEV SHECHTMAN
06/15/22   CALLS WITH J. ZHOU RE EMPLOYMENT OF BROKER AND                   0.10         59.50
           EMPLOYMENT OF SPECIAL COUNSEL


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           ATTORNEY: ZEV SHECHTMAN
06/15/22   REVIEW AND REPLY TO QUESTIONS FROM ACCOUNTANTS RE                 0.30      178.50
           ACCOUNTING WORK
           ATTORNEY: ZEV SHECHTMAN
06/15/22   REVIEW AND REVISE APPLICATION TO EMPLOY SPECIAL COUNSEL           0.30      178.50
           AND DRAFT EMAILS RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/15/22   TEL. CONF. WITH D. MARTINEZ RE APPLICATION TO EMPLOY SPECIAL      0.30      178.50
           COUNSEL
           ATTORNEY: ZEV SHECHTMAN
06/15/22   TEL. CONF. WITH M. CIANCIULLI AND L. MCDERMOTT RE ISSUES WITH     0.70      416.50
           LISTING PROPERTY
           ATTORNEY: ZEV SHECHTMAN
06/15/22   CONFERENCE WITH D. GABAI RE APPLICATION TO EMPLOY BROKER          0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/15/22   CONFERENCES WITH A. L. KEBEH RE APPLICATION TO EMPLOY             0.10         59.50
           SPECIAL COUNSEL
           ATTORNEY: ZEV SHECHTMAN
06/16/22   REVIEW CORRESPONDENCE FROM CREDITOR'S COMMITTEE RE                0.10         35.00
           OPPOSITON TO SPECIAL COUNSEL EMPLOYMENT APPLICATION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/16/22   CONFERENCE WITH D. GABAI RE EMPLOYMENT OF BROKERS                 0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
06/16/22   REVIEW EMAIL FROM J. DULBERG RE OPPOSITION TO APPLICATION         0.40      238.00
           TO EMPLOY SPECIAL COUNSEL; PREPARE REPLY; EMAILS TO/FROM J.
           ZHOU AND D. MARTINEZ RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/17/22   PREPARE BROKER EMPLOYMENT APP                                     1.20      402.00
           ASSOCIATE: DANIELLE R. GABAI
06/17/22   CONF. WITH Z. SHECHTMAN RE EMPLOYMENT BROKER                      0.10         33.50
           ASSOCIATE: DANIELLE R. GABAI
06/17/22   REVIEW CORRESPONDENCE FROM CREDITOR'S COMMITTEE RE                0.10         35.00
           ISSUES WITH SPECIAL COUNSEL EMPLOYMENT APP
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/17/22   REVIEW MEMO FROM Z. SHECHTMAN RE COMMITTEE'S COMMENTS             0.10         69.50
           RE EMPLOYMENT APPLICATION OF OTHER PROFESSIONAL, AND
           PREPARE REPLY RE SAME
           ATTORNEY: JOHN N. TEDFORD
06/17/22   REVIEW AND REPLY TO MULTI. EMAILS FROM J. DULBERG RE              1.00      595.00
           PROFESSIONAL FEE ARRANGEMENT RE SPECIAL COUNSEL; EMAIL
           CLIENT AND EMAIL J. N. TEDFORD RE SAME; PREPARE DETAILED
           REPLY TO J. DULBERG; DRAFT EMAIL TO CLIENT RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/17/22   TEL. CONF. WITH M. CIANCIULLI RE LISTING                          0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/17/22   TEL. CONF. WITH T. TONG RE MORS AND EMPLOYMENT APPLICATION        0.40      238.00


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           ATTORNEY: ZEV SHECHTMAN
06/17/22   REVIEW CPA ENGAGEMENT AGREEMENT AND DRAFT EMAIL TO               0.30      178.50
           CLIENT RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/17/22   FURTHER CALLS WITH M. CIANCIULLI RE LISTING AGREEMENTS           0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
06/20/22   TEL. CONF. WITH Z. SHECHTMAN RE TERMS OF EMPLOYMENT OF           0.10         69.50
           PROFESSIONALS, MORS, AND RELATED ISSUES
           ATTORNEY: JOHN N. TEDFORD
06/20/22   REVIEW BROKER LISTING AGREEMENT FOR LINCOLN HEIGHTS AND          0.20      119.00
           DRAFT EMAIL TO BROKER RE SAME AND EMAIL TO J. ZHOU RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/20/22   TEL. CONF. WITH J. N. TEDFORD RE TERMS OF EMPLOYMENT OF          0.10         59.50
           PROFESSIONALS, MORS, AND RELATED ISSUES
           ATTORNEY: ZEV SHECHTMAN
06/21/22   UPDATE AND REVISE BROKER EMPLOYMENT APP                          1.60      536.00
           ASSOCIATE: DANIELLE R. GABAI
06/21/22   REVIEW CORRESPONDENCE FROM CREDITORS COMMITTEE RE                0.10         35.00
           PROBLEMS WITH SPECIAL COUNSEL EMPLOYMENT APPLICATION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/21/22   REVIEW CORRESPONDENCE RE ACCOUNTANT FEE APPLICATION.             0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/21/22   TEL. CONF. WITH DEBTOR'S COUNSEL AND Z. SHECHTMAN RE             0.10         35.00
           OPPOSITION ATTORNEYS FEES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/21/22   DRAFT EMAIL TO S. PANTA RE APPLICATION TO EMPLOY CPA             0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/21/22   PREPARE VERY DETAILED EMAIL TO COMMITTEE COUNSEL RE              1.90     1130.50
           POTENTIAL OBJECTION TO EMPLOYMENT APPLICATIONS
           ATTORNEY: ZEV SHECHTMAN
06/22/22   REVISE BROKER EMPLOYMENT APPLICATION                             0.40      134.00
           ASSOCIATE: DANIELLE R. GABAI
06/22/22   PREPARE STIPULATION WITH CREDITORS COMMITTEE RE EXTENSION        0.60      210.00
           OF FILING DEADLINES RE OPPOSITION TO EMPLOYMENT APPS; REVISE
           SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/22/22   DRAFT ORDER RE RE EXTENSION OF FILING DEADLINES RE               0.20         70.00
           OPPOSITION TO EMPLOYMENT APPS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/22/22   TEL. CONF. WITH M. CIANCIULLI RE LISTING AGREEMENT               0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
06/22/22   REVIEW AND REVISE EMPLOYMENT APPLICATION; EMAILS TO/FROM         1.20      714.00
           D. GABAI AND BROKERS RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/22/22   DRAFT EMAIL TO S. ENG RE EMPLOYMENT AS PROPERTY MANAGER          0.10         59.50


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           ATTORNEY: ZEV SHECHTMAN
06/22/22   REVIEW AND REVISE STIPULATION AND ORDER EXTENDING                 0.40      238.00
           RESPONSE PERIOD RE APPLICATIONS TO EMPLOY COUNSEL; EMAILS
           TO COMMITTEE RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/22/22   REVIEW FROM Z. SHECHTMAN RE ACCOUNTANTS EMPLOYMENT                0.50      137.50
           APPLICATION (.1); PREPARE EMPLOYMENT APPLICATION OF
           ACCOUNTANTS
           ASSISTANT: SHELLY PANTA
06/23/22   TEL. CONF. WITH D. HUBERT RE POSSIBLE LISTINGS                    0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
06/23/22   REVIEW AND REPLY TO EMAIL FROM M. CIANCIULLI RE LISTING           0.10         59.50
           AGREEMENT
           ATTORNEY: ZEV SHECHTMAN
06/23/22   CALL WITH J. ZHOU RE BROKERS EMPLOYMENT APPLICATION               0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
06/23/22   CALL WITH M. CIIANCIULLI RE LISTING AGREEMENT AND                 0.20      119.00
           EMPLOYMENT APPLICATION
           ATTORNEY: ZEV SHECHTMAN
06/23/22   REVIEW AND REVISE BROKERS' EMPLOYMENT APPLICATION RE              0.90      535.50
           LINCOLN HEIGHTS AND EMAILS RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/23/22   FINALIZE AND HANDLE FILING OF APPLICATION TO EMPLOY               0.70      416.50
           BROKERS (BNC)
           ATTORNEY: ZEV SHECHTMAN
06/23/22   EXCHANGE EMAILS WITH BROKERS AND CLIENT AND TEAM                  0.20      119.00
           REGARDING NEXT STEPS RE LINCOLN HEIGHTS LISTING
           ATTORNEY: ZEV SHECHTMAN
06/24/22   CONFERENCE WITH Z. SHECHTMAN RE CREDITOR'S COMMITTEE              0.10         35.00
           OBJECTION TO EMPLOYMENT APPS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/24/22   REVIEW CREDITOR EMPLOYMENT APPLICATION OPPOSITIONS.               0.40      140.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/24/22   CONFERENCE WITH Z. SHECHTMAN RE STRATEGY RE REPLY TO              0.40      140.00
           EMPLOYMENT APPLICATION OBJECTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/24/22   REVIEW REVISED LISTING AGREEMENT AND PREPARE NOTICE RE            0.20      119.00
           SAME; EXCHANGE EMAILS WITH BROKER
           ATTORNEY: ZEV SHECHTMAN
06/24/22   REVISE APPLICATION TO EMPLOY ACCOUNTANTS                          1.20      330.00
           ASSISTANT: SHELLY PANTA
06/28/22   RESEARCH RE REQUEST FOR COMPENSATION AS ATTORNEY FOR              0.20         70.00
           CREDITOR ON CREDITOR'S COMMITTEE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/28/22   PREPARE APPLICATION TO EMPLOY PROPERTY MANAGER                    0.90      247.50
           ASSISTANT: SHELLY PANTA


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06/29/22   CONFERENCE WITH Z. SHECHTMAN RE STATUS OF REPLY TO              0.20         70.00
           COMMITTEE'S EMPLOYMENT AGREEMENT OBJECTIONS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/29/22   OUTLINE ARGUMENTS RE REPLY TO EMPLOYMENT OBJECTIONS.            0.40      140.00
           (DG/ATKINSON).
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/29/22   DRAFT REPLY TO EMPLOYMENT OBJECTIONS (DG/ATKINSON).             3.20     1120.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/29/22   REVIEW CORRESPONDENCE RE ANALYSIS OF COMPENSATION               0.40      140.00
           REQUEST ISSUE (CHEKIAN).
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/29/22   REVIEW OBJECTIONS TO DG AND ATKINSON EMPLOYMENT APPS IN         0.70      245.00
           CONNECTION WITH DRAFT OF REPLY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/29/22   RESEARCH RE LEGAL RESEARCH RE DRAFT OF REPLY TO                 0.50      175.00
           EMPLOYMENT APPLICATIONS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/29/22   REVISE REPLY TO EMPLOYMENT OBJECTIONS (DG/ATKINSON).            0.40      140.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/29/22   DRAFT STIPULATION TO EXTEND DEADLINE TO RESPOND TO              0.40      140.00
           CREDITOR'S ATTORNEY REQUEST FOR COMPENSATION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/30/22   TEL. CONF. WITH Z. SHECHTMAN RE REPLY TO EMPLOYMENT APPS        0.30      105.00
           REVISION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/30/22   CONFERENCE WITH Z. SHECHTMAN RE WITHDRAWAL OF OPPOSITION        0.20         70.00
           TO EMPLOYMENT APPLICATIONS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/30/22   DRAFT ORDER RE STIPULATION TO EXTEND DEADLINE TO OBJECT TO      0.30      105.00
           CREDITOR'S ATTORNEY REQUEST FOR COMPENSATION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/30/22   FINALIZE STIPULATION RE EXTENDING REQUEST FOR                   0.10         35.00
           COMPENSATION DEADLINE (CHEKIAN).
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/30/22   FINALIZE REPLY TO OBJECTION TO DG/ATKINSON EMPLOYMENT           0.10         35.00
           APPS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/30/22   REVIEW AND REVISE REPLY TO EMPLOYMENT APPLICATION               0.50      175.00
           OBJECTIONS PER Z. SHECHTMAN EDITS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/30/22   TEL. CONF. WITH S. PANTA RE PROPERTY MANAGER, BROKERS' AND      0.60      357.00
           CPA'S APPLICATIONS
           ATTORNEY: ZEV SHECHTMAN
06/30/22   REVISE PROPERTY MANAGER EMPLOYMENT APPLICATION                  0.60      165.00
           ASSISTANT: SHELLY PANTA
06/30/22   TEL. CONF. WITH Z. SHECHTMAN RE PROPERTY MANAGER                0.30         82.50
           APPLICATION

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           ASSISTANT: SHELLY PANTA
06/30/22   TEL. CONF. WITH Z. SHECHTMAN RE ACCOUNTANTS EMPLOYMENT          0.30         82.50
           APPLICATION
           ASSISTANT: SHELLY PANTA
07/01/22   DRAFT EMAILS TO S. PANTA RE APPLICATIONS TO EMPLOY BROKERS      0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/01/22   CONFERENCES WITH B. FRIEDMAN RE LISTINGS                        0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/01/22   REVIEW MEMOS RE EMPLOYMENT OF BROKERS FOR ARCADIA               0.50      137.50
           PROPERTY AND DE CELIS PROPERTIES
           ASSISTANT: SHELLY PANTA
07/05/22   REVIEW TENTATIVE RULING CALENDAR RE EMPLOYMENT                  0.20         70.00
           APPLICATIONS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/05/22   REVISE APPLICATION TO EMPLOY ACCOUNTANTS                        0.90      247.50
           ASSISTANT: SHELLY PANTA
07/05/22   REVISE EMPLOYMENT OF PROPERTY MANAGER                           0.60      165.00
           ASSISTANT: SHELLY PANTA
07/05/22   EDIT PROPERTY MANAGER ENGAGEMENT AGREEMENT                      0.40      110.00
           ASSISTANT: SHELLY PANTA
07/05/22   PREPARE APPLICATION TO EMPLOY BROKER (HUBERT)                   0.40      110.00
           ASSISTANT: SHELLY PANTA
07/06/22   DRAFT ORDER RE MULTIPLE EMPLOYMENT APPLICATIONS.                0.60      210.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/06/22   REVISE AND FINALIZE ORDERS RE EMPLOYMENT APPS.                  0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/06/22   REVIEW AND REVISE ORDERS RE EMPLOYMENT                          0.50      297.50
           ATTORNEY: ZEV SHECHTMAN
07/06/22   EXCHANGE EMAILS WITH D. MARTINEZ RE EMPLOYMENT                  0.20      119.00
           PROCEDURES
           ATTORNEY: ZEV SHECHTMAN
07/06/22   REVIEW AND REVISE APPLICATION TO EMPLOY PROPERTY                0.50      297.50
           MANAGER; EMAILS TO/FROM S. PANTA RE SAME
           ATTORNEY: ZEV SHECHTMAN
07/07/22   REVISE PROPERTY MANAGEMENT AGREEMENT                            0.50      137.50
           ASSISTANT: SHELLY PANTA
07/08/22   PREPARE NO PARTY DECL. AND ORDER RE BROKERS EMPLOYMENT          0.50      167.50
           ASSOCIATE: DANIELLE R. GABAI
07/08/22   DRAFT EMAIL TO D. GABAI RE EMPLOYMENT OF CREM AND M&M           0.10         59.50
           ORDER
           ATTORNEY: ZEV SHECHTMAN
07/08/22   REVIEW ORDERS APPROVING EMPLOYMENT AND DRAFT EMAIL TO D.        0.10         59.50
           MARTINEZ RE SAME


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           ATTORNEY: ZEV SHECHTMAN
07/08/22   REVIEW AND REVISE APPLICATION TO EMPLOY CPA                     0.50      297.50
           ATTORNEY: ZEV SHECHTMAN
07/08/22   REVISE HUBERT BROKER APPLICATION                                0.80      220.00
           ASSISTANT: SHELLY PANTA
07/12/22   EMAILS TO/FROM D. GABAI AND BROKERS RE EMPLOYMENT               0.10         59.50
           APPLICATION
           ATTORNEY: ZEV SHECHTMAN
07/13/22   CONFERENCE WITH S. PANTA RE APPLICATION TO EMPLOY BROKER        0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/13/22   CONFERENCE WITH S. PANTA RE EMPLOYMENT OF BROKERS               0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/13/22   EDIT CPA EMPLOYMENT APPLICATION AND SEND TO CPA FOR             0.30         82.50
           REVIEW AND COMMENT
           ASSISTANT: SHELLY PANTA
07/13/22   REVIEW MEMO FROM Z. SHECHTMAN TO DARREN HUBERT RE               0.20         55.00
           COMMISSION STRUCTURE AND REVIEW RESPONSE
           ASSISTANT: SHELLY PANTA
07/13/22   REVIEW REVISED ENGAGEMENT AGREEMENT FOR CPA                     0.10         27.50
           ASSISTANT: SHELLY PANTA
07/13/22   REVISE PROPERTY MANAGER APPLICATION                             0.30         82.50
           ASSISTANT: SHELLY PANTA
07/13/22   REVISE BROKER AVENUE 8 EMPLOYMENT APPLICATION                   0.90      247.50
           ASSISTANT: SHELLY PANTA
07/13/22   REVIEW MEMOS RE ADDITIONAL SERVICES FOR CPA                     0.20         55.00
           ASSISTANT: SHELLY PANTA
07/13/22   ADDITIONAL EDITS TO CPA APPLICATION                             0.50      137.50
           ASSISTANT: SHELLY PANTA
07/14/22   REVIEW CORRESPONDENCE FROM Z. SHECHTMAN RE STRATEGY RE          0.10         35.00
           EMPLOYMENT APPS FOR SAN MARINO AND ARCADIA PROPERTY
           BROKERS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/14/22   REVIEW AND REVISE APPLICATION TO EMPLOY D. HUBERT RE VAN        0.70      416.50
           NUYS PROPERTY AND EMAILS RE SAME
           ATTORNEY: ZEV SHECHTMAN
07/14/22   FURTHER REVISE APPLICATION TO EMPLOY BROKERS RE SAN             0.50      297.50
           MARINO
           ATTORNEY: ZEV SHECHTMAN
07/14/22   FINALIZE AVENUE 8 BROKER APPLICATION                            0.20         55.00
           ASSISTANT: SHELLY PANTA
07/14/22   PREPARE STATEMENT RE CASH COLLATERAL IN CONNECTION WITH         0.40      110.00
           CPA APPLICATION
           ASSISTANT: SHELLY PANTA



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07/14/22   PREPARE APPLICATION TO EMPLOY REMAX AND COLDWELL BANKER         1.50      412.50
           RE SAN MARINO
           ASSISTANT: SHELLY PANTA
07/15/22   REVIEW AND REVISE AND FINALIZE EMPLOYMENT APPS RE SAN           0.50      297.50
           MARINO, VAN NUYS AND CPA
           ATTORNEY: ZEV SHECHTMAN
07/15/22   REVIEW NUMEROUS MEMOS RE SAN MARINO PROPERTY BROKER             0.40      110.00
           APPLICATION
           ASSISTANT: SHELLY PANTA
07/15/22   PREPARE EXHIBITS TO SAN MARINO PROPERTY BROKER                  0.40      110.00
           APPLICATION
           ASSISTANT: SHELLY PANTA
07/18/22   REVIEW CORRESPONDENCE RE REPLACING BROKERS RE SAN MARINO        0.20         70.00
           PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/18/22   REVISE PROPERTY MANAGER APPLICATION                             0.20         55.00
           ASSISTANT: SHELLY PANTA
07/18/22   FINALIZE APPLICATION TO EMPLOY PROPERTY MANGER AND              0.40      110.00
           PREPARE EXHIBITS
           ASSISTANT: SHELLY PANTA
07/20/22   REVIEW DOCKET RE EMPLOYMENT APPS.                               0.00 NO CHARGE
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/20/22   CONFERENCE WITH S. PANTA RE STATUS OF ARCADIA PROFESSIONAL      0.20         70.00
           EMPLOYMENT APPS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/20/22   CONFERENCE WITH Z. SHECHTMAN RE ARCADIA EMPLOYMENT              0.10         35.00
           APPLICATION; RELIEF FROM STAY MOTION RE SAN MARINO.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/20/22   CORRESPONDENCE WITH S. PANTA RE ARCADIA EMPLOYMENT              0.10         35.00
           APPLICATION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/20/22   CONFERENCE WITH A. L. KEBEH RE ARCADIA EMPLOYMENT               0.10         59.50
           APPLICATION; RELIEF FROM STAY MOTION RE SAN MARINO
           ATTORNEY: ZEV SHECHTMAN
07/21/22   TEL. CONF. WITH BROKER RE AMENDMENT TO EMPLOYMENT               0.10         35.00
           APPLICATION (SAN MARINO).
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/21/22   REVIEW AND RESPOND TO MEMOS RE BROKER EMPLOYMENT RE             0.30         82.50
           ARCADIA PROPERTY
           ASSISTANT: SHELLY PANTA
07/21/22   DRAFT REAL ESTATE BROKER APPLICATION RE ARCADIA PROPERTY        0.70      192.50
           ASSISTANT: SHELLY PANTA
07/25/22   PREPARE FOLLOW UP EMAIL RE APPLICATION TO EMPLOY BROKER         0.20         55.00
           RE ARCADIA AND REVIEW RESPONSE
           ASSISTANT: SHELLY PANTA
07/29/22   PREPARE ORDERS RE BROKERS FOR SAN MARINO AND VAN NUYS           0.40      110.00
           PROPERTY

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           ASSISTANT: SHELLY PANTA
08/03/22   CHECK PACER FOR ANY OPPOSITION TO APPLICATION TO EMPLOY         0.10         27.50
           BROKERS
           ASSISTANT: SHELLY PANTA
08/03/22   REVISE ORDER RE AVENUE 8 BROKER                                 0.20         55.00
           ASSISTANT: SHELLY PANTA
08/03/22   REVISE ORDER RE COLDWELL BANKER EMPLOYMENT RE LORAIN            0.20         55.00
           PROPERTY
           ASSISTANT: SHELLY PANTA
08/05/22   EMAIL TO S. PANTA RE ORDERS ON APPROVAL OF BROKERS'             0.10         59.50
           EMPLOYMENT
           ATTORNEY: ZEV SHECHTMAN
08/18/22   CHECK PACER FOR ANY OPPOSITION TO APPLICATION TO EMPLOY         0.10         27.50
           BROKER
           ASSISTANT: SHELLY PANTA
08/18/22   PREPARE ORDERS RE BROKER                                        0.40      110.00
           ASSISTANT: SHELLY PANTA
08/18/22   PREPARE DECLARATION OF NON OPPOSITION RE BROKER                 0.10         27.50
           ASSISTANT: SHELLY PANTA
08/18/22   SEVERAL EMAILS BETWEEN AALRR RE PROFESSIONAL FEE                0.60      165.00
           STATEMENT EDITS.
           ASSISTANT: SHELLY PANTA
08/19/22   REVIEW AND REPLY TO EMAIL FROM S. PANTA RE ORDER ON             0.10         59.50
           EMPLOYMENT OF ENG AND FRIEDMAN RE ARCADIA PROPERTY
           ATTORNEY: ZEV SHECHTMAN
08/30/22   PREPARE ORDER RE PROPERTY MANAGER                               0.20         55.00
           ASSISTANT: SHELLY PANTA
08/30/22   PREPARE ORDER RE KOO CHOW                                       0.20         55.00
           ASSISTANT: SHELLY PANTA
08/30/22   REVIEW TENTATIVE RE HEARING RE PROPERTY MANAGER AND             0.10         27.50
           ACCOUNTANTS
           ASSISTANT: SHELLY PANTA
08/31/22   REVISE ORDER RE STEPHEN ENG AS PROPERTY MANAGER                 0.30         82.50
           ASSISTANT: SHELLY PANTA
08/31/22   REVISE ORDER RE KOO AS ACCOUNTANTS                              0.50      137.50
           ASSISTANT: SHELLY PANTA
09/01/22   REVIEW EMAILS FROM S. PANTA RE ORDERS RE EMPLOYMENT OF          0.10         59.50
           OTHER PROFESSIONALS
           ATTORNEY: ZEV SHECHTMAN
09/02/22   REVIEW ORDERS ON EMPLOYMENT OF MANAGER AND CPA AND              0.20      119.00
           DRAFT EMAIL TO S. PANTA RE SAME
           ATTORNEY: ZEV SHECHTMAN
09/06/22   REVIEW ORDERS RE EMPLOYMENT OF ACCOUNTANTS AND BROKER;          0.30      105.00
           CORRESPONDENCE WITH SAME RE INTERPRETATION OF ORDER.
           ATTORNEY: ALPHAMORLAI L. KEBEH

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09/07/22   CONFERENCE WITH Z. SHECHTMAN RE INTERPRETATION OF ORDER          0.10         35.00
           EMPLOYING ACCOUNTANTS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/07/22   CORRESPONDENCE WITH J. N. TEDFORD RE INTERPRETATION OF           0.20         70.00
           ORDER EMPLOYING ACCOUNTANTS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/07/22   ANALYZE ORDER TO EMPLOY ACCOUNTANTS RE COMPENSATION              0.20         70.00
           STRUCTURE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/07/22   CONFERENCE WITH A. L. KEBEH RE ORDER TO EMPLOY                   0.10         59.50
           ACCOUNTANTS
           ATTORNEY: ZEV SHECHTMAN
09/08/22   CORRESPONDENCE WITH ACCOUNTANT RE INTERPRETATION OF              0.10         35.00
           ORDER TO EMPLOY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/08/22   PREPARE KOO PFS                                                  0.40      110.00
           ASSISTANT: SHELLY PANTA
SUBTOTAL FOR FEE/EMPLOYMENT OBJECTIONS [FO]                                63.80    26420.50


LITIGATION [L1]
06/16/22   DRAFT EMAILS TO ATTORNEYS FOR DEFENDANTS RE LITIGATION           0.30      178.50
           MATTERS REQUESTS FOR CONTINUANCES
           ATTORNEY: ZEV SHECHTMAN
06/17/22   DRAFT EMAILS TO DEFENSE ATTORNEYS RE PROPOSED                    0.10         59.50
           CONTINUANCES
           ATTORNEY: ZEV SHECHTMAN
06/20/22   REVIEW EMAIL FROM P. RYAN RE STIPULATION AND SETTLEMENT          0.10         59.50
           DISCUSSIONS AND DRAFT EMAIL TO CLIENT RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/21/22   REVIEW AND REPLY TO EMAILS FROM P. KIM RE                        0.10         59.50
           EXTENSION/CONTINUANCE STIPULATIONS
           ATTORNEY: ZEV SHECHTMAN
06/21/22   REVIEW AND REVISE STIPULATIONS TO CONTINUE ADVERSARY             0.40      238.00
           PROCEEDINGS AND DRAFT EMAILS TO P. KIM AND P. RYAN RE SAME
           AND DRAFT EMAIL TO A. L. KEBEH RE SAME
           ATTORNEY: ZEV SHECHTMAN
06/21/22   REVIEW AND REVISE STIPULATIONS TO CONTINUE / EXTEND              0.40      238.00
           DATES/DEADINES IN CONTESTED MATTER RE CLAIM OBJECTIONS
           ATTORNEY: ZEV SHECHTMAN
06/21/22   REVIEW AND REPLY TO EMAIL FROM A. L. KEBEH RE ORDERS ON          0.10         59.50
           STIPULATIONS
           ATTORNEY: ZEV SHECHTMAN
06/22/22   REVIEW ENTERED ORDERS ON STIPULATIONS TO CONTINUE                0.10         59.50
           LITIGATION STATUS CONFERENCES AND DATES AND DRAFT EMAIL
           TO CLIENT RE SAME
           ATTORNEY: ZEV SHECHTMAN
07/20/22   REVIEW CORRESPONDENCE FROM DEBTOR'S SPECIAL LITIGATION           0.10         35.00
           COUNSEL RE UPDATE ON LITIGATION ANALYSIS.

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           ATTORNEY: ALPHAMORLAI L. KEBEH
07/21/22   CORRESPONDENCE WITH LITIGATION TEAM RE REVIEW OF                 0.10         35.00
           CORPORATE DOCUMENTS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/21/22   TEL. CONF. WITH Z. SHECHTMAN RE PROCEDURAL REQUIREMENT           0.10         35.00
           FOR LITIGATION COUNSEL
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/21/22   CORRESPONDENCE WITH LITIGATION COUNSEL RE PROCEDURAL             0.30      105.00
           REQUIREMENTS FOR APPEARANCE IN BANKRUPTCY COURT; REVIEW
           RULES RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/21/22   TEL. CONF. WITH A. L. KEBEH RE PROCEDURAL REQUIREMENT FOR        0.10         59.50
           LITIGATION COUNSEL
           ATTORNEY: ZEV SHECHTMAN
07/22/22   COORDINATE BANKRUPTCY COURT ADMISSION GUIDANCE FOR               0.20         70.00
           SPECIAL LITIGATION COUNSEL.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/01/22   TEL. CONF. WITH D. MARTINEZ RE LITIGATION MATTERS                0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
08/02/22   CORRESPONDENCE WITH LITIGATION COUNSEL RE LITIGATION             0.10         35.00
           DATES AND DEADLINES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/03/22   PREPARE DATES AND DEADLINES RE ADV. PROCEEDINGS AND              0.40      140.00
           CLAIMS OBJECTION FOR SPECIAL LITIGATION COUNSEL.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/04/22   CORRESPONDENCE WITH Z. SHECHTMAN RE REQUEST FOR NEW              0.20         70.00
           SUMMONS; SEARCH FOR SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/04/22   CONFERENCE WITH Z. SHECHTMAN RE FORM FOR NEW SUMMONS.            0.00 NO CHARGE
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/04/22   REVIEW PROOF OF SERVICE RE BETTY ZHENG; CORRESPONDENCE           0.00 NO CHARGE
           WITH LITIGATION COUNSEL RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/04/22   CONFERENCE WITH A. L. KEBEH RE FORM FOR NEW SUMMON               0.00 NO CHARGE
           ATTORNEY: ZEV SHECHTMAN
08/15/22   REVIEW UPCOMING CONTESTED MATTER DATES AND DEADLINES.            0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/15/22   PREPARE MULTIPLE STIPULATIONS RE BETULA LENTA CONTESTED          0.80      280.00
           MATTERS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/15/22   REVIEW STIPULATIONS RE BETULA LENTA CONTESTED MATTERS.           0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/15/22   TEL. CONF. WITH P. KIM RE CONTINUANCES RE ADVERSARY AND          0.20      119.00
           CONTENTED MATTER RE BETULA LENTA AND EMAIL A. L. KEBEH RE
           SAME
           ATTORNEY: ZEV SHECHTMAN


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08/16/22   REVIEW SPECIAL LITIGATION COUNSEL REQUEST FOR PRODUCTION         0.20         70.00
           AND INTERROGATORIES RE BETTY ZHENG.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/16/22   REVIEW DISCOVERY DOCUMENTS PREPARED BY SPECIAL COUNSEL           0.40      238.00
           AND DRAFT EMAILS TO COUNSEL RE SAME
           ATTORNEY: ZEV SHECHTMAN
08/18/22   CORRESPONDENCE WITH BETULA LENTA RE STIPULATION TO               0.10         35.00
           CONTINUE DEADLINES RE ADVERSARY PROCEEDING AND CLAIM
           OBJECTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/18/22   REVIEW AND REVISE STIPULATIONS RE BETULA LENTA LITIGATION        0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
08/19/22   REVISE STIPULATION RE CONTINUING LITIGATION DEADLINES;           0.10         35.00
           CORRESPONDENCE WITH BETULA COUNSEL RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/22/22   CORRESPONDENCE WITH BETULA COUNSEL RE STIPS TO CONTINUE          0.10         35.00
           DATES.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/22/22   FINALIZE BETULA STIPULATION RE CONTINUING LITIGATION             0.40      140.00
           DEADLINES; DRAFT ORDER RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/22/22   FINALIZE BETULA STIPULATION RE CONTINUING CLAIM OBJECTION        0.40      140.00
           DATES; DRAFT ORDER RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/23/22   REVIEW STIPULATIONS RE BETULA LENTA CONTESTED MATTERS.           0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/26/22   CORRESPONDENCE WITH SPECIAL LITIGATION COUNSEL RE NEW            0.10         35.00
           DATES/DEADLINES FOR BETULA LENTA MATTERS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/06/22   TEL. CONF. WITH IVY GAO RE PUBLIC RECORDS REQUEST INQUIRY        0.30      105.00
           (MULTIPLE); CORRESPONDENCE RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/06/22   DRAFT CORRESPONDENCE TO Z. SHECHTMAN RE PUBLIC RECORDS           0.30      105.00
           REQUEST; TEL. CONF. WITH Z. SHECHTMAN RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/06/22   TEL. CONF. WITH D. MARTINEZ RE LITIGATION STRATEGY AND           0.70      416.50
           DISCOVERY
           ATTORNEY: ZEV SHECHTMAN
09/08/22   REVIEW ORDERS RE STATUS CONFERENCE CONTINUANCE;                  0.20         70.00
           CORRESPONDENCE WITH Z. SHECHTMAN RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/08/22   CORRESPONDENCE WITH TESTA COUNSEL RE STIPULATION TO              0.20         70.00
           CONTINUE STATUS CONFERENCE; MULTIPLE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/08/22   CONFERENCE WITH Z. SHECHTMAN RE STIPULATION TO CONTINUE          0.20         70.00
           TESTA STATUS CONFERENCE.
           ATTORNEY: ALPHAMORLAI L. KEBEH


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09/08/22   REVIEW LITIGATION COUNSEL'S REQUEST TO CITY RE PLANNING          0.10         35.00
           DOCUMENTS (LINCOLN HEIGHTS).
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/08/22   DRAFT STIPULATION TO CONTINUE TESTA STATUS CONFERENCE;           0.80      280.00
           DRAFT ORDER RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/08/22   REVISE STIPULATION AND ORDER CONTINUING TESTA STATUS             0.40      140.00
           CONFERENCE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/08/22   FINALIZE STIPULATION TO CONTINUE TESTA STATUS CONFERENCE.        0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/08/22   CONFERENCE WITH A. L. KEBEH RE STIPULATION TO CONTINUE           0.10         59.50
           STATUS CONFERENCE RE TESTA ET AL.
           ATTORNEY: ZEV SHECHTMAN
09/08/22   EMAILS TO/FROM D. MARTINEZ RE COORDINATING ADVERSARIES           0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
09/09/22   REVIEW UPCOMING LITIGATION DATES AND DEADLINES.                  0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/09/22   CALENDARING DATES RE ADVERSARY PROCEEDINGS.                      0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/09/22   COMPLETE FINALIZING STIPULATION TO CONTINUE TESTA STATUS         0.20         70.00
           CONFERENCE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/12/22   REVIEW REVISED PUBLIC RECORDS REQUEST (Z. SHECHTMAN).            0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/14/22   REVIEW EMAIL FROM D. MARTINEZ RE LITIGATION STRATEGY             0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
09/20/22   REVIEW LITIGATION COUNSEL CORRESPONDENCE RE LITIGATION           0.10         35.00
           STRATEGY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/20/22   REVIEW SPECIAL LITIGATION COUNSEL'S ANALYSIS RE CALL WITH        0.20         70.00
           OPPOSING COUNSEL.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/20/22   REVIEW AND REPLY TO EMAIL FROM D. MARTINEZ RE LITIGATION         0.10         59.50
           STRATEGY
           ATTORNEY: ZEV SHECHTMAN
09/22/22   REVIEW LITIGATION COUNSEL'S 2004 MOTIONS RE ADVERSARY            0.50      175.00
           PROCEEDINGS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/22/22   TEL. CONF. WITH SPECIAL LIGITATION COUNSEL RE 2004 MOTION        0.40      140.00
           PROCEDURE; MULTIPLE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/22/22   TEL. CONF. WITH Z. SHECHTMAN RE REVIEW OF ADV. PROCEEDING        0.20         70.00
           2004 MOTIONS.
           ATTORNEY: ALPHAMORLAI L. KEBEH


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09/22/22   CORRESPONDENCE WITH SPECIAL LITIGATION COUNSEL RE                  0.20         70.00
           DEPOSITION STRATEGY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/22/22   TEL. CONF. WITH A. L. KEBEH RE REVIEW OF ADV. PROCEEDING 2004      0.20      119.00
           MOTIONS
           ATTORNEY: ZEV SHECHTMAN
09/23/22   TEL. CONF. WITH SPECIAL LITIGATION COUNSEL RE DEPOSITION AND       0.10         35.00
           DOCUMENT PRODUCTION REQUEST STRATEGY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/23/22   ANALYZE SPECIAL LITIGATION COUNSEL 2004 MOTION DRAFTS;             0.50      175.00
           PREPARE FOR MEETING WITH SPECIAL LITIGATION COUNSEL RE
           SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/26/22   TEL. CONF. WITH SPECIAL LITIGATION COUNSEL RE ISSUANCE OF          0.20         70.00
           SUBPOENAS AND NOTICES OF DEPOSITIONS IN BANKRUPTCY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/27/22   REVIEW CURRENT LITIGATION DEADLINES.                               0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/30/22   REVIEW AND REPLY TO EMAIL FROM D. MARTINEZ RE 2004 MOTIONS         0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
09/30/22   CONFERENCE WITH A. L. KEBEH RE EMAIL FROM D. MARTINEZ RE           0.10         59.50
           2004 MOTIONS
           ATTORNEY: ZEV SHECHTMAN
09/30/22   TEL. CONF. WITH A. SNYDER RE DISCOVERY PROCEDURES                  0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
SUBTOTAL FOR LITIGATION [L1]                                                 14.70     6247.50


MEETING OF CREDITORS [MC]
06/08/22   ZOOM CONFERENCE WITH Z. SHECHTMAN AND PACHULSKI                    0.00 NO CHARGE
           ATTORNEYS RE DIP FINANCING MOTION, STATUS OF CASE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
06/08/22   ZOOM WITH COMMITTEE COUNSEL AND A. L. KEBEH                        1.00      595.00
           ATTORNEY: ZEV SHECHTMAN
06/27/22   REVIEW AND REPLY TO EMAIL FROM COMMITTEE RE HANDLING OF            0.50      297.50
           VARIOUS PROPERTIES
           ATTORNEY: ZEV SHECHTMAN
06/28/22   CALL WITH R. SAUNDERS RE DISCUSSIONS RE PROPERTIES                 0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
06/28/22   TEL. CONF. WITH T. KAPUR RE COMMITTEE POSITION RE                  0.70      416.50
           EMPLOYMENT APPLICATION AND RE ARCADIA PROPERTY
           ATTORNEY: ZEV SHECHTMAN
07/12/22   TEL. CONF. WITH T. KAPUR RE STATUS RE SALES                        0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
08/02/22   TEL. CONF. WITH COMMITTEE COUNSEL RE STATUS OF SALE                0.40      238.00
           ATTORNEY: ZEV SHECHTMAN

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08/15/22   COORDINATE MEETING WITH UNSECURED CREDITOR'S COMMITTEE.          0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/16/22   CORRESPONDENCE WITH UNSECURED CREDITORS COUNSEL RE               0.20         70.00
           SCHEDULING MEETING WITH BROKERS; MULTIPLE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/16/22   CONFERENCE WITH Z. SHECHTMAN RE MEETING WITH CREDITORS           0.10         35.00
           COMMITTEE.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/16/22   COORDINATE MEETING WITH UNSECURED CREDITORS COMMITTEE            0.20         70.00
           AND BROKERS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/16/22   REVIEW EMAILS FROM A. L. KEBEH AND COMMITTEE COUNSEL RE          0.10         59.50
           SETTING UP MEETING WITH BROKERS
           ATTORNEY: ZEV SHECHTMAN
08/16/22   CONFERENCE WITH A. L. KEBEH RE MEETING WITH CREDITORS            0.10         59.50
           COMMITTEE
           ATTORNEY: ZEV SHECHTMAN
08/17/22   REVIEW UNSECURED CREDITORS COMMITTEE QUESTIONS RE                0.20         70.00
           PROPERTY LISTINGS; CORRESPONDENCE WITH BROKERS RE SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/18/22   CORRESPONDENCE WITH BROKERS AND COMMITTEE RE UPCOMING            0.10         35.00
           MEETING RE LINCOLN HEIGHTS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/18/22   ZOOM MEETING WITH COMMITTEE AND BROKERS RE STATUS OF             1.20      420.00
           PROPERTY LISTINGS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/18/22   CONFERENCE WITH Z. SHECHTMAN RE DEBRIEF OF CALL WITH             0.20         70.00
           UNSECURED COMMITTEE AND BROKERS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/18/22   ZOOM WITH COMMITTEE AND BROKERS RE STATUS OF LINCOLN             1.20      714.00
           HEIGHTS SALE
           ATTORNEY: ZEV SHECHTMAN
08/18/22   CONFERENCE WITH A. L. KEBEH RE MEETING WITH COMMITTEE            0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
08/25/22   REVIEW MONTHLY OPERATING REPORT IN CONNECTION WITH               0.50      175.00
           UNSECURED CREDITORS' INQUIRY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/25/22   REVIEW AND REPLY TO EMAILS RE COMMITTE INQUIRY                   0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
09/02/22   TEL. CONF. WITH T. KAPUR RE CASE STATUS                          0.30      178.50
           ATTORNEY: ZEV SHECHTMAN
09/06/22   REVIEW AND REPLY TO EMAIL FROM T. KAPUR RE STATUS RE             0.10         59.50
           PROPERTIES
           ATTORNEY: ZEV SHECHTMAN
SUBTOTAL FOR MEETING OF CREDITORS [MC]                                      8.00     4074.00



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PLAN AND DISCLOSURE STATEMENT [PD]
06/02/22   EMAILS WITH COMMITTEE COUNSEL RE SCHEDULING MEETINGS RE          0.10         59.50
           PLAN AND D/S
           ATTORNEY: ZEV SHECHTMAN
06/07/22   REVIEW COMMITTEE REDLINE RE DISCLOSURE STATEMENT                 0.50      297.50
           ATTORNEY: ZEV SHECHTMAN
06/09/22   DRAFT STIPULATION BETWEEN DEBTOR AND CREDITOR'S                  1.60      560.00
           COMMITTEE RE WITHDRAWAL OF PLAN AND TRUSTEE MOTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
SUBTOTAL FOR PLAN AND DISCLOSURE STATEMENT [PD]                             2.20      917.00


RELIEF FROM STAY [RF]
07/11/22   REVIEW Z. SHECHTMAN CORRESPONDENCE RE STATUS OF RELIEF           0.20         70.00
           FROM STAY MOTION AS AGAINST SAN MARINO PROPERTY; REVIEW
           CORRESPONDENCE RE ARCADIA PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/20/22   REVIEW 2ND LIENHOLDER RELIEF FROM STAY MOTION RE SAN             0.40      140.00
           MARINO PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/20/22   CORRESPONDENCE WITH CLIENT AND PROFESSIONAL TEAM RE              0.20         70.00
           RELIEF FROM STAY MOTION (SAN MARINO).
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/21/22   TEL. CONF. WITH Z. SHECHTMAN RE RELIEF FROM STAY MOTION          0.10         35.00
           OPPOSITION STRATEGY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/21/22   REVIEW RELIEF FROM STAY MOTION RE SAN MARINO PROPERTY.           0.40      140.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/21/22   STRATEGIZE ARGUMENTS RE OPPOSITION TO RELIEF FROM STAY           0.40      140.00
           MOTION (SAN MARINO).
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/21/22   DRAFT EMAIL TO J. WANG RE RELIEF FROM STAY MOTION                0.50      297.50
           ATTORNEY: ZEV SHECHTMAN
07/21/22   TEL. CONF. WITH A. L. KEBEH RE RELIEF FROM STAY MOTION           0.10         59.50
           OPPOSITION STRATEGY
           ATTORNEY: ZEV SHECHTMAN
07/22/22   REVIEW Z. SHECHTMAN CORRESPONDENCE WITH 3RD LIENHOLDER           0.10         35.00
           (DNQ) RE RELIEF FROM STAY MOTION
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/22/22   DRAFT EMAIL TO CLIENT RE RELIEF FROM STAY                        0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/22/22   EMAILS TO/FROM J. WANG RE RELIEF FROM STAY                       0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
07/26/22   CONFERENCE WITH Z. SHECHTMAN RE STRATEGY RE RELIEF FROM          0.20         70.00
           STAY MOTION (SAN MARINO).
           ATTORNEY: ALPHAMORLAI L. KEBEH


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07/26/22   CONFERENCE WITH Z. SHECHTMAN RE CALCULATION OF EQUITY IN         0.20         70.00
           SAN MARINO PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/26/22   OUTLINE/STRATEGIZE ARGUMENTS AGAINST RELIEF FROM STAY            0.60      210.00
           MOTION RE SAN MARINO PROPERTY; REVIEW RELIEF FROM STAY
           MOTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/26/22   CONFERENCE WITH A. L. KEBEH RE ANALYSIS RE RELIEF FROM STAY      0.20      119.00
           ATTORNEY: ZEV SHECHTMAN
07/26/22   EMAILS TO/FROM T. KAPUR RE RELIEF FROM STAY                      0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
07/27/22   RESEARCH RE ENFORCEABILITY OF DEFAULT INTEREST RATES IN          2.70      945.00
           BANKRUPTCY IN CONNECTION WITH RELIEF FROM STAY MOTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
07/29/22   CONTINUE RESEARCH RE ENFORCEABILITY OF DEFAULT INTEREST          1.10      385.00
           RATES IN CONNECTION WITH SAN MARINO RELIEF FROM STAY
           MOTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/05/22   EMAIL TO CLIENT RE RELIEF FROM STAY                              0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
08/07/22   DRAFT OPPOSITION TO RELIEF FROM STAY MOTION                      2.50     1487.50
           ATTORNEY: ZEV SHECHTMAN
08/07/22   CONTINUE DRAFTING OPPOSITION TO RELIEF FROM STAY MOTION          0.50      297.50
           ATTORNEY: ZEV SHECHTMAN
08/08/22   REVIEW Z. SHECHTMAN OPPOSITION TO CORONA RELIEF FROM STAY        0.20         70.00
           MOTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/08/22   FINALIZE OPPOSITION TO CORONA RELIEF FROM STAY MOTION.           0.40      140.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/11/22   REVIEW RBB RELIEF FROM STAY MOTION.                              0.60      210.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/15/22   REVIEW RBB MOTION FOR RELIEF FROM STAY.                          0.50      175.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/15/22   REVIEW CORONA'S REPLY RE CORONA RELIEF FROM STAY MOTION.         0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/16/22   CONFERENCE WITH Z. SHECHTMAN RE RELIEF FROM STAY MOTION          0.20         70.00
           STRATEGY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/16/22   CONFERENCE WITH A. L. KEBEH RE REPLY RE CORONA RELIEF FROM       0.20      119.00
           STAY
           ATTORNEY: ZEV SHECHTMAN
08/17/22   REVIEW RBB MOTION FOR RELIEF FROM STAY.                          0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/17/22   OUTLINE OPPOSITION TO RBB RELIEF FROM STAY MOTION.               0.70      245.00


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           ATTORNEY: ALPHAMORLAI L. KEBEH
08/17/22   RESEARCH RE DEFENSES TO RELIEF FROM STAY MOTION.                 0.70      245.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/17/22   DRAFT OPPOSITION TO RBB RELIEF FROM STAY MOTION.                 2.30      805.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/17/22   REVISE OPPOSITION TO RBB RELIEF FROM STAY MOTION.                0.50      175.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/19/22   CONFERENCE WITH Z. SHECHTMAN RE RELIEF FROM STAY                 0.20         70.00
           OPPOSITION (RBB).
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/19/22   TEL. CONF. WITH Z. SHECHTMAN AND COUNSEL FOR ROYAL               0.40      140.00
           BUSINESS BANK RE RELIEF FROM STAY MOTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/19/22   CONFERENCE WITH Z. SHECHTMAN RE DEBRIEF OF CALL WITH             0.20         70.00
           COUNSEL FOR ROYAL BUSINESS BANK.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/19/22   CORRESPONDENCE WITH SAN MARINO BROKERS RE CALL WITH              0.30      105.00
           RBB'S COUNSEL.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/19/22   REVIEW OPPOSITION TO RBB RELIEF FROM STAY MOTION; REVISE         0.60      210.00
           SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/19/22   REVIEW OPPOSITION TO RBB RELIEF FROM STAY MOTION                 0.50      297.50
           ATTORNEY: ZEV SHECHTMAN
08/19/22   CONFERENCE WITH A. L. KEBEH RE OPPOSITION TO RBB RELIEF FROM     0.20      119.00
           STAY MOTION
           ATTORNEY: ZEV SHECHTMAN
08/19/22   TEL. CONF. WITH B. HARVEY AND A. L. KEBEH RE RELIEF FROM STAY    0.40      238.00
           ATTORNEY: ZEV SHECHTMAN
08/19/22   CONFERENCE WITH A. L. KEBEH RE TEL. CONF. WITH B. HARVEY AND     0.20      119.00
           A. L. KEBEH RE RELIEF FROM STAY
           ATTORNEY: ZEV SHECHTMAN
08/20/22   DRAFT EMAIL TO TEAM RE RBB PROPOSAL                              0.10         59.50
           ATTORNEY: ZEV SHECHTMAN
08/22/22   REVIEW CORRESPONDENCE FROM Z. SHECHTMAN RE RELIEF FROM           0.10         35.00
           STAY COMPROMISE STRATEGY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/23/22   REVIEW Z. SHECHTMAN EDITS TO RBB RELIEF FROM STAY MOTION.        0.20         70.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/25/22   REVIEW CORRESPONDENCE FROM RBB COUNSEL RE STIPULATION TO         0.10         35.00
           RESOLVE MOTION; CORRESPONDENCE WITH Z. SHECHTMAN RE
           SAME.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/25/22   CONFERENCE WITH J. N. TEDFORD RE STIPULATION TO RESOLVE RBB      0.10         35.00
           RELIEF FROM STAY MOTION.


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           ATTORNEY: ALPHAMORLAI L. KEBEH
08/25/22   CORRESPONDENCE WITH DEBTOR'S ATTORNEY AND RBB'S COUNSEL          0.40      140.00
           RE RECOMMENDATION OF STIPULATION TO RESOLVE RBB RELIEF
           FROM STAY MOTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/25/22   CONFERENCE WITH A. L. KEBEH RE STIPULATION TO RESOLVE RBB        0.10         69.50
           RELIEF FROM STAY MOTION
           ATTORNEY: JOHN N. TEDFORD
08/26/22   DRAFT EMAIL TO CLIENT RE STIPULATION TO RESOLVE RELIEF FROM      0.30      105.00
           STAY MOTION AS TO SAN MARINO PROPERTY.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/29/22   CORRESPONDENCE WITH RBB COUNSEL AND DEBTOR RE                    0.20         70.00
           STIPULATION TO RESOLVE RELIEF FROM STAY MOTION.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/31/22   CONFERENCE WITH Z. SHECHTMAN AND E. MITNICK RE SAN MARINO        0.20         70.00
           RELIEF FROM STAY MOTIONS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/31/22   TEL. CONF. WITH Z. SHECHTMAN RE PREPARING STIPULATION TO         0.10         35.00
           RESOLVE RELIEF FROM STAY MOTIONS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/31/22   DRAFT STIPULATION TO CONTINUE HEARING AND REPLY DEADLINES        0.90      315.00
           RE CORONA AND RBB RELIEF FROM STAY MOTIONS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/31/22   DRAFT ORDER RE CONTINUING HEARING/REPLY RE RELIEF FROM           0.40      140.00
           STAY MOTIONS (CORONA AND RBB).
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/31/22   FINALIZE STIPULATION TO CONITNUE RELIEF FROM STAY MOTIONS        0.20         70.00
           (CORONA AND RBB).
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/31/22   TEL. CONF. WITH RBB COUNSEL RE FINALIZING STIPULATION TO         0.10         35.00
           CONTINUE HEARING ON RELIEF FROM STAY MOTIONS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
08/31/22   TEL. CONF. WITH A. L. KEBEH AND E. MITNICK RE SAN MARINO         0.20      119.00
           RELIEF FROM STAY MOTIONS
           ATTORNEY: ZEV SHECHTMAN
09/01/22   CORRESPONDENCE WITH Z. SHECHTMAN RE FINALIZING                   0.10         35.00
           STIPULATION TO CONTINUE RELIEF FROM STAY MOTION HEARINGS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/01/22   REVIEW EMAILS FROM E. MITNICK RE NEGOTIATIONS RE RELIEF          0.20      119.00
           FROM STAY AND RE STIPULATION CONTINUING HEARING ON RELIEF
           FROM STAY AND DRAFT EMAIL TO A. L. KEBEH RE SAME
           ATTORNEY: ZEV SHECHTMAN
09/01/22   REVIEW EMAILS FROM B. HARVEY AND A. L. KEBEH RE RELIEF FROM      0.20      119.00
           STAY
           ATTORNEY: ZEV SHECHTMAN
09/02/22   REVIEW ORDER CONTINUING SAN MARINO PROPERTY HEARINGS.            0.10         35.00
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/06/22   CALENDAR NEW HEARING DATES/REPLY DEADLINES.                      0.10         35.00

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           ATTORNEY: ALPHAMORLAI L. KEBEH
09/06/22   CORRESPONDENCE WITH RBB COUNSEL RE STATUS OF STIPULATION            0.10          35.00
           TO RESOLVE RELIEF FROM STAY MOTIONS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/07/22   REVIEW RBB PROPOSED STIPULATION RESOLVING RELIEF FROM               0.10          35.00
           STAY MOTIONS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/07/22   TEL. CONF. WITH B. HARVEY RE RELIEF FROM STAY STIPULATION           0.10          59.50
           ATTORNEY: ZEV SHECHTMAN
09/07/22   REVIEW AND EDIT RELIEF FROM STAY STIPULATION AND DRAFT              0.50       297.50
           EMAILS TO OPPOSING COUNSEL AND CLIENT RE SAME
           ATTORNEY: ZEV SHECHTMAN
09/07/22   TEL. CONF. WITH E. MITNICK RE CORONA RELIEF FROM STAY               0.10          59.50
           ATTORNEY: ZEV SHECHTMAN
09/07/22   REVIEW AND REPLY TO EMAILS FROM B. HARVEY AND E. MITNICK RE         0.20       119.00
           RELIEF FROM STAY ISSUES
           ATTORNEY: ZEV SHECHTMAN
09/08/22   DRAFT EMAIL TO B. HARVEY AND E. MITNICK RE STATUS OF SALE           0.10          59.50
           VIS-A-VIS RELIEF FROM STAY
           ATTORNEY: ZEV SHECHTMAN
09/08/22   DRAFT EMAIL TO BROKERS RE STATUS OF SALE VIS-A-VIS RELIEF           0.10          59.50
           FROM STAY
           ATTORNEY: ZEV SHECHTMAN
09/08/22   TEL. CONF. WITH E. MITNICK RE STATUS RE RELIEF FROM STAY            0.10          59.50
           ATTORNEY: ZEV SHECHTMAN
09/08/22   EMAILS TO E. MITNICK AND B. HARVEY RE RELIEF FROM STAY              0.10          59.50
           ATTORNEY: ZEV SHECHTMAN
09/09/22   REVIEW LIENHOLDER REVISIONS TO STIPULATION TO RESOLVE               0.20          70.00
           RELIEF FROM STAY MOTIONS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/09/22   REVIEW RBB REVISIONS TO STIPULATION TO RESOLVE RELIEF FROM          0.10          35.00
           STAY MOTIONS.
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/09/22   REVIEW FINAL STIPULATION RE RESOLVING RELIEF FROM STAY              0.20          70.00
           MOTIONS (SAN MARINO).
           ATTORNEY: ALPHAMORLAI L. KEBEH
09/09/22   TEL. CONF. WITH COURT CLERK RE STATUS OF RELIEF FROM STAY           0.20       119.00
           (X2)
           ATTORNEY: ZEV SHECHTMAN
09/09/22   REVIEW AND REVISE STIPULATION RE RELIEF FROM STAY AND               0.80       476.00
           EMAILS WITH COUNSEL RE SAME
           ATTORNEY: ZEV SHECHTMAN
SUBTOTAL FOR RELIEF FROM STAY [RF]                                            28.00     11990.50


           ATTORNEY FEES:                                                399.30 HRS    176709.50


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           JINZHENG GROUP (USA) LLP
           COSTS ADVANCED:
06/01/22    POSTAGE                                                                      9.80
06/01/22    REPROGRAPHIC EXPENSE STATEMENT REGARDING CASH COLLATERAL                     6.00
06/01/22    REPROGRAPHIC EXPENSE EMPLOYMENT APPLICATION TO EMPLOY DANNING                6.40
           GILL
06/01/22    REPROGRAPHIC EXPENSE NOTICE OF APPLICATION TO EMPLOY DANNING GILL           25.60
06/03/22    POSTAGE                                                                      1.46
06/03/22    REPROGRAPHIC EXPENSE SUBOFATTY                                               1.20
06/03/22    REPROGRAPHIC EXPENSE SUBOFATTY                                               0.20
06/08/22   REPROGRAPHIC EXPENSE NOTICE OF HEARING                                        5.60
06/08/22   POSTAGE                                                                       2.00
06/08/22   POSTAGE                                                                       1.00
05/31/22   ONLINE RESEARCH (WESTLAW) STANDARD CHARGE $132 (THOMSON REUTERS,             18.97
           MAY 2022, ALK)
06/15/22    REPROGRAPHIC EXPENSE APP TO EMPLOY SPECIAL LITIGATION COUNSEL -              5.80
           ATKINSON
06/15/22    REPROGRAPHIC EXPENSE APP TO EMPLOY SPECIAL LITIGATION COUNSEL -             23.20
           ATKINSON
06/15/22    REPROGRAPHIC EXPENSE STATEMENT RE CASH COLLATERAL                            1.00
06/15/22    REPROGRAPHIC EXPENSE STATEMENT RE CASH COLLATERAL                            4.00
06/17/22    REPROGRAPHIC EXPENSE LISTING                                                 0.40
06/22/22    POSTAGE                                                                      4.32
06/22/22    POSTAGE                                                                      6.24
06/22/22    REPROGRAPHIC EXPENSE NOTICE OF LODGMENT OF ORDER IN RE STIPULATION           7.00
           TO CONTINUE LITIGA
06/22/22    REPROGRAPHIC EXPENSE STIPULATION TO CONTINUE LITIGATION DEADLINES            7.20
           PERTAINING TO EVIDE
06/23/22    POSTAGE                                                                      1.76
06/23/22    POSTAGE                                                                      8.64
06/23/22    REPROGRAPHIC EXPENSE APPLICATION TO EMPLOY REAL ESTATE BROKERS              10.60
           (COURT COPY)
06/23/22    REPROGRAPHIC EXPENSE APPLICATION TO EMPLOY REAL ESTATE BROKERS (3           45.60
           SERVICE COPIES AND
06/27/22    PACER SERVICE CENTER ONLINE RESEARCH 2:21-BK-16674-ER- 5/25/2022 - PACER     0.10
           SERVICE CENTER - GER/ZS
06/27/22    PACER SERVICE CENTER ONLINE RESEARCH 2:22-AP-01090-ER- 5/27/2022 - PACER     0.10
           SERVICE CENTER - GER/ZS
06/24/22    REPROGRAPHIC EXPENSE NOTICE OF AMENDED EXHIBIT 1 TO THE APPLICATION         23.20
           TO EMPLOY REAL ES
06/24/22    POSTAGE                                                                      8.64
06/30/22    POSTAGE                                                                      8.80
06/30/22    REPROGRAPHIC EXPENSE NOTICE OF LODGMENT OF ORDER IN RE STIP. TO              8.00
           EXTEND DEADMILE
06/30/22    REPROGRAPHIC EXPENSE STIP. TO EXTEND DEADLINE TO REQUEST HEARING ON          6.00
           CHEKIAN''S APPLICA
07/05/22    POSTAGE                                                                     17.40
07/05/22    POSTAGE                                                                      6.48
07/05/22    REPROGRAPHIC EXPENSE JINZHENG ORDER                                          1.00
07/05/22    REPROGRAPHIC EXPENSE 0                                                       0.20
07/05/22    REPROGRAPHIC EXPENSE APPLICATION FOR ORDER SETTING HEARING ON               13.20
           SHORTENED NOTICE 2 COPI
07/05/22    REPROGRAPHIC EXPENSE MOTION FOR ORDER APPROVING COMPROMISE                  12.00
           BETWEEN DEBTOR AND 150 LA

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07/05/22    REPROGRAPHIC EXPENSE (4 SERVICE COPIES) MOTION FOR ORDER APPROVING        48.00
           COMPROMISE
07/06/22    POSTAGE                                                                    1.56
07/06/22    POSTAGE                                                                    2.12
07/06/22    REPROGRAPHIC EXPENSE AMENDMENT TO DEBTOR''S MOTION TO APPROVE              7.00
           COMPROMISE WITH 150 LA S
07/08/22    POSTAGE                                                                    1.46
07/08/22    REPROGRAPHIC EXPENSE ALK DECL OF SERVICE                                   1.20
07/08/22    REPROGRAPHIC EXPENSE ALK DECL OF SERVICE                                   5.80
07/12/22    POSTAGE                                                                    7.20
07/12/22    REPROGRAPHIC EXPENSE DECLARATION THAT NO PARTY REQUESTED A                24.80
           HEARING ON MOTION
07/13/22    REPROGRAPHIC EXPENSE EXHIBITA                                              0.20
07/01/22   ONLINE RESEARCH (WESTLAW) STANDARD CHARGE $1748 (THOMSON REUTERS,         361.59
           JUNE, 2022, ALK)
07/18/22    PACER SERVICE CENTER ONLINE RESEARCH 2:22-AP-01090-ER - 6/1/22             0.10
07/18/22    PACER SERVICE CENTER ONLINE RESEARCH 2:22-AP-01090-ER - 6/14/22            0.20
07/18/22    PACER SERVICE CENTER ONLINE RESEARCH 2:21-BK-16674-ER - 6/14/22            0.10
07/18/22    PACER SERVICE CENTER ONLINE RESEARCH 2:21-BK-16674-ER - 6/16/22            0.10
07/18/22    PACER SERVICE CENTER ONLINE RESEARCH 2:22-AP-01090-ER - 6/16/22            0.20
07/15/22    POSTAGE                                                                    9.60
07/15/22    POSTAGE                                                                    9.60
07/15/22    POSTAGE                                                                    9.60
07/15/22    REPROGRAPHIC EXPENSE APPLICATION TO EMPLOY AVENUE 8 AS REAL ESTATE         7.20
           BROKER (COURT COPY
07/15/22    REPROGRAPHIC EXPENSE NOTICE OF APPLICATION TO EMPLOY REAL ESTATE          36.00
           BROKER
07/15/22    REPROGRAPHIC EXPENSE STATEMENT REGARDING CASH COLLATERAL OR                5.00
           DEBTOR FINANCING (5 COPIE
07/15/22    REPROGRAPHIC EXPENSE APPLICATION TO EMPLOY KOO, CHOW & CO.                 6.00
07/15/22    REPROGRAPHIC EXPENSE NOTICE OF APPLICATION TO EMPLOY KOO, CHOW &          24.00
           CO.
07/15/22    POSTAGE                                                                   13.20
07/18/22    POSTAGE                                                                    4.20
07/18/22    POSTAGE                                                                    2.40
07/22/22    REPROGRAPHIC EXPENSE PFS NO. 1                                             3.20
07/22/22    POSTAGE                                                                    2.85
07/26/22    POSTAGE                                                                    3.12
07/26/22    POSTAGE                                                                    8.64
07/26/22    REPROGRAPHIC EXPENSE DEBTOR'S APPLICATION TO EMPLOY RE/MAX AND            30.40
           COLDWELL BANKER RE ARCADIA PROPERTY
08/01/22   DOCUMENTS TO JUDGE ERNEST ROBLES, 255 E. TEMPLE STREET, SUITE 1560, LOS    34.95
           ANGELES 90012 ON 7/18/22 (PROLEGAL, INV. 400774, 7/23/22) PM
07/31/22   DOCUMENTS TO LA COUNTY RECORDER OFFICE, 12400 IMPERIAL HIGHWAY,           211.38
           NORWALK 90550 ON 7/29/22 (PROLEGAL, INV. 401420, 7/31/22)
08/02/22    REPROGRAPHIC EXPENSE ORDER APPOVING EMPLOYMENT APP OF REAL ESTATE          0.40
           BROKERS
08/02/22    REPROGRAPHIC EXPENSE ORDER APPOVING EMPLOYMENT APP OF REAL ESTATE          0.40
           BROKERS
08/08/22   ONLINE RESEARCH (WESTLAW) STANDARD CHARGE $1564 (THOMSON REUTERS,         353.86
           JULY 2022, ZS)
08/08/22   ONLINE RESEARCH (WESTLAW) STANDARD CHARGE $2026 (THOMSON REUTERS,         458.40
           JULY 2022, ALK)
08/05/22    POSTAGE                                                                    3.12

                                                                                              89
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08/05/22    POSTAGE                                                                   3.12
08/05/22    POSTAGE                                                                   4.20
08/08/22    POSTAGE                                                                   4.05
08/08/22    POSTAGE                                                                   2.16
08/08/22    POSTAGE                                                                   1.14
08/15/22    POSTAGE                                                                   6.48
08/15/22    POSTAGE                                                                  35.34
08/05/22    REPROGRAPHIC EXPENSE 9013 DECL RE AVE OF 8 AS BROKERS                    33.60
08/05/22    REPROGRAPHIC EXPENSE 9013 DECL RE AVENUE 8 AS BROKER - COURT COPY         8.40
08/05/22    REPROGRAPHIC EXPENSE 9013 DEC RE AVE 8 TO CLAIMANT                        8.40
08/05/22    REPROGRAPHIC EXPENSE 9013 DECL RE RE/MAX AND COLDWELL                    44.00
08/05/22    REPROGRAPHIC EXPENSE 9013 DEC RE RE/MAX AND COLDWELL - COURT COPY         8.80
08/08/22    REPROGRAPHIC EXPENSE OPPOSITION                                          14.40
08/08/22    REPROGRAPHIC EXPENSE OPPOSITION                                           0.20
08/08/22    REPROGRAPHIC EXPENSE OPPOSITION                                           3.60
08/08/22    REPROGRAPHIC EXPENSE OPPOSITION                                           0.60
08/08/22    REPROGRAPHIC EXPENSE OPPOSITION                                           3.60
08/18/22    POSTAGE                                                                   1.92
08/18/22    POSTAGE                                                                   3.24
08/19/22    POSTAGE                                                                   3.24
08/19/22    POSTAGE                                                                   2.28
08/19/22    POSTAGE                                                                   3.12
08/19/22    POSTAGE                                                                   1.92
08/18/22    REPROGRAPHIC EXPENSE PROFESSIONAL FEE STATEMENT #1 FOR ATKINSON,          6.00
           ANDELSON (5 COPIES)
08/19/22    REPROGRAPHIC EXPENSE NTC OF APP TO EMPLOU RE/MAX OF CERRITOS AND         35.20
           COLDWELL AS BROKERS
08/19/22    REPROGRAPHIC EXPENSE APP TO EMPLOY RE/MAX AND COLDWELL AS REAL            8.80
           ESTATE BROKERS
08/19/22    REPROGRAPHIC EXPENSE LABEL                                                0.20
08/19/22    REPROGRAPHIC EXPENSE PROFESSIONAL FEE STATMENT NO 2                       2.40
08/12/22   PART 2: RETURN RECORDED VOLUNTARY PETITION JINZHEN GROUP (USA) LLC        47.56
           FROM LA COUNTY RECORDER OFFICE (PROLEGAL, INV. 401602, 8/6/22) PM
08/22/22   IMAGING FEE RE CERTIFIED COPY OF VOLUNTARY PETITION WITH U.S.             11.00
           BANKRUPTCY COURT (CITY NATIONAL BANK CREDIT CARD PROCESSING
           CENTER, 8/25/22)
08/22/22    POSTAGE                                                                   0.81
08/22/22    REPROGRAPHIC EXPENSE PLAINTIFF REQUEST FOR PRODUCTION SET ONE             2.20
08/22/22    REPROGRAPHIC EXPENSE PLAINTIFF REQUEST FOR PRODUCTION SET ONE             3.00
08/22/22    REPROGRAPHIC EXPENSE NOTICE OF LODGMENT OF ORDER IN RE STIP. TO           6.40
           CONTINUE LITIGATION D
08/22/22    REPROGRAPHIC EXPENSE STIP. TO CONTINUE LITIGATION DEADLINES               5.60
08/23/22    POSTAGE                                                                   5.04
08/23/22    REPROGRAPHIC EXPENSE DEBTOR''S NOTICE OF OPPOSITION TO MOTION FOR         8.40
           RELIEF FROM STAY
08/31/22    REPROGRAPHIC EXPENSE STIP                                                 0.20
09/01/22    POSTAGE                                                                   1.29
09/01/22    POSTAGE                                                                   2.16
09/01/22    REPROGRAPHIC EXPENSE STIP. TO CONTINUE HEARINGS PERTAINING TO THE         3.60
           ESTATE''S INTEREST
09/08/22    REPROGRAPHIC EXPENSE STIP                                                 0.20
09/09/22    POSTAGE                                                                   3.42

                                                                                        90
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09/09/22    REPROGRAPHIC EXPENSE PFS                                                                                                      0.80
09/09/22    REPROGRAPHIC EXPENSE PROFESSIONAL FEE STATEMENT #1 FOR KOO CHOW &                                                             0.20
           CO (6 COPIES)
09/09/22    REPROGRAPHIC EXPENSE 0                                                                                                        0.20
09/09/22    REPROGRAPHIC EXPENSE 0                                                                                                        0.20
09/12/22    POSTAGE                                                                                                                       1.14
09/12/22    REPROGRAPHIC EXPENSE LETTER                                                                                                   0.60
09/12/22    REPROGRAPHIC EXPENSE LETTER                                                                                                   0.60
09/12/22    REPROGRAPHIC EXPENSE LETTER                                                                                                   1.20
09/08/22    THOMSON REUTERS ONLINE RESEARCH (WESTLAW) STANDARD CHARGE $4156                                                             408.06
           (THOMSON REUTERS, AUGUST 2022, SM)
09/08/22    THOMSON REUTERS ONLINE RESEARCH (WESTLAW) STANDARD CHARGE $880                                                               86.40
           (THOMSON REUTERS, AUGUST 2022, ZS)
09/08/22    THOMSON REUTERS ONLINE RESEARCH (WESTLAW) STANDARD CHARGE $14937                                                           1466.59
           (THOMSON REUTERS, AUGUST 2022, ALK)
09/16/22    POSTAGE                                                                                                                        2.28
09/16/22    POSTAGE                                                                                                                        2.16
09/21/22    ONLINE SEARCH - 2:22-AP-01090-ER - 07/13/2022 - PACER SERVICE CENTER - GER                                                     0.50
                                                                                                                                       4,330.48

           SUB-TOTAL OF CURRENT PERIOD FEES AND COSTS                                                                4,330.48

           TOTAL AMOUNT DUE:........................................................................................................   4,330.48




                                                                                                                                                  91
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                               EXHIBIT 3
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JINZHENG GROUP (USA) LLP
                                                                     2022
May, 2022

                         ATTORNEY FEES:                                                        12.50 HRS                          $6161.00


ASSET ANALYSIS AND RECOVERY                      Z SHECHTMAN                                           4.00       595.00              2380.00
(AA)


                TOTAL HOURS AND FEE                                                                    4.00                       $2380.00
ASSET DISPOSITION                                J TEDFORD                                             0.10       695.00                69.50
(AD)


                TOTAL HOURS AND FEE                                                                    0.10                            $69.50
CASE ADMINISTRATION                              J TEDFORD                                             1.00       695.00               695.00
(CA)


                TOTAL HOURS AND FEE                                                                    1.00                           $695.00
FEE/EMPLOYMENT APPLICATION                       A KEBEH                                               5.70       350.00              1995.00
(FA)
                                                 J TEDFORD                                             0.10       695.00                69.50
                                                 Z SHECHTMAN                                           1.60       595.00               952.00


                TOTAL HOURS AND FEE                                                                    7.40                       $3016.50


*-----------------------COST CODE SUMMARY------------------------------------------------------------------------------------*
*-----------------------COST CODE-------------------------------------------------------------------------*   AMOUNT
72                  ON-LINE RESEARCH                                                                              $18.97


COSTS ADVANCED:                                                                                                                         18.97




                                                                                           EXHIBIT 3
                                                                                                                                 92
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JINZHENG GROUP (USA) LLP
June, 2022

                  ATTORNEY FEES:                           126.70 HRS               $64631.00


ASSET ANALYSIS AND RECOVERY        D GABAI                       0.70     335.00       234.50
(AA)
                                   A KEBEH                       0.40     350.00       140.00
                                   J TEDFORD                     5.00     695.00      3475.00
                                   Z SHECHTMAN                  14.30     595.00      8508.50


             TOTAL HOURS AND FEE                                20.40               $12358.00
ASSET DISPOSITION                  A KEBEH                       1.20     350.00       420.00
(AD)
                                   J TEDFORD                     0.60     695.00       417.00
                                   Z SHECHTMAN                   7.80     595.00      4641.00
                                   S PANTA                       0.10     275.00        27.50


             TOTAL HOURS AND FEE                                 9.70                $5505.50
BUSINESS OPERATIONS                A KEBEH                       0.90     350.00       315.00
(BO)
                                   J TEDFORD                     0.10     695.00        69.50
                                   Z SHECHTMAN                   1.30     595.00       773.50
                                   S PANTA                       0.30     275.00        82.50


             TOTAL HOURS AND FEE                                 2.60                $1240.50
CASE ADMINISTRATION                D GABAI                       0.40     335.00       134.00
(CA)
                                   A KEBEH                      11.80     350.00      4130.00
                                   J TEDFORD                     0.20     695.00       139.00
                                   Z SHECHTMAN                  18.60     595.00     11067.00
                                   S PANTA                       0.20     275.00        55.00


             TOTAL HOURS AND FEE                                31.20               $15525.00
CLAIMS ADMINISTRATION AND          A KEBEH                       1.80     350.00       630.00
OBJECTIONS
(CL)                               Z SHECHTMAN                   0.90     595.00       535.50


             TOTAL HOURS AND FEE                                 2.70                $1165.50
FEE/EMPLOYMENT APPLICATION         A KEBEH                       2.90     350.00      1015.00
(FA)
                                   E ISRAEL                      0.30     750.00       225.00
                                   J TEDFORD                     0.50     695.00       347.50
                                   Z SHECHTMAN                   9.40     595.00      5593.00


             TOTAL HOURS AND FEE                                13.10                $7180.50


                                                                                                93
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FEE/EMPLOYMENT OBJECTIONS                        D GABAI                                               4.10       335.00           1373.50
(FO)
                                                 A KEBEH                                              15.00       350.00           5250.00
                                                 J TEDFORD                                             0.40       695.00            278.00
                                                 Z SHECHTMAN                                          17.40       595.00          10353.00
                                                 S PANTA                                               3.80       275.00           1045.00


                TOTAL HOURS AND FEE                                                                   40.70                      $18299.50
LITIGATION                                       Z SHECHTMAN                                           1.60       595.00            952.00
(L1)


                TOTAL HOURS AND FEE                                                                    1.60                        $952.00
MEETING OF CREDITORS                             A KEBEH                                               0.00       350.00              0.00
(MC)
                                                 Z SHECHTMAN                                           2.50       595.00           1487.50


                TOTAL HOURS AND FEE                                                                    2.50                       $1487.50
PLAN AND DISCLOSURE                              A KEBEH                                               1.60       350.00            560.00
STATEMENT
(PD)                                             Z SHECHTMAN                                           0.60       595.00            357.00


                TOTAL HOURS AND FEE                                                                    2.20                        $917.00


*-----------------------COST CODE SUMMARY------------------------------------------------------------------------------------*
*-----------------------COST CODE-------------------------------------------------------------------------*   AMOUNT
COPY                REPROGRAPHIC EXPENSE                                                                        $187.00
POST                POSTAGE                                                                                       $52.66
PSC                 ON-LINE SEARCH (PACER)                                                                         $0.20


COSTS ADVANCED:                                                                                                                     239.86




                                                                                                                                      94
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JINZHENG GROUP (USA) LLP
July, 2022

                  ATTORNEY FEES:                           72.10 HRS                $31628.00


ASSET DISPOSITION                  A KEBEH                     18.10      350.00      6335.00
(AD)
                                   J TEDFORD                    0.20      695.00       139.00
                                   Z SHECHTMAN                 21.50      595.00     12792.50
                                   S PANTA                      0.50      275.00       137.50


             TOTAL HOURS AND FEE                               40.30                $19404.00
CASE ADMINISTRATION                A KEBEH                      1.80      350.00       630.00
(CA)
                                   Z SHECHTMAN                  1.60      595.00       952.00


             TOTAL HOURS AND FEE                                3.40                 $1582.00
CLAIMS ADMINISTRATION AND          Z SHECHTMAN                  0.80      595.00       476.00
OBJECTIONS
(CL)


             TOTAL HOURS AND FEE                                0.80                  $476.00
FEE/EMPLOYMENT APPLICATION         Z SHECHTMAN                  0.10      595.00        59.50
(FA)
                                   S PANTA                      0.40      275.00       110.00


             TOTAL HOURS AND FEE                                0.50                  $169.50
FEE/EMPLOYMENT OBJECTIONS          D GABAI                      0.50      335.00       167.50
(FO)
                                   A KEBEH                      1.80      350.00       630.00
                                   Z SHECHTMAN                  4.20      595.00      2499.00
                                   S PANTA                     11.70      275.00      3217.50


             TOTAL HOURS AND FEE                               18.20                 $6514.00
LITIGATION                         A KEBEH                      0.80      350.00       280.00
(L1)
                                   Z SHECHTMAN                  0.10      595.00        59.50


             TOTAL HOURS AND FEE                                0.90                  $339.50
MEETING OF CREDITORS               Z SHECHTMAN                  0.20      595.00       119.00
(MC)


             TOTAL HOURS AND FEE                                0.20                  $119.00
RELIEF FROM STAY                   A KEBEH                      6.60      350.00      2310.00
(RF)
                                   Z SHECHTMAN                  1.20      595.00       714.00


             TOTAL HOURS AND FEE                                7.80                 $3024.00

                                                                                          95
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JINZHENG GROUP (USA) LLP


*-----------------------COST CODE SUMMARY------------------------------------------------------------------------------------*
*-----------------------COST CODE-------------------------------------------------------------------------*   AMOUNT
COPY                REPROGRAPHIC EXPENSE                                                                        $225.20
M                   MESSENGER SERVICE                                                                           $211.38
POST                POSTAGE                                                                                       $99.43
PSC                 ON-LINE SEARCH (PACER)                                                                         $0.70
WL                  ONLINE RESEARCH (WEST LAW)                                                                  $361.59


COSTS ADVANCED:                                                                                                                  898.30




                                                                                                                                  96
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JINZHENG GROUP (USA) LLP
August, 2022

                  ATTORNEY FEES:                           74.30 HRS               $30268.00


ASSET DISPOSITION                  D GABAI                      0.30     335.00       100.50
(AD)
                                   A KEBEH                     32.40     350.00     11340.00
                                   J TEDFORD                    0.10     695.00        69.50
                                   Z SHECHTMAN                  8.10     595.00      4819.50


             TOTAL HOURS AND FEE                               40.90               $16329.50
BUSINESS OPERATIONS                A KEBEH                      0.10     350.00        35.00
(BO)


             TOTAL HOURS AND FEE                                0.10                  $35.00
CASE ADMINISTRATION                A KEBEH                      1.50     350.00       525.00
(CA)
                                   Z SHECHTMAN                  1.50     595.00       892.50


             TOTAL HOURS AND FEE                                3.00                $1417.50
CLAIMS ADMINISTRATION AND          Z SHECHTMAN                  0.20     595.00       119.00
OBJECTIONS
(CL)


             TOTAL HOURS AND FEE                                0.20                 $119.00
FEE/EMPLOYMENT APPLICATION         A KEBEH                      0.30     350.00       105.00
(FA)
                                   S Malmed                     0.10     295.00        29.50
                                   Z SHECHTMAN                  0.20     595.00       119.00
                                   S PANTA                      0.40     275.00       110.00


             TOTAL HOURS AND FEE                                1.00                 $363.50
FEE/EMPLOYMENT OBJECTIONS          Z SHECHTMAN                  0.20     595.00       119.00
(FO)
                                   S PANTA                      3.00     275.00       825.00


             TOTAL HOURS AND FEE                                3.20                 $944.00
LITIGATION                         A KEBEH                      3.50     350.00      1225.00
(L1)
                                   Z SHECHTMAN                  1.00     595.00       595.00


             TOTAL HOURS AND FEE                                4.50                $1820.00
MEETING OF CREDITORS               A KEBEH                      2.80     350.00       980.00
(MC)
                                   Z SHECHTMAN                  2.10     595.00      1249.50


             TOTAL HOURS AND FEE                                4.90                $2229.50

                                                                                         97
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RELIEF FROM STAY                                 A KEBEH                                              11.50       350.00          4025.00
(RF)
                                                 J TEDFORD                                             0.10       695.00            69.50
                                                 Z SHECHTMAN                                           4.90       595.00          2915.50


                TOTAL HOURS AND FEE                                                                   16.50                      $7010.00


*-----------------------COST CODE SUMMARY------------------------------------------------------------------------------------*
*-----------------------COST CODE-------------------------------------------------------------------------*   AMOUNT
COPY                REPROGRAPHIC EXPENSE                                                                        $204.80
FF                  FILING FEE                                                                                    $11.00
M                   MESSENGER SERVICE                                                                             $82.51
POST                POSTAGE                                                                                       $81.18
WL                  ONLINE RESEARCH (WEST LAW)                                                                  $812.26


COSTS ADVANCED:                                                                                                                   1191.75




                                                                                                                                  98
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JINZHENG GROUP (USA) LLP
September, 2022

                  ATTORNEY FEES:                          113.70 HRS               $44021.50


ASSET ANALYSIS AND RECOVERY        S Malmed                     0.30     295.00        88.50
(AA)
                                   Z SHECHTMAN                  0.40     595.00       238.00


             TOTAL HOURS AND FEE                                0.70                 $326.50
ASSET DISPOSITION                  A KEBEH                     33.40     350.00     11690.00
(AD)
                                   S Malmed                     6.30     295.00      1858.50
                                   J TEDFORD                    0.10     695.00        69.50
                                   Z SHECHTMAN                 14.30     595.00      8508.50
                                   S PANTA                      0.30     275.00        82.50


             TOTAL HOURS AND FEE                               54.40               $22209.00
CASE ADMINISTRATION                A KEBEH                      0.10     350.00        35.00
(CA)
                                   S Malmed                     0.50     295.00       147.50
                                   Z SHECHTMAN                  1.50     595.00       892.50


             TOTAL HOURS AND FEE                                2.10                $1075.00
CLAIMS ADMINISTRATION AND          A KEBEH                      4.30     350.00      1505.00
OBJECTIONS
(CL)                               J TEDFORD                    1.60     695.00      1112.00


             TOTAL HOURS AND FEE                                5.90                $2617.00
FEE/EMPLOYMENT APPLICATION         A KEBEH                      0.00     350.00          0.00
(FA)
                                   S Malmed                    33.50     295.00      9882.50
                                   Z SHECHTMAN                  2.90     595.00      1725.50
                                   S PANTA                      0.70     275.00       192.50


             TOTAL HOURS AND FEE                               37.10               $11800.50
FEE/EMPLOYMENT OBJECTIONS          A KEBEH                      0.90     350.00       315.00
(FO)
                                   Z SHECHTMAN                  0.40     595.00       238.00
                                   S PANTA                      0.40     275.00       110.00


             TOTAL HOURS AND FEE                                1.70                 $663.00
LITIGATION                         A KEBEH                      5.90     350.00      2065.00
(L1)
                                   Z SHECHTMAN                  1.80     595.00      1071.00


             TOTAL HOURS AND FEE                                7.70                $3136.00


                                                                                          99
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MEETING OF CREDITORS                             Z SHECHTMAN                                           0.40       595.00           238.00
(MC)


                TOTAL HOURS AND FEE                                                                    0.40                       $238.00
RELIEF FROM STAY                                 A KEBEH                                               1.00       350.00           350.00
(RF)
                                                 Z SHECHTMAN                                           2.70       595.00          1606.50


                TOTAL HOURS AND FEE                                                                    3.70                      $1956.50


*-----------------------COST CODE SUMMARY------------------------------------------------------------------------------------*
*-----------------------COST CODE-------------------------------------------------------------------------*   AMOUNT
COPY                REPROGRAPHIC EXPENSE                                                                           $7.60
POST                POSTAGE                                                                                       $12.45
PSC                 ON-LINE SEARCH (PACER)                                                                         $0.50
WL                  ONLINE RESEARCH (WEST LAW)                                                                 $1961.05


COSTS ADVANCED:                                                                                                                   1981.60




                                                                                                                                 100
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                               EXHIBIT 4
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ASSET ANALYSIS AND RECOVERY     D GABAI                        0.70      335.00       234.50
(AA)
                                A KEBEH                        0.40      350.00       140.00
                                S Malmed                       0.30      295.00        88.50
                                J TEDFORD                      5.00      695.00      3475.00
                                Z SHECHTMAN                   18.70      595.00     11126.50


          TOTAL HOURS AND FEE                                 25.10                $15064.50
ASSET DISPOSITION               D GABAI                        0.30      335.00       100.50
(AD)
                                A KEBEH                       85.10      350.00     29785.00
                                S Malmed                       6.30      295.00      1858.50
                                J TEDFORD                      1.10      695.00       764.50
                                Z SHECHTMAN                   51.70      595.00     30761.50
                                S PANTA                        0.90      275.00       247.50


          TOTAL HOURS AND FEE                                145.40                $63517.50
BUSINESS OPERATIONS             A KEBEH                        1.00      350.00       350.00
(BO)
                                J TEDFORD                      0.10      695.00        69.50
                                Z SHECHTMAN                    1.30      595.00       773.50
                                S PANTA                        0.30      275.00        82.50


          TOTAL HOURS AND FEE                                  2.70                 $1275.50
CASE ADMINISTRATION             D GABAI                        0.40      335.00       134.00
(CA)
                                A KEBEH                       15.20      350.00      5320.00
                                S Malmed                       0.50      295.00       147.50
                                J TEDFORD                      1.20      695.00       834.00
                                Z SHECHTMAN                   23.20      595.00     13804.00
                                S PANTA                        0.20      275.00        55.00


          TOTAL HOURS AND FEE                                 40.70                $20294.50
CLAIMS ADMINISTRATION AND       A KEBEH                        6.10      350.00      2135.00
OBJECTIONS
(CL)                            J TEDFORD                      1.60      695.00      1112.00
                                Z SHECHTMAN                    1.90      595.00      1130.50


          TOTAL HOURS AND FEE                                  9.60                 $4377.50
FEE/EMPLOYMENT APPLICATION      A KEBEH                        8.90      350.00      3115.00
(FA)
                                S Malmed                      33.60      295.00      9912.00
                                E ISRAEL                       0.30      750.00       225.00
                                J TEDFORD                      0.60      695.00       417.00
                                Z SHECHTMAN                   14.20      595.00      8449.00
                                S PANTA                        1.50      275.00       412.50


                                                            EXHIBIT 4                    101
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             TOTAL HOURS AND FEE                                                                             59.10                                 $22530.50
FEE/EMPLOYMENT OBJECTIONS          D GABAI                                                                     4.60                    335.00        1541.00
(FO)
                                   A KEBEH                                                                   17.70                     350.00        6195.00
                                   J TEDFORD                                                                   0.40                    695.00         278.00
                                   Z SHECHTMAN                                                               22.20                     595.00       13209.00
                                   S PANTA                                                                   18.90                     275.00        5197.50


             TOTAL HOURS AND FEE                                                                             63.80                                 $26420.50
LITIGATION                         A KEBEH                                                                   10.20                     350.00        3570.00
(L1)
                                   Z SHECHTMAN                                                                 4.50                    595.00        2677.50


             TOTAL HOURS AND FEE                                                                             14.70                                  $6247.50
MEETING OF CREDITORS               A KEBEH                                                                     2.80                    350.00         980.00
(MC)
                                   Z SHECHTMAN                                                                 5.20                    595.00        3094.00


             TOTAL HOURS AND FEE                                                                               8.00                                 $4074.00
PLAN AND DISCLOSURE                A KEBEH                                                                     1.60                    350.00         560.00
STATEMENT
(PD)                               Z SHECHTMAN                                                                 0.60                    595.00         357.00


             TOTAL HOURS AND FEE                                                                               2.20                                  $917.00
RELIEF FROM STAY                   A KEBEH                                                                   19.10                     350.00        6685.00
(RF)
                                   J TEDFORD                                                                   0.10                    695.00          69.50
                                   Z SHECHTMAN                                                                 8.80                    595.00        5236.00


             TOTAL HOURS AND FEE                                                                             28.00                                 $11990.50


         SUB-TOTAL OF CURRENT PERIOD FEES AND COSTS                                               176709.50


              TOTAL AMOUNT DUE:     ...........................................................................................................    176709.50




                                                                                                                                                     102
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JINZHENG GROUP (USA) LLP
*-----------------------COST CODE SUMMARY-----------------------------------------------------------------------*
*-----------------------COST CODE-----------------------------------------------------------------*   AMOUNT

ON-LINE RESEARCH                                                                                           18.97
REPROGRAPHIC EXPENSE                                                                                     624.60
FILING FEE                                                                                                 11.00
MESSENGER SERVICE                                                                                        293.89
POSTAGE                                                                                                  245.72
ON-LINE SEARCH (PACER)                                                                                      1.40
ONLINE RESEARCH (WEST LAW)                                                                             3,134.90




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                               EXHIBIT 5
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WWW .D ANNING G ILL . COM                                                         1901 A VENUE OF THE STARS , S UITE 450
                                                                                  L OS A NGELES, C ALIFORNIA 90067-6006
                                                                                                  (310) 277-0077 – T EL
                                                                                                  (310) 277-5735 – F AX




                                         ATTORNEY BIOGRAPHIES
              1.        Partners:

                       Eric P. Israel, a Professional Corporation. Mr. Israel was admitted to the
               California bar in 1987. His educational background is as follows: He holds
               degrees from the University of California at Los Angeles (B.A., 1981) and
               Southwestern University (J.D., with honors, 1987). Member, Southwestern
               University Law Review. He is a member of the Financial Lawyers Conference,
               The California (Board Member), Los Angeles and Orange County Bankruptcy
               Forums, and the Los Angeles County (Commercial Law and Bankruptcy Section,
               Bankruptcy Committee), Los Angeles County Bar and American Bar
               Associations. He has served as an editor of the California Bankruptcy Journal
               since 1998 and was special issue editor for the Special Trustee Issue (26 Cal.
               Bankr. J. vol. 26 (2002)); Mr. Israel currently serves as co-managing editor of the
               California Bankruptcy Journal. He was the Chairman of the Commercial Law
               and Bankruptcy Section of the L.A. County Bar Association (2014-2015) and
               Chairman of its Bankruptcy Committee (2013-2015) (formerly its Vice-Chair,
               Programs Chair and Secretary). He is a certified mediator through the Straus
               Institute for Dispute Resolution of the Pepperdine University School of Law and
               has served on the panel of mediators for the Bankruptcy Courts for the Central
               District of California from the inception of the mediation program in 1995 to the
               present. He has lectured and written on bankruptcy related matters. He authored
               the articles: (1) Debtors Beware: Exemption Planning in California Now Subject
               to Challenge, 32 Cal. Bankr. J. 317 (2021); (2) “Hints on Making the Most of
               Your Estate’s Assets: Often Overlooked Methods to Maximize Equity”, 26 Cal.
               Bankr. J. 199 (2002); and (3) “Of Racketeers, RICO, the Enterprise-Separateness
               Issue and Chicken Little: What’s Really Falling?” 17 Sw. L. Rev. 565 (1988).

                      John N. Tedford, IV, a Professional Corporation. Mr. Tedford was
               admitted to the California Bar in 1999. His educational background is as follows:
               University of Southern California (B.S., 1996); University of Southern California
               School of Law (J.D., 1999). Judicial Extern to the Honorable Kathleen P. March,
               Fall 1998 and Spring, 1999. Relief Law Clerk to the Honorable Alan M. Ahart,
               Ellen Carroll and Kathleen P. March, 1999-2001. Law Clerk to the Honorable
               Alan M. Ahart, 2001-2002. He is admitted to practice in the Central District of
               California. He is a member of the California State Bar Association, Financial
               Lawyers Conference and the Los Angeles Bankruptcy Forum.




1695926.1 27086                                                            DANNING, GILL, ISRAEL & KRASNOFF, LLP
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DANNING, GILL, ISRAEL & KRASNOFF, LLP




                 Zev Shechtman, a Professional Corporation. Mr. Shechtman was admitted
         to the California Bar in 2009. He is admitted to practice in the Central District of
         California. His educational background is as follows: University of California at
         Santa Cruz (B.A., 2003); New York University (M.A., 2006); University of
         Southern California School of Law (J.D., 2009). While a law student at the
         University of Southern California, Mr. Shechtman served as Managing Editor of
         the Southern California Review of Law & Social Justice. Mr. Shechtman served
         as an extern for the Honorable Thomas B. Donovan of the United States
         Bankruptcy Court for the Central District of California in the Summer of 2007.
         Mr. Shechtman serves as 2021-2022 President of the Los Angeles Bankruptcy
         Forum, where he helped found the Diversity, Equity & Inclusion Committee for
         the organization. Mr. Shechtman is a former chair of the Bankruptcy Section of
         the Beverly Hills Bar Association. Mr. Shechtman is an editorial board member of
         the California Bankruptcy Journal and the California Lawyers Association’s
         Business Law News.

        2.     Associates:

                 Alphamorlai “Mo” Kebeh is a 2020 graduate of the University of
         California, Los Angeles, School of Law, where he served on the executive board
         of the Black Law Students Association and as a mentor for the school’s Law
         Fellows Program. Prior to law school, Mo received his bachelor’s degree in Legal
         Studies and Political Science from the University of Massachusetts, Amherst. At
         the firm, Mo assists with the representation of debtors, creditors, and trustees in
         chapter 7 and chapter 11 cases.

                Danielle R. Gabai is a 2021 graduate of USC Gould School of Law, where
         she received her Business Law Certificate and served as President of the Jewish
         Law Student Association. Prior to law school, Danielle received her B.A. in
         Business Administration, minor in Finance from the Interdisciplinary Center
         Herzliya (IDC) in Israel. At the Firm, Danielle assists with the representation of
         debtors, creditors, and trustees in chapter 7 and chapter 11 cases.

        3.     Law Clerks:

                Shantal Malmed is a law clerk. Her educational background is as follows:
         University of California at Los Angeles (B.A., 2019); and University of Southern
         California Gould School of Law (J.D. Candidate, 2023).

        4.     Paralegals/Legal Assistants:

                Aracelli P. Panta is a bankruptcy paralegal who received her Bachelor of
         Arts degree from the University of California at Los Angeles in 1992 and her
         paralegal certificate from the University of California at Los Angeles’ Extension
         Program in 1994.




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                         YEAR 2022 SCHEDULE OF
                        RATES FOR PROFESSIONALS


                                                             HOURLY
         INITIALS              ATTORNEY NAME                  RATE

           RKD                  Richard K. Diamond            750.00
           EPI                     Eric P. Israel             750.00
           BDK                   Brad D. Krasnoff             750.00
           GES                  George E. Schulman            725.00
           UOR                    Uzzi O. Raanan              695.00
           JNT                  John N. Tedford, IV           695.00
            ZS                    Zev Shechtman               595.00


           AED                   Aaron E. de Leest            650.00
           MGD                  Michael G. D’Alba             595.00
           ALK                 Alphamorlai L. Kebeh           350.00
           DRG                   Danielle R. Gabai            335.00

                                 LAW CLERK

            SM                    Shantal Malmed               295.00

       PARALEGALS/LEGAL ASSISTANTS/TRUSTEE ADMINISTRATORS

             SP                   Aracelli Panta               275.00
            DTK                  Danielle Krasnoff             250.00




                                                            EXHIBIT 6
                DANNING, GILL, ISRAEL & KRASNOFF, LLP
     1901 AVENUE OF THE STARS, SUITE 450, LOS ANGELES, CA 90067-6006              106
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                               EXHIBIT 7
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                           2022 RATES FOR REIMBURSEMENT OF EXPENSES


Reprographic Expense (Photocopy, Scan, Print) ........................................................ $ .20 per page

Facsimile - Incoming .................................................................................................. $ .20 per page

Facsimile - Outgoing.................................................................................................. $1.00 per page

Mileage ........................................................IRS Rate for Business Use (currently 0.58.5 per mile)

Telephone ........................................................................................................................Actual Cost

Postage ............................................................................................................................Actual Cost

Messengers ......................................................................................................................Actual Cost

Overnight Mail ................................................................................................................Actual Cost

On-line Computer Research ............................................................................................Actual Cost

Filing Fees .......................................................................................................................Actual Cost

Deposition or Witness Fees ............................................................................................Actual Cost

Parking ............................................................................................................................Actual Cost




                     DANNING, GILL, ISRAEL & KRASNOFF, LLP
          1901 AVENUE OF THE STARS, SUITE 450, LOS ANGELES, CA 90067-6006




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                                                             3



 1 ZEV SHECHTMAN (State Bar No. 266280)
   zs@DanningGill.com
 2 ALPHAMORLAI L. KEBEH (State Bar No. 336798)
   akebeh@DanningGill.com                                            FILED & ENTERED
 3 DANNING, GILL, ISRAEL & KRASNOFF, LLP
   1901 Avenue of the Stars, Suite 450
 4 Los Angeles, California 90067-6006                                      JUL 07 2022
   Telephone: (310) 277-0077
 5 Facsimile: (310) 277-5735                                          CLERK U.S. BANKRUPTCY COURT
                                                                      Central District of California
                                                                      BY gonzalez DEPUTY CLERK
 6 General Bankruptcy Counsel for Jinzheng Group
   (USA) LLC, Debtor in Possession
 7
                                                               CHANGES MADE BY COURT
 8
                                 UNITED STATES BANKRUPTCY COURT
 9
                                  CENTRAL DISTRICT OF CALIFORNIA
10
                                         LOS ANGELES DIVISION
11
     In re                                              Case No. 2:21-bk-16674-ER
12
     JINZHENG GROUP (USA) LLC,                          Chapter 11
13
                       Debtor and Debtor-in-            ORDER (1) APPROVING APPLICATION
14                     Possession.                      OF DEBTOR AND DEBTOR-IN-
                                                        POSSESSION TO EMPLOY DANNING,
15                                                      GILL, ISRAEL & KRASNOFF, LLP AS
                                                        ITS GENERAL BANKRUPTCY
16                                                      COUNSEL AND (2) APPROVING
                                                        DEBTOR-IN-POSSESSION FINANCING
17
                                                        [Related to Docket No. 239]
18
                                                        Date:   July 6, 2022
19                                                      Time:   10:00 a.m.
                                                        Crtrm.: Courtroom 1568
20                                                              255 E. Temple Street
                                                                Los Angeles, California 90012
21

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     1687448.1 27086                                1                    EXHIBIT 8
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 1            On July 6, 2022, at 10:00 a.m., this Court heard and considered the Application of Debtor

 2 and Debtor-in-Possession to Employ Danning, Gill, Israel & Krasnoff, LLP as its General

 3 Bankruptcy Counsel and Motion to Approve Debtor-in-Possession Financing the (“Motion”)

 4 (docket no. 239), filed by Jinzheng Group (USA) LLC, the debtor and debtor-in-possession herein

 5 (the “Debtor”), the Honorable Ernest M. Robles, United States Bankruptcy Judge, presiding.1

 6            The Court having read and considered the Motion, all papers filed in support thereof,

 7 including the Declaration of Zhao Pu Yang and the Statement of Disinterestedness, the Official

 8 Committee of Unsecured Creditors’ Limited Opposition to the Motion (docket no. 270) and

 9 withdrawal thereof (docket no. 274), and all of the other pleadings on file in the Debtor’s case;
10 having found that notice of the hearing and the Motion were adequate and proper; having issued a

11 tentative ruling to grant the Motion which is incorporated herein by reference (docket no. 286); and

12 having waived appearances; for good cause appearing, it is hereby

13            ORDERED THAT:

14            1.       The Motion is approved.

15            2.       The Debtor is authorized to employ Danning, Gill, Israel & Krasnoff, LLP

16 (“Danning Gill”) as its general bankruptcy counsel, effective as of May 31, 2022, at the expense of

17 the estate pursuant to 11 U.S.C. § 327(a).

18            3.       The compensation to be awarded Danning Gill shall be fixed by the Court after

19 notice and a hearing as may be required by 11 U.S.C. §§ 330 and 331 and other applicable
20 provisions of the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, the Local

21 Bankruptcy Rules for the Central District of California, and the practice and procedure of this

22 Court.

23            4.       Danning Gill is authorized to draw down on its Retainer in accordance with the

24 United States Trustee’s Guide to Application for Retainers, except that the Retainer may be

25 maintained in the Firm’s attorney-client trust account rather than a segregated trust account.

26

27   1
         Defined terms have the same meaning as in the Motion.
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 1            5.       Danning Gill is authorized to submit a monthly Professional Fee Statement each

 2 month until its Retainer is exhausted.

 3            6.       The Principal’s Loan to the Debtor in the amount of $100,000 for Danning Gill’s

 4 Retainer is approved as a chapter 11 expense of administration subordinated to all other allowed

 5 chapter 11 expenses, on the other terms set forth in the Motion.

 6                                                     ###

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      Date: July 7, 2022
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                                PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): FIRST INTERIM APPLICATION FOR
COMPENSATION AND REIMBURSEMENT OF EXPENSES BY DANNING, GILL, ISRAEL & KRASNOFF, LLP AS
GENERAL BANKRUPTCY COUNSEL TO CHAPTER 11 DEBTOR AND DEBTOR IN POSSESSION;
DECLARATIONS OF ZEV SHECHTMAN AND ZHOU PU YANG IN SUPPORT THEREOF will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document.
On October 18, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:



                                                                        Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On October 18, 2022 , I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by causing to be placed a true and correct copy
thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing
the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.



                                                                        Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date)                     , I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                        Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  October 18, 2022                  Beverly Lew                                 /s/ Beverly Lew
  Date                              Printed Name                                Signature




                                                                   2
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                                            ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

Donna C Bullock on behalf of Interested Party Donna Bullock Carrera
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Steven P Chang on behalf of Interested Party Courtesy NEF
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schang@spclawoffice.com,assistant1@spclawoffice.com,attorney@spclawoffice.com;g9806@notify.cincom
pass.com;changsr75251@notify.bestcase.com

Michael F Chekian on behalf of Creditor The Phalanx Group
mike@cheklaw.com, chekianmr84018@notify.bestcase.com

Michael F Chekian on behalf of Interested Party Chekian Law Office, Inc.
mike@cheklaw.com, chekianmr84018@notify.bestcase.com

Heidi M Cheng on behalf of Plaintiff JINZHENG GROUP (USA) LLC
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assistant1@spclawoffice.com;schang@spclawoffice.com;chenghr75251@notify.bestcase.com

Susan Titus Collins on behalf of Interested Party INTERESTED PARTY
scollins@counsel.lacounty.gov

Nicholas S Couchot on behalf of Creditor Royal Business Bank
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Jeffrey W Dulberg on behalf of Creditor Committee OFFICIAL COMMITTEE OF UNSECURED
CREDITORS
jdulberg@pszjlaw.com

Oscar Estrada on behalf of Creditor LOS ANGELES COUNTY TREASURER AND TAX COLLECTOR
oestrada@ttc.lacounty.gov

Danielle R Gabai on behalf of Debtor JINZHENG GROUP (USA) LLC
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Runmin Gao on behalf of Plaintiff JINZHENG GROUP (USA) LLC
ivy.gao@aalrr.com, alicia.mcmaster@aalrr.com

Runmin Gao on behalf of Plaintiff JINZHENG GROUP (USA) LLC
ivy.gao@aalrr.com, alicia.mcmaster@aalrr.com

Richard Girgado on behalf of Interested Party Courtesy NEF
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Brian T Harvey on behalf of Interested Party Courtesy NEF
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M. Jonathan Hayes on behalf of Interested Party Courtesy NEF
jhayes@rhmfirm.com,
roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;
david@rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario@rhmfirm.com

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
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Teddy M Kapur on behalf of Creditor Committee OFFICIAL COMMITTEE OF UNSECURED CREDITORS
tkapur@pszjlaw.com, mdj@pszjlaw.com

Alphamorlai Lamine Kebeh on behalf of Debtor JINZHENG GROUP (USA) LLC
akebeh@danninggill.com

Alphamorlai Lamine Kebeh on behalf of Plaintiff JINZHENG GROUP (USA) LLC
akebeh@danninggill.com

Peter A Kim on behalf of Attorney LAW OFFICES OF PETER KIM
peter@pkimlaw.com, peterandrewkim@yahoo.com

Peter A Kim on behalf of Defendant Betula Lenta Inc
peter@pkimlaw.com, peterandrewkim@yahoo.com

Peter A Kim on behalf of Defendant David Park
peter@pkimlaw.com, peterandrewkim@yahoo.com

Peter A Kim on behalf of Defendant Jonathan Pae
peter@pkimlaw.com, peterandrewkim@yahoo.com

Christopher J Langley on behalf of Plaintiff JINZHENG GROUP (USA) LLC
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omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com

Paul J Leeds on behalf of Creditor Sound Equity, Inc.
Pleeds@fsl.law, ssanchez@fsl.law

Benjamin R Levinson, ESQ on behalf of Creditor Michael E. Dorff and Shari L. Dorff
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Damian J. Martinez on behalf of Plaintiff JINZHENG GROUP (USA) LLC
damian.martinez@aalrr.com, julissa.ruiz@aalrr.com

Damian J. Martinez on behalf of Plaintiff JINZHENG GROUP (USA) LLC
damian.martinez@aalrr.com, julissa.ruiz@aalrr.com

Eric A Mitnick on behalf of Creditor Corona Capital Group LLC
MitnickLaw@gmail.com, mitnicklaw@gmail.com

Eric A Mitnick on behalf of Interested Party Courtesy NEF
MitnickLaw@gmail.com, mitnicklaw@gmail.com

Giovanni Orantes on behalf of Other Professional Orantes Law Firm, P.C.
go@gobklaw.com, gorantes@orantes-
law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify.bestcase
.com

Donald W Reid on behalf of Interested Party INTERESTED PARTY
don@donreidlaw.com, ecf@donreidlaw.com

Matthew D. Resnik on behalf of Attorney Matthew Resnik
matt@rhmfirm.com,
roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rhmfirm.co
m;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com
       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
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Matthew D. Resnik on behalf of Creditor Royalty Equity Lending, LLC/Bobs LLC
matt@rhmfirm.com,
roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rhmfirm.co
m;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com

Matthew D. Resnik on behalf of Interested Party Courtesy NEF
matt@rhmfirm.com,
roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rhmfirm.co
m;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com

Peter J Ryan on behalf of Defendant Testa Capital Group
ryan@floresryan.com, schneider@floresryan.com

Peter J Ryan on behalf of Defendant Thomas L. Testa
ryan@floresryan.com, schneider@floresryan.com

Allan D Sarver on behalf of Creditor Investment Management Company LLC
ADS@asarverlaw.com

Allan D Sarver on behalf of Interested Party Courtesy NEF                                ADS@asarverlaw.com

Zev Shechtman on behalf of Attorney DANNING, GILL, ISRAEL & KRASNOFF, LLP
zshechtman@DanningGill.com, danninggill@gmail.com;zshechtman@ecf.inforuptcy.com

Zev Shechtman on behalf of Debtor JINZHENG GROUP (USA) LLC
zshechtman@DanningGill.com, danninggill@gmail.com;zshechtman@ecf.inforuptcy.com

Zev Shechtman on behalf of Interested Party INTERESTED PARTY
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2. SERVED BY U.S. MAIL
JINZHENG GROUP (USA) LLC                      The Honorable Ernest M. Robles
1414 S Azusa Ave, Suite B-22                  U.S. Bankruptcy Court
West Covina, CA 91791                         255 E. Temple Street, Suite 1560
                                              Los Angeles, CA 90012




       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
